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                      EXHIBIT A
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                                      BUTLER SNOW

                                                 March 28, 2013


                                                                  Via E-Mail tcartmell@wagstffcartmell.com
Tom P. Cartmell, Esq.
WAGSTAFF & CARTMELL, LLP
4740 Grand Avenue, Suite 300
Kansas City, MO 64112

       Re:        Pelvic Mesh

Dear Tom:

        This letter follows our meet and confer on Friday, March 22, 2013, regarding the 30(b)(6)
Design Notice which seeks testimony regarding the "Standard Operating Procedures (SOP)
associated with design and development of the Devices" and seeks the production of several
categories of documents related to Procedures (see 5(c), (d), (j), (k), (n), (o), (r), 6(a), (b), (c),
(d)). This issue was also addressed in your letter dated March 19, 2013. We write to specifically
address the production of Procedures. We will respond to the other items that were the subject of
our call in a separate letter that will be sent shortly.

       During our call, you requested that we produce an index of all Standard Operating
Procedures for Ethicon. You suggested that you would review the index and then let us know
which of the Procedures Plaintiffs want copies.

        Enclosed is a partial list of Procedures from the following departments: Risk
Management, Research and Development, Product Performance Evaluation, Regulatory, and
Quality Assurance. As noted, this is a partial list of the Company's procedures; it will take a
significant amount of time to confirm this is a complete list. As we have stated to you, the vast
majority of these procedures have no relevance to Plaintiffs' claims. Accordingly, we ask that
you review the enclosure and let us know which of these Procedures that Plaintiffs request and
the order of priority as quickly as possible.

        As you know, Dan Lamont's deposition is set for April 3 and 4, 2013. At this time, we
intend to produce to you in advance of the deposition the current version and the revision
histories of the four procedures that Mr. Lamont uses most frequently, which are:

        PR0000118           Franchise Procedure for Product Complaint Management;
        PR 551 -005         Company Procedure for Customer Complaint Management;
        PR 551 -006         Work Instructions for Summary and Individual MDR Reporting; and
        PR0000385           Franchise Procedure for Post-Market Surveillance.


                                              CHAD R. HUTCHINSON                  Suite 1400
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       Ridgeland, MS 39158­6010            chad.hutchinson@butlersnow.com         Ridgeland, MS 39.157

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Tom P. Cartmell, Esq.
March 28, 2013
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         We look forward to hearing from you soon and, as stated, are sending you a separate
letter to address the other topics we discussed.

                                          Sincerely,

                                          BUTLER, SNOW, O'MARA, STEVENS & CANNADA, PLLC



                                          Chad R. Hutchinson

CRH:ljg
Enclosures
cc;    Bryan Aylstock, Esq. (w/enc. via email @ baylstock@awkolaw.com)
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Number       Business Unit                                 Title                                                         Type                         Class                        Sub Class                Rev     Description                                                  State
100074037    Ethicon Products,                             Operating Procedure for Visual Inspection (Product            Work Instruction (Non-PPE)   Quality System               Inspection and Testing   7       Operating Procedure for Visual Inspection (Product           Released
             ,                                             Appearance) Using a Microscope, an Eyeloop, or the Naked                                                                                                 Appearance) Using a Microscope, an Eyeloop, or the
                                                           Eye.                                                                                                                                                     Naked Eye.
100081457    Ethicon Products,                             Operating Procedure for Inspection and Disposition of         Work Instruction (Non-PPE)   Quality System               Inspection and Testing   20      Operating Procedure for Inspection and Disposition of        Released
             ,                                             Materials at a Supplier Facility or by Pre-Shipment Samples                                                                                              Materials at a Supplier Facility or by Pre-Shipment
                                                                                                                                                                                                                    Samples
100083526    Ethicon Products,                           Operating Procedure For Documenting The Investigation Of Work Instruction (Non-PPE)          Quality System               Inspection and Testing   8       Operating Procedure For Documenting The Investigation        Released
             ,                                           Out Of Specification Test Results                                                                                                                          Of Out Of Specification Test Results
100083540    Ethicon Products,                           PHOTOGRAPHIC STANDARDS OPERATING PROCEDURE Work Instruction (Non-PPE)                        Quality System               Inspection and Testing   10      PHOTOGRAPHIC STANDARDS OPERATING                             Released
             ,                                                                                                                                                                                                      PROCEDURE
NTB-070      Ethicon Products, J&amp;J Wound Management, Procedure for Preparation, Approval, Maintenance, and             Procedure (Non-PPE)        Quality System               Design and Development   4       Procedure for Preparation, Approval, Maintenance, and        Released
             Women's Health and Urology,                 Control of Procedures for Clinical Trials                                                                                                                  Control of Procedures for Clinical Trials
             ,
OP600-020    Ethicon Products,                           Procedure for Maintaining a Trial Master File for Clinical Trials Procedure (Non-PPE)        Quality System               Design and Development   6 (7)   Procedure for Maintaining a Trial Master File for Clinical   Released
             ,                                                                                                                                                                                                      Trials
OP600-020    Ethicon Products, J&amp;J Wound Management, Procedure for Maintaining an Investigator Trial File for Clinical Procedure (Non-PPE)        Quality System               Design and Development   2 (3)   Procedure for Maintaining an Investigator Trial File for     Released
             ,                                           Trials                                                                                                                                                     Clinical Trials

OP600-039    Ethicon Products, J&amp;J Wound Management, Procedure for the Use of a Contract Research Organization       Procedure (Non-PPE)          Quality System               Design and Development   3       Procedure for the Use of a Contract Research                 Released
             ,                                           for Clinical Trials                                                                                                                                        Organization for Clinical Trials

OP600-040    Ethicon Products, J&amp;J Wound Management, CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                        Procedure (Non-PPE)          Quality System               Design and Development   2       CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                 Released
             Women's Health and Urology,                 PROCEDURE FOR SUPPLY AND ACCOUNTABILITY OF                                                                                                                 PROCEDURE FOR SUPPLY AND ACCOUNTABILITY
             ,                                           STUDY ARTICLES FOR CLINICAL TRIALS                                                                                                                         OF STUDY ARTICLES FOR CLINICAL TRIALS
OP600-065    Ethicon Products, J&amp;J Wound Management, Procedure for Adverse Event Collection and Reporting for a      Procedure (Non-PPE)          Quality System               Design and Development   2       Procedure for Adverse Event Collection and Reporting for Released
             ,                                           Pharmaceutical Clinical Trial                                                                                                                              a Pharmaceutical Clinical Trial

OP600-072    Ethicon Products, J&amp;J Wound Management, Procedure for Adverse Event Collection and Reporting for        Procedure (Non-PPE)          Quality System               Design and Development   2       Procedure for Adverse Event Collection and Reporting for Released
             ,                                           U.S. Medical Device Clinical Trials                                                                                                                        U.S. Medical Device Clinical Trials

OP607-182    Ethicon Products,                           Ethicon Procedure for Developing a Project Specific Audit       Procedure (Non-PPE)          Quality System               Design and Development   2       Ethicon Procedure for Developing a Project Specific          Released
             ,                                           Plan (PSAP) for Clinical Trials                                                                                                                            Audit Plan (PSAP) for Clinical Trials
OP608-007    Ethicon Products,                           Ethicon Procedure for Clinical Quality Assurance Reviews of     Procedure (Non-PPE)          Quality System               Design and Development   2       Ethicon Procedure for Clinical Quality Assurance             Released
             ,                                           Clinical Trial Protocols                                                                                                                                   Reviews of Clinical Trial Protocols
OP608-008    Ethicon Products,                           Ethicon Procedure for Clinical Quality Assurance Audits of      Procedure (Non-PPE)          Quality System               Design and Development   3       Ethicon Procedure for Clinical Quality Assurance Audits      Released
             ,                                           Clinical Trial Investigator Sites                                                                                                                          of Clinical Trial Investigator Sites
OP608-009    Ethicon Products,                           Ethicon Procedure for Clinical Quality Assurance System         Procedure (Non-PPE)          Quality System               Design and Development   3       Ethicon Procedure for Clinical Quality Assurance System      Released
             ,                                           Audits                                                                                                                                                     Audits
OP608-011    Ethicon Products,                           Ethicon Procedure for Clinical Quality Assurance Audits of      Procedure (Non-PPE)          Quality System               Design and Development   4       Ethicon Procedure for Clinical Quality Assurance Audits      Released
             ,                                           Clinical Study Reports                                                                                                                                     of Clinical Study Reports
OP608-012    Ethicon Products,                           Ethicon Procedure for Clinical Quality Assurance For-Cause      Procedure (Non-PPE)          Quality System               Design and Development   3       Ethicon Procedure for Clinical Quality Assurance For-        Released
             ,                                           Audits                                                                                                                                                     Cause Audits
OP609-028    Ethicon Products,                           Ethicon Procedure for Clinical Quality Assurance Audits of      Procedure (Non-PPE)          Quality System               Design and Development   4       Ethicon Procedure for Clinical Quality Assurance Audits      Released
             ,                                           Clinical Trial Vendors                                                                                                                                     of Clinical Trial Vendors
OP612-011    Ethicon Products, J&amp;J Wound Management, Procedure for Registration, Assessment and Disclosure of        Procedure (Non-PPE)          Quality System               Design and Development   2       Procedure for Registration, Assessment and Disclosure        Released
             Women's Health and Urology,                 Clinical Trials                                                                                                                                            of Clinical Trials
             ,
PR-0000009   Women's Health and Urology,                 Company Procedure for Product End of Life Management            Procedure (Non-PPE)          Quality System               Design and Development   1       Company Procedure for Product End of Life Management Released
             ,
PR-0000012   Women's Health and Urology,                 PROCEDURE FOR PROCESS DEVELOPMENT OF                            Procedure (Non-PPE)          Quality System               Design and Development   1 (2)   PROCEDURE FOR PROCESS DEVELOPMENT OF                         Released
             ,                                           ELECTROMECHANICAL DEVICES also training Powerpoint                                                                                                         ELECTROMECHANICAL DEVICES also training
                                                         presentation.                                                                                                                                              Powerpoint presentation.
PR-0000020   Women's Health and Urology,                 PROCEDURE FOR PROCESS VALIDATION OF                             Procedure (Non-PPE)          Quality System               Design and Development   2       PROCEDURE FOR PROCESS VALIDATION OF                          Released
             ,                                           ELECTROMECHANICAL PRODUCTS                                                                                                                                 ELECTROMECHANICAL PRODUCTS
PR-0000110   Women's Health and Urology,                 PROCEDURE FOR MANUFACTURING TEST &amp;                          Procedure (Non-PPE)          Quality System               Design and Development   2       PROCEDURE FOR MANUFACTURING TEST &amp;                       Released
             ,                                           INSPECTION OF ELECTROMECHANICAL DEVICES                                                                                                                    INSPECTION OF ELECTROMECHANICAL DEVICES
PR-0000172   Ethicon Products, J&amp;J Wound Management, ETHICON COMPANY PROCEDURE FOR                                   Procedure (Non-PPE)          Quality System               Design and Development   1       ETHICON COMPANY PROCEDURE FOR                                Released
             Women's Health and Urology,                 INTERPRETATION OF NEW PRODUCT DEVELOPMENT                                                                                                                  INTERPRETATION OF NEW PRODUCT
             ,                                           DRAWINGS                                                                                                                                                   DEVELOPMENT DRAWINGS
PR-0000175   Ethicon Products, J&amp;J Wound Management, Managing Validation Documentation in the ADAPTIV System         Work Instruction (Non-PPE)   Quality System               Validation               2       na                                                           Released
             Women's Health and Urology,
             ,
PR-0000191   Ethicon Products,                           Assembly sheet procedure for D-Special products                 Work Instruction (Non-PPE)   Quality System               Inspection and Testing   25      Assembly sheet procedure for D-Special products              Released
             ,
PR-0000200   Ethicon Products,                           DESCRIPTIVE STATISTICS FOR ATTRIBUTE SAMPLING                   Procedure (Non-PPE)          Quality System               Inspection and Testing   9       DESCRIPTIVE STATISTICS FOR ATTRIBUTE                         Released
             ,                                           PLANS                                                                                                                                                      SAMPLING PLANS
PR-0000216   Ethicon Products, J&amp;J Wound Management, Company Procedure for Test Method Validation                    Procedure (Non-PPE)          Quality System               Validation               12      Company Procedure for Test Method Validation                 Released
             Women's Health and Urology,
             ,




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PR-0000639   Ethicon-Somerville-Product Performance      Administation of Test Method Documents Controlled within    Procedure                                                                                        1
             Evaluation                                  the Somerville New Jersey Performance Evaluation Group
PR562-001    Ethicon Products, J&amp;J Wound Management, Clinical Development and Medical Affairs Product Complaint Procedure (Non-PPE)             Quality System               Design and Development               4         Clinical Development and Medical Affairs Product       Released
             Women's Health and Urology,                 and Adverse Event (AE) Reporting Process for Post-Approval                                                                                                             Complaint and Adverse Event (AE) Reporting Process for
             ,                                           Medical Device Clinical Trials                                                                                                                                         Post-Approval Medical Device Clinical Trials
PR572-001    Ethicon Products, J&amp;J Wound Management, CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS WORK Work Instruction (Non-PPE)                   Quality System               Validation                           3         CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS               Released
             Women's Health and Urology,                 INSTRUCTIONS FOR SAS PROGRAM TESTING                                                                                                                                   WORK INSTRUCTIONS FOR SAS PROGRAM TESTING
             ,
PR600-008    Ethicon Products, J&amp;J Wound Management, Process Specification for Clinical Development Employee     Work Instruction (Non-PPE)     Quality System               Design and Development               2         Process Specification for Clinical Development Employee Released
             Women's Health and Urology,                 Training Records - Kirkton Campus                                                                                                                                      Training Records - Kirkton Campus
             ,
PR600-010    Ethicon Products, J&amp;J Wound Management, PROCESS SPECIFICATION FOR REVIEW OF                         Procedure (Non-PPE)            Quality System               Design and Development               1         PROCESS SPECIFICATION FOR REVIEW OF                      Released
             Women's Health and Urology,                 DISCLOSABLE FINANCIAL INTERESTS OF                                                                                                                                     DISCLOSABLE FINANCIAL INTERESTS OF
             ,                                           INVESTIGATORS IN US CLINICAL TRIALS                                                                                                                                    INVESTIGATORS IN US CLINICAL TRIALS
PR800-002    Ethicon Products, J&amp;J Wound Management, PROCESS SPECIFICATION FOR MAINTAINING A TRIAL               Procedure (Non-PPE)            Quality System               Design and Development               1 (2)     PROCESS SPECIFICATION FOR MAINTAINING A                  Released
             Women's Health and Urology,                 MASTER FILE FOR CLINICAL TRIALS IN EU                                                                                                                                  TRIAL MASTER FILE FOR CLINICAL TRIALS IN EU
             ,
PR800-013    Ethicon Products, J&amp;J Wound Management, PROCESS SPECIFICATION FOR MAINTAINING A TRIAL               Procedure (Non-PPE)            Quality System               Design and Development               2 (3)     PROCESS SPECIFICATION FOR MAINTAINING A                  Released
             Women's Health and Urology,                 MASTER FILE FOR CLINICAL TRIALS In US                                                                                                                                  TRIAL MASTER FILE FOR CLINICAL TRIALS In US
             ,
PR800-014    Ethicon Products,                           Process Specification for Review of Micro-Needle Quality    Procedure (Non-PPE)            Quality System               Inspection and Testing               2         Process Specification for Review of Micro-Needle Quality Released
             ,                                           Data                                                                                                                                                                   Data
PR800-027    Ethicon Products, J&amp;J Wound Management, Process Specification For The Translation Of Clinical Study Procedure (Non-PPE)            Quality System               Design and Development               1         Process Specification For The Translation Of Clinical    Released
             Women's Health and Urology,                 Documentation                                                                                                                                                          Study Documentation
             ,
PR850-006    Ethicon Products, J&amp;J Wound Management, Independent Ethics Committee / Institutional Review Board   Procedure (Non-PPE)            Quality System               Design and Development               1         Independent Ethics Committee / Institutional Review      Released
             Women's Health and Urology,                 Selection and Review for Clinical Trials                                                                                                                               Board Selection and Review for Clinical Trials
             ,
WI-0013213   Ethicon-Somerville-Product Performance      Company Procedure for Reporting Test Results for Fibrin Pad Procedure (Non-PPE)            Quality System               Design and Development|Document Mgmt 1         New Company Procedure for Reporting of Test Results, Released
             Evaluation                                                                                                                                                          and Data Control|Inspection and Testing        to Omrix Biopharmaceuticals, for Omrix Fibrin Pad
                                                                                                                                                                                                                                Samples
WI-0013214   Ethicon-Somerville-Product Performance        Procedure for Sample managment of Fibrin Pad samples        Procedure (Non-PPE)          Quality System               Design and Development|Document Mgmt 1         New Company Procedure for the sample management            Released
             Evaluation                                    from Omrix                                                                                                            and Data Control|Identification and            and traceability of Omrix Fibrin Pad non-stability samples
                                                                                                                                                                                 Traceability                                   submitted to Ethicon R &amp; D Somerville
100020238    Ethicon Products, J&amp;J Wound Management, Ethicon Action Task Configuration Work Instruction            Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control       5         na                                                         Released
             Women's Health and Urology

100020239    Ethicon Products, J&amp;J Wound Management, Ethicon Approval Matrix Work Instruction                      Work Instruction (Non-PPE)   Quality System               All Quality System Processes         3         na                                                       Released
             Women's Health and Urology,
100020240    Ethicon Products, J&amp;J Wound Management, Ethicon Change Analyst Configuration Work Instruction         Work Instruction (Non-PPE)   Quality System               Compliance|Document Mgmt and Data    2         na                                                       Released
             Women's Health and Urology,                                                                                                                                         Control
             ,
100021301    Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Change Control Objects        Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control       5         na                                                       Released
             Women's Health and Urology,                 Configuration Work Instruction
             ,
100021311    Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Equipment, Tooling and        Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control       1         na                                                       Released
             Women's Health and Urology,                 Gauges Configuration Work Instruction
             ,
100021313    Ethicon Products, J&amp;J Wound Management, Ethicon Range Values for Global Document Hierarchy Work       Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control       4         na                                                       Released
             Women's Health and Urology,                 Instruction
             ,
100021316    Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Main Part Configuration       Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control       4         na                                                       Released
             Women's Health and Urology,                 Work Instruction
             ,
100021319    Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Part Routings Configuration   Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control       5         na                                                       Released
             Women's Health and Urology,                 Work Instruction
             ,
100021322    Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for PC Part Master-Part Plants    Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control       10 (11)   na                                                       Released
             Women's Health and Urology,                 NA Configuration Work Instruction
             ,
100021325    Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for PC Relationships              Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control       4         na                                                       Released
             Women's Health and Urology,                 Configuration Work Instruction
             ,
100021333    Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Plant Configuration Work      Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control       1         na                                                       Released
             Women's Health and Urology,                 Instruction
             ,
100021601    Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Approval Groups               Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control       7         na                                                       Released
             Women's Health and Urology,                 Configuration Work Instruction
             ,




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100021602   Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Impact Assessments          Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control   1       na                                                  Released
            Women's Health and Urology,                 Configuration Work Instruction
            ,
100021603   Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Periodic Review Record      Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control   1       na                                                  Released
            Women's Health and Urology,                 Configuration Work Instruction
            ,
100021620   Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Person Template             Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control   1       na                                                  Released
            Women's Health and Urology,                 Configuration Work Instruction
            ,
100021628   Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Master Validation Index     Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data           1       na                                                  Released
            Women's Health and Urology,                 Change ProjectTemplate Config. Work Inst.                                                                             Control|Validation
            ,
100021630   Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for PC Part Master-Part Plant Work Instruction (Non-PPE)     Quality System               Document Mgmt and Data Control   1       na                                                  Released
            Women's Health and Urology,                 EMS UDC Config. Work Instructions
            ,
100021635   Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Validation Document         Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data           2 (3)   na                                                  Released
            Women's Health and Urology,                 Configuration Work Instruction                                                                                        Control|Validation
            ,
100021646   Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Product Design Change       Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data           1       na                                                  Released
            Women's Health and Urology,                 Project Template Configuration Work Instr                                                                             Control|Validation
            ,
100024690   Ethicon Products, J&amp;J Wound Management, Ethicon Non Product Process or Equipment Change Project Work Instruction (Non-PPE)       Quality System               Document Mgmt and Data           1       Ethicon Non Product Process or Equipment Change     Released
            Women's Health and Urology,                 Template Configuration Work Instruction                                                                               Control|Validation                       Project Template Configuration Work Instruction
            ,
100024702   Ethicon Products, J&amp;J Wound Management, Ethicon Process or Equipment Change Project Template        Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data           1       Ethicon Process or Equipment Change Project Template Released
            Women's Health and Urology,                 Configuration Work Instruction                                                                                        Control|Validation                       Configuration Work Instruction
            ,
100028505   Ethicon Products,                           ADAPTIV Change Management Approval Business Rules           Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control   2       na                                                  Released
            ,                                           and Matrices
100028622   Ethicon Products,                           ADAPTIV Paper-Based Change Management Process               Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control   1       na                                                  Released
            ,
100032163   Ethicon Products,                           Test Document for Release 1.2.4 (CW Schedule Release        Policy                       Quality System               Document Mgmt and Data Control   1       na                                                  Released
            ,                                           Date)
100033039   Ethicon Products, J&amp;J Wound Management, North America Validation Approval Matrix                    Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control   3       na                                                  Released
            Women's Health and Urology,
            ,
100033141   Ethicon Products, J&amp;J Wound Management, North America Approval Matrix                               Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control   4 (5)   na                                                  Released
            Women's Health and Urology,
            ,
100033693   Ethicon Products,                           North America Part and BOM/DMR Change Instructions and Procedure (Non-PPE)               Quality System               Document Mgmt and Data Control   1       na                                                  Released
            ,                                           Approval Matrix for ADAPTIV
100034326   Ethicon Products, J&amp;J Wound Management, Ethicon NPD Project Template Configuration Work Instruction Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data           1       na                                                  Released
            Women's Health and Urology,                                                                                                                                       Control|Validation
            ,
100034961   Ethicon-Somerville-WW Quality System        ADAPTIV PLM Installation Qualification for D3 Configuration Protocol                                                                                   1
                                                        and User Load
100034961   Ethicon-Somerville-WW Quality-Post Market   ADAPTIV PLM Installation Qualification for D3 Configuration Protocol                                                                                   1
            Surveillance                                and User Load
100035998   Ethicon Products, J&amp;J Wound Management, ERP Transactions and Flat Files Work Instruction for JD     Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control   1       na                                                  Released
            Women's Health and Urology,                 Edwards North America
            ,
100036348   Ethicon Products, J&amp;J Wound Management, New Product Development Process in the ADAPTIV System Procedure (Non-PPE)                Quality System               Design and Development           1 (2)   na                                                  Released
            Women's Health and Urology,
            ,
100038279   Ethicon-Somerville-Quality Systems and      Increase of ECNT Sample Size for 28-mil PS-1 Needles        Protocol                                                                                   1
            Compliance
100040270   Ethicon Products, J&amp;J Wound Management, CLINICAL DEVELOPMENT SITE BUDGETS AND                       Procedure (Non-PPE)          Quality System               All Quality System Processes     1       na                                                  Released
            Women's Health and Urology,                 CONTRACTS
            ,
100040270   Women's Health and Urology,                 Service Bulletin for Duplicate Serial Numbers               Work Instruction (Non-PPE)   Quality System               Servicing                        1       na                                                  Released
            ,
100041959   Women's Health and Urology,                 Quality Agreement between Ethicon and JnJ Medical,          Procedure (Non-PPE)          Quality System               Compliance                       1       Original Quality Agreement.                         Released
            ,                                           Shanghai Inc. for Service and Repair
100043281   Ethicon Products, J&amp;J Wound Management, Ethicon Range Value Holders for Stagegate Objects           Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data           3 (4)   na                                                  Released
            Women's Health and Urology,                 Configuration Work Instruction                                                                                        Control|Validation
            ,
100043767   Ethicon Products, J&amp;J Wound Management, Anatomy, Physiology and Disease State Educational           Procedure (Non-PPE)          Quality System               Communication                    1       na                                                  Released
            Women's Health and Urology,                 Materials
            ,




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100045183   Ethicon Products, J&amp;J Wound Management, Approval of Advertising and Promotional Claims for Medical       Procedure (Non-PPE)          Quality System               Communication                    1   na                                                      Released
            Women's Health and Urology,                 Devices and Combination Products
            ,
100045197   Ethicon Products, J&amp;J Wound Management, Company Procedure for the Management and Traceability of         Procedure (Non-PPE)          Quality System               All Quality System Processes     1   Company Procedure for the Management and                Released
            Mentor, Women's Health and Urology,         Stability Samples                                                                                                                                               Traceability of Stability Samples
            ,

100048257   Women's Health and Urology,                   Ethicon/Ethicon Endo Surgery LLC Quality Agreement             Work Instruction (Non-PPE)   Quality System               Servicing                        1   Initial Quality Agreement between Ethicon Inc. and      Released
            ,                                                                                                                                                                                                           Ethicon Endo Surgery LLC
100048899   Women's Health and Urology,                   Service Bulletin to Release Initial Thermachoice               Work Instruction (Non-PPE)   Quality System               Servicing                        1   Provide EES Service Center with Service Manual,         Released
            ,                                             Documentation to EES Service Center                                                                                                                           Service Procedures, Service Bulletins for Thermachoice.

100048912   Ethicon-Somerville-WW Quality System          JDE NA Part Plant Release Levels                               Protocol                                                                                   1
100048912   Ethicon-Somerville-WW Quality-NPI/LCM         JDE NA Part Plant Release Levels                               Protocol                                                                                   1
100049547   Ethicon-Somerville-Quality Systems and        Addition of sites to the ADAPTIV User Profile Site Locations   Protocol                                                                                   1
            Compliance
100049547   Ethicon-Somerville-WW Quality-NPI/LCM         Addition of sites to the ADAPTIV User Profile Site Locations   Protocol                                                                                   1

100049548   Women's Health and Urology,                   Service Bulletin to Release Initial Motor Drive Unit           Work Instruction (Non-PPE)   Quality System               Servicing                        1   Release service manual, procedures and service          Released
            ,                                             Documentation to EES Service Center                                                                                                                           bulletins to EES.
100049549   Women's Health and Urology,                   Service Bulletin to Update Thermachoice Service Manual         Work Instruction (Non-PPE)   Quality System               Servicing                        1   Update service manual to reflect correct service part   Released
            ,                                             Part Numbers                                                                                                                                                  numbers.
100050148   Ethicon-Somerville-Quality Systems and        Production Protocol to Run the Current Die Set-Ups for Five    Protocol                                                                                   1
            Compliance                                    Wire Types
100050280   Ethicon-Somerville-WW Quality System          Corrupt Lab Document LAB-0011029                               Protocol                                                                                   1
100050280   Ethicon-Somerville-WW Quality-NPI/LCM         Corrupt Lab Document LAB-0011029                               Protocol                                                                                   1
100050287   Ethicon-Somerville-WW Quality System          Revise Release Date for Brazil 60 Migrated Documents           Protocol                                                                                   1
100050287   Ethicon-Somerville-WW Quality-NPI/LCM         Revise Release Date for Brazil 60 Migrated Documents           Protocol                                                                                   1
100050293   Ethicon-Somerville-Quality Systems and        ACMS Migrated Documents - Change Validation Documents          Protocol                                                                                   1
            Compliance                                    to Non-PPE Work Instructions
100050293   Ethicon-Somerville-WW Quality-NPI/LCM         ACMS Migrated Documents - Change Validation Documents          Protocol                                                                                   1
                                                          to Non-PPE Work Instructions
100050312   Ethicon-Somerville-WW Quality Compliance      ACMS Objects linked to Cancelled CO's                          Protocol                                                                                   1
100050312   Ethicon-Somerville-WW Quality-NPI/LCM         ACMS Objects linked to Cancelled CO's                          Protocol                                                                                   1
100050846   Ethicon Products,                             Ethicon D Special Change Project Template Configuration        Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data           1   Ethicon D Special Change Project Template              Released
            ,                                             Work Instruction                                                                                                         Control|Validation                   Configuration Work Instruction
100050851   Ethicon Products,                             Quality Agreement for Ethicon and Medical Device &amp;         Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control   1   Quality Agreement for Ethicon and Medical Device &amp; Released
            ,                                             Diagnostic (MD&amp;D) ASEAN                                                                                                                                   Diagnostic (MD&amp;D) ASEAN consisting of the
                                                                                                                                                                                                                        Marketing companies in Malaysia, Thailand, Indonesia,
                                                                                                                                                                                                                        Singapore, Vietnam &amp; Philippines
100051801   Women's Health and Urology,                   Service Bulletin for Versapoint CPU Board Change               Work Instruction (Non-PPE)   Quality System               Servicing                        1   This Service Bulletin provides instructions for the    Released
            ,                                                                                                                                                                                                           Versapoint CPU Board.
100053051   Ethicon-Somerville-Quality Systems and        Process Verification Protocol for 5H and 8H Die Line Ups       Protocol                                                                                   1
            Compliance
100053669   Women's Health and Urology,                   Service Bulletin for Versapoint Non-GTS Burn-In Fixture        Work Instruction (Non-PPE)   Quality System               Servicing                        1   Service Bulletin to modify Versapoint Non-GTS Burn-In    Released
            ,                                                                                                                                                                                                           Fixture, Part number: GML3744, to increase the load
                                                                                                                                                                                                                        resistance. This change is documented in Gyrus
                                                                                                                                                                                                                        Field/Service Center Bulletin number 806000 - Serial 016

100055291   Ethicon Products, J&amp;J Wound Management, VALIDATING EDIT CHECKS USING ELECTRONIC DATA   Procedure (Non-PPE)                            Quality System               All Quality System Processes     1   na                                                      Released
            Women's Health and Urology,                 CAPTURE
            ,
100055293   Ethicon Products, J&amp;J Wound Management, USER ACCEPTANCE TESTING (UAT) USING            Procedure (Non-PPE)                            Quality System               All Quality System Processes     1   na                                                      Released
            Women's Health and Urology,                 ELECTRONIC DATA CAPTURE (EDC)
            ,
100055630   Ethicon Products, J&amp;J Wound Management, STUDY HOLD, INTERIM ANALYSIS AND STUDY CLOSURE Procedure (Non-PPE)                            Quality System               All Quality System Processes     1   na                                                      Released
            Women's Health and Urology,                 USING ELECTRONIC DATA CAPTURE (EDC)
            ,
100056398   Ethicon Products, J&amp;J Wound Management, SITE READINESS WHEN USING ELECTRONIC DATA      Procedure (Non-PPE)                            Quality System               All Quality System Processes     1   na                                                      Released
            Women's Health and Urology,                 CAPTURE (EDC)
            ,
100056672   Ethicon-Somerville-Quality Systems and      JDE NA Part Plant Release Levels               Protocol                                                                                                     1
            Compliance
100056672   Ethicon-Somerville-WW Quality-NPI/LCM       JDE NA Part Plant Release Levels               Protocol                                                                                                     1
100056677   Ethicon-Somerville-Quality Systems and      Morcellex Drawing Revision Letters             Protocol                                                                                                     1
            Compliance
100056677   Ethicon-Somerville-WW Quality-NPI/LCM       Morcellex Drawing Revision Letters             Protocol                                                                                                     1
100056934   Ethicon-Somerville-Quality Systems and      ADAPTIV WI Number Change to EBOM Number        Protocol                                                                                                     1
            Compliance




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100056934   Ethicon-Somerville-WW Quality-NPI/LCM        ADAPTIV WI Number Change to EBOM Number                     Protocol                                                                                   1
100056993   Ethicon Products, J&amp;J Wound Management, REPORTING WITHIN ELECTRONIC DATA CAPTURE (EDC) Procedure (Non-PPE)                        Quality System               All Quality System Processes     1   na                                                   Released
            Women's Health and Urology,                  STUDIES
            ,
100057141   Ethicon Products, J&amp;J Wound Management, GUIDELINE FOR UTILIZING THE LAB ADMINISTRATION               Procedure (Non-PPE)          Quality System               All Quality System Processes     1   na                                                   Released
            Women's Health and Urology,                  MODULE IN MEDIDATA RAVE
            ,
100057221   Ethicon-Somerville-Quality Systems and       Unable to Open MS-000309 V2                                 Protocol                                                                                   1
            Compliance
100057221   Ethicon-Somerville-WW Quality-NPI/LCM        Unable to Open MS-000309 V2                                 Protocol                                                                                   1
100057226   Ethicon-Somerville-Quality Systems and       Franchise Procedure Revision Number Correction              Protocol                                                                                   1
            Compliance
100057226   Ethicon-Somerville-WW Quality-NPI/LCM        Franchise Procedure Revision Number Correction              Protocol                                                                                   1
100057648   Ethicon Products, J&amp;J Wound Management, CHANGE CONTROL PROCESSES FOR ELECTRONIC                      Procedure (Non-PPE)          Quality System               All Quality System Processes     1   na                                                   Released
            Women's Health and Urology,                  DATA CAPTURE (EDC)
            ,
100057658   Ethicon Products, J&amp;J Wound Management, CREATION AND APPROVAL OF AN ELECTRONIC CRF                   Procedure (Non-PPE)          Quality System               All Quality System Processes     1   na                                                   Released
            Women's Health and Urology,                  FOR USE IN ELECTRONIC DATA CAPTURE
            ,
100057729   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR MEDIDATA RAVE SYSTEM SECURITY Procedure (Non-PPE)                           Quality System               All Quality System Processes     1   na                                                   Released
            Women's Health and Urology,                  AND DISASTER RECOVERY
            ,
100058365   Ethicon Products, J&amp;J Wound Management, Mass BOM/DMR Extract, Create and Edit Tool                   Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control   1   na                                                   Released
            Women's Health and Urology,
            ,
100058839   Ethicon-Somerville-WW Quality System         ADAPTIV PLM System Test Protocol Release 1.2.6              Protocol                                                                                   1
100058839   Ethicon-Somerville-WW Quality-NPI/LCM        ADAPTIV PLM System Test Protocol Release 1.2.6              Protocol                                                                                   1
100059024   Ethicon Products, J&amp;J Wound Management, ESTABLISHMENT AND OPERATION OF DATA                          Procedure (Non-PPE)          Quality System               All Quality System Processes     1   na                                                   Released
            Women's Health and Urology,                  MONITORING COMMITTEES OR DATA SAFETY
            ,                                            MONITORING BOARD
100060373   Ethicon-Somerville-Quality Systems and       Revise the Number and Legacy Revision of Drawing            Protocol                                                                                   1
            Compliance
100060373   Ethicon-Somerville-WW Quality-NPI/LCM        Revise the Number and Legacy Revision of Drawing            Protocol                                                                                   1
100060417   Ethicon-Somerville-WW Quality System         Adaptiv Installation Qualification for Release 1.2.6        Protocol                                                                                   1
100060417   Ethicon-Somerville-WW Quality-NPI/LCM        Adaptiv Installation Qualification for Release 1.2.6        Protocol                                                                                   1
100060490   Ethicon-Somerville-WW Quality System         PC Range Values with Extra Spaces                           Protocol                                                                                   1
100060490   Ethicon-Somerville-WW Quality-NPI/LCM        PC Range Values with Extra Spaces                           Protocol                                                                                   1
100060520   Ethicon-Somerville-Quality Systems and       Protocol for product dose mapping of Surgiflo Endoscopic    Protocol                                                                                   1
            Compliance                                   Applicators at Steris Whippany, NJ
100060533   Ethicon-Somerville-Quality Systems and       Protocol for product dose mapping of X-Tract Laparoscopic   Protocol                                                                                   1
            Compliance                                   Tissue Morcellator at Steris Whippany, NJ
100060539   Ethicon-Somerville-Quality Systems and       Protocol for product dose mapping of Morcellex Laparoscopic Protocol                                                                                   1
            Compliance                                   Tissue Morcellator at Steris Whippany NJ
100060542   Ethicon-Somerville-Quality Systems and       Protocol for product dose mapping of Stainless Steel Suture Protocol                                                                                   1
            Compliance                                   at Steris Whippany, NJ
100060548   Ethicon-Somerville-Quality Systems and       Protocol for isodose profile of homogeneous absorbers at    Protocol                                                                                   1
            Compliance                                   Steris Whippany Nj
100060562   Ethicon-Somerville-Quality Systems and       Protocol for product dose mapping of Hemo family product at Protocol                                                                                   1
            Compliance                                   Steris Whippany, NJ
100060563   Ethicon-Somerville-Quality Systems and       Protocol for product dose mapping of Interceed family at    Protocol                                                                                   1
            Compliance                                   Steris Whippany, NJ
100061954   Ethicon Products, J&amp;J Wound Management, Procedure for Establishment Registration and Medical Device Procedure (Non-PPE)           Quality System               Compliance|Record Management     1   na                                                   Released
            Women's Health and Urology,                  Listing
            ,
100063307   Ethicon-Somerville Plant-Quality Engineering Sentinel Pre-Clinical Build Protocol                        Protocol                                                                                   2
100063307   Ethicon-Somerville Plant-Quality Engineering Sentinel Pre-Clinical Build Protocol                        Protocol                                                                                   1
100065070   Ethicon Products, J&amp;J Wound Management, ROUTINE ADVERSE EVENT REVIEW FOR POTENTIAL                   Procedure (Non-PPE)          Quality System               All Quality System Processes     1   na                                                   Released
            Women's Health and Urology,                  SAFETY SIGNALS/TRENDS ON INVESTIGATIONAL
            ,                                            CLINICAL TRIALS
100065085   Ethicon Products,                            Quality Agreement for Ethicon and Johnson &amp; Johnson Procedure (Non-PPE)              Quality System               Document Mgmt and Data Control   1   Quality Agreement for Ethicon and Johnson &amp;      Released
            ,                                            Medical (Suzhou) Ltd.                                                                                                                                      Johnson Medical (Suzho) Ltd. Asia Pacific Regional
                                                                                                                                                                                                                    Design Centre, Suzhou (JJMSZ R&amp;D Quality
                                                                                                                                                                                                                    Agreement Rev. A)
100065418   Ethicon-Somerville-Quality Systems and      Brazil MVI's Change from Retired to Exist                    Protocol                                                                                   1
            Compliance
100065418   Ethicon-Somerville-WW Quality-NPI/LCM       Brazil MVI's Change from Retired to Exist                    Protocol                                                                                   1
100067515   Ethicon Products, J&amp;J Wound Management, JDE OneWOrld Manually Enter/Revise/Process Purchase          Work Instruction (Non-PPE)   Quality System               Planning                         3   JDE OneWOrld Manually Enter/Revise/Process           Released
            ,                                           Orders                                                                                                                                                      Purchase Orders




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100068548   Ethicon Products, J&amp;J Wound Management, JDE OneWorld Manually Process Debit PO's                       Work Instruction (Non-PPE)     Quality System               Planning                              1         JDE OneWorld Manually Process Debit PO's               Released
            ,

100069537   Ethicon Products, J&amp;J Wound Management, JDE OneWorld Enter/Revise/Process Adjustmeent Purchase Work Instruction (Non-PPE)             Quality System               Planning                              2         JDE OneWorld Enter/Revise/Process Adjustmeent          Released
            ,                                           Orders                                                                                                                                                                     Purchase Orders

100071041   Ethicon-Somerville-Quality Systems and      PQ protocol for Dry Heat Batch Oven                            Protocol                                                                                          1
            Compliance
100071170   Ethicon-Somerville-Quality Systems and      Dose Distribution Study for PROCEED Processed at STERIS        Protocol                                                                                          1
            Compliance                                  Spartanburg, SC
100074037   Ethicon Products,                           Operating Procedure for Autoclave.                             Work Instruction (Non-PPE)     Quality System               Sterilization and Microbiology        5         Operating Procedure for Autoclave.                     Released
            ,
100074068   Ethicon Products, J&amp;J Wound Management, OPERATING PROCEDURE FOR QUARTERLY ETHYLENE                     Procedure (Non-PPE)            Quality System               Sterilization and Microbiology        68 (69)   OPERATING PROCEDURE FOR QUARTERLY                      Released
            Women's Health and Urology,                 OXIDE BIOBURDEN AUDIT PROGRAM                                                                                                                                              ETHYLENE OXIDE BIOBURDEN AUDIT PROGRAM
            ,
100074068   Ethicon Products,                           OPERATING PROCEDURE FOR QUARTERLY                              Procedure (Non-PPE)            Quality System               Sterilization and Microbiology        46 (47)   OPERATING PROCEDURE FOR THE QUARTERLY      Released
            ,                                           PARTICULATE COUNT AUDIT IN CONTROLLED                                                                                                                                      PARTICULATE COUNT AUDIT CONDUCTED INSIDE
                                                        MANUFACTURING AREA &amp; MICRO                                                                                                                                             THE CONTROLLED MANUFACTURING
                                                                                                                                                                                                                                   ENVIRONMENT (ENVIRONMENT CONTROL LEVEL #2)
                                                                                                                                                                                                                                   AND MICROBIOLOGY DEPARTMENT
100074074   Ethicon Products,                              OPERATING PROCEDURE FOR THE DISINFECTION OF  Work Instruction (Non-PPE)                    Quality System               Sterilization and Microbiology        12        OPERATING PROCEDURE FOR THE DISINFECTION   Released
            ,                                              MICROBIOLOGY INCUBATORS, MEDIA STORAGE                                                                                                                                  OF MICROBIOLOGY INCUBATORS, MEDIA STORAGE
                                                           ROOMS, STERILITY TEST/GOWN ROOMS AND GENERAL                                                                                                                            ROOMS, STERILITY TEST/GOWN ROOMS AND
                                                           LAB AREAS                                                                                                                                                               GENERAL LAB AREAS
100074074   Ethicon Products,                              PREPARATION OF SUPPLIES TO BE STERILIZED     Work Instruction (Non-PPE)                    Quality System               Sterilization and Microbiology        4         PREPARATION OF SUPPLIES TO BE STERILIZED   Released
            ,
100074077   Ethicon Products,                              HANDLING AND DISPOSAL OF VIABLE                             Work Instruction (Non-PPE)     Quality System               Sterilization and Microbiology        5         HANDLING AND DISPOSAL OF VIABLE           Released
            ,                                              MICROORGANISMS AND OTHER POTENTIALLY                                                                                                                                    MICROORGANISMS AND OTHER POTENTIALLY
                                                           INFECTIOUS WASTE                                                                                                                                                        INFECTIOUS WASTE
100074077   Ethicon Products,                              OPERATING PROCEDURE FOR MONITORING                          Work Instruction (Non-PPE)     Quality System               Sterilization and Microbiology        12        OPERATING PROCEDURE FOR MONITORING        Released
            ,                                              TEMPERATURES FOR INCUBATORS, REFRIGERATORS                                                                                                                              TEMPERATURES FOR INCUBATORS,
                                                           AND MEDIA STORAGE ROOMS                                                                                                                                                 REFRIGERATORS AND MEDIA STORAGE ROOMS
100074087   Ethicon Products,                              OPERATING PROCEDURE FOR LAMINAR FLOW HOODS                  Work Instruction (Non-PPE)     Quality System               Sterilization and Microbiology        3         OPERATING PROCEDURE FOR LAMINAR FLOW      Released
            ,                                                                                                                                                                                                                      HOODS
100074087   Ethicon Products,                              ASSIGNMENT OF STERILIZATION/DECONTAMINATION                 Work Instruction (Non-PPE)     Quality System               Sterilization and Microbiology        4         ASSIGNMENT OF                             Released
            ,                                              RUN NUMBERS IN THE MEDIA PREP LAB                                                                                                                                       STERILIZATION/DECONTAMINATION RUN NUMBERS
                                                                                                                                                                                                                                   IN THE MEDIA PREP LAB
100074114   Ethicon Products,                           PREPARATION OF BROTH MEDIA FOR                               Work Instruction (Non-PPE)       Quality System               Sterilization and Microbiology        15        PREPARATION OF BROTH MEDIA FOR            Released
            ,                                           MICROBIOLOGICAL USE                                                                                                                                                        MICROBIOLOGICAL USE
100074114   Ethicon Products,                           PREPARATION OF AGAR MEDIA FOR MICROBIOLOGICAL Work Instruction (Non-PPE)                      Quality System               Sterilization and Microbiology        11        PREPARATION OF AGAR MEDIA FOR             Released
            ,                                           USE                                                                                                                                                                        MICROBIOLOGICAL USE
100074117   Ethicon Products,                           PREPARATION OF DILUENTS FOR MICROBIOLOGICAL                  Work Instruction (Non-PPE)       Quality System               Sterilization and Microbiology        11        PREPARATION OF DILUENTS FOR               Released
            ,                                           USE                                                                                                                                                                        MICROBIOLOGICAL USE
100074117   Ethicon Products,                           OMNISPENSE DISPENSER OPERATING PROCEDURE                     Work Instruction (Non-PPE)       Quality System               Sterilization and Microbiology        4         OMNISPENSE DISPENSER OPERATING PROCEDURE Released
            ,
100074120   Ethicon Products, J&amp;J Wound Management, Inspection, Maintenance, Calibration and Use of the Viscotek Work Instruction (Non-PPE)       Quality System               Calibration and Measuring Equipment   6         Inspection, Maintenance, Calibration and Use of the    Released
            ,                                           Y-501 IV Viscometer                                                                                                                                                        Viscotek Y-501 IV Viscometer

100074120   Ethicon Products, J&amp;J Wound Management, Inspection, Maintenance, Calibration, and Use of the           Work Instruction (Non-PPE)     Quality System               Calibration and Measuring Equipment   2         Inspection, Maintenance, Calibration, and Use of the   Released
            ,                                           Coulometric Moisture Meters                                                                                                                                                Coulometric Moisture Meters

100074123   Ethicon Products,                              WORK INSTRUCTION FOR LABORATORY NOTEBOOK                    Work Instruction (Non-PPE)     Quality System               Document Mgmt and Data Control        11        WORK INSTRUCTION FOR LABORATORY NOTEBOOK Released
            ,                                              AND DOCUMENTATION REQUIREMENTS                                                                                                                                          AND DOCUMENTATION REQUIREMENTS

100079180   Ethicon-Somerville-WW Quality Compliance       Installation Qualification Protocol for Adaptiv Release 1.2.7 Protocol                                                                                        1
100079180   Ethicon-Somerville-WW Quality-NPI/LCM          Installation Qualification Protocol for Adaptiv Release 1.2.7 Protocol                                                                                        1
100083206   Ethicon Products,                              OPERATING PROCEDURE FOR THE ASSIGNMENT OF                     Work Instruction (Non-PPE)   Quality System               Packaging and Labeling                10        OPERATING PROCEDURE FOR THE ASSIGNMENT                 Released
            ,                                              COPY CONTROL NUMBERS                                                                                                                                                    OF COPY CONTROL NUMBERS
100083206   Ethicon Products,                              Operating Procedure for the Completion and Compilation of a Work Instruction (Non-PPE)     Quality System               Identification and Traceability       18        Operating Procedure for the Completion and Compilation Released
            ,                                              Device History Record by Somerville Raw Material Quality                                                                                                                of a Device History Record by Somerville Raw Material
                                                           Assurance                                                                                                                                                               Quality Assurance
100083468   Ethicon-Somerville-WW Quality System           Protocol for ADAPTIV Wave II Deployment for Mentor            Protocol                                                                                        1
100083468   Ethicon-Somerville-WW Quality System           Protocol for ADAPTIV Wave II Deployment for Mentor            Protocol                                                                                        1
100083540   Ethicon Products,                              OPERATING PROCEDURE FOR PERFORMING BILL OF                    Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control        13        OPERATING PROCEDURE FOR PERFORMING BILL                Released
            ,                                              MATERIAL                                                                                                                                                                OF MATERIAL
                                                           MAINTENANCE IN THE JDE ONE WORLD SYSTEM                                                                                                                                 MAINTENANCE IN THE JDE ONE WORLD SYSTEM
100088997   Ethicon-Somerville Plant-Quality Engineering   Sentinel Preclinical GI Device Characterization               Protocol                                                                                        1
100090384   Ethicon-Somerville-Quality Systems and         STRATAFIXTM Symmetric PDSTM Plus Transit Test # 1873 Protocol                                                                                                 1
            Compliance




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100092306     Ethicon Products, J&amp;J Wound Management, OPERATING PROCEDURE FOR ANNUAL REPORTS TO                     Procedure (Non-PPE)        Quality System               Management Responsibility             5         OPERATING PROCEDURE FOR ANNUAL REPORTS                        Released
              Women's Health and Urology,                 FDA FOR MEDICAL DEVICES                                                                                                                                               TO FDA FOR MEDICAL DEVICES
              ,
100094111     Ethicon-Somerville-WW Quality System        Procedure for Risk Assessment for Products with a Clinical    Procedure                                                                                     1
                                                          Use History
100095478     Ethicon-Somerville Plant-Quality Assurance  PROCEDURE FOR RECEIPT, STORAGE, AND                           Procedure                                                                                     1
              Manager                                     DISTRIBUTION OF EVICEL AND EVITHROM PRODUCT
                                                          FOR INTERNAL R&D AND
DR-0000004    Ethicon Products, J&amp;J Wound Management, Approval of Advertising and Promotional Materials for Medical Procedure (Non-PPE)        Quality System               Communication                         8         na                                                            Released
              Women's Health and Urology,                 Devices and Combination Products
              ,
DR-0000048    Ethicon Products, J&amp;J Wound Management, Operating Procedure For The Maintenance Of Stability          Procedure (Non-PPE)        Quality System               Facilities and Maintenance            7         Operating Procedure For The Maintenance Of Stability          Released
              ,                                           Studies Environmental Chambers                                                                                                                                        Studies Environmental Chambers

DR-0000293    Ethicon Products,                             OPERATING PROCEDURE FOR THE APPROVAL OF                  Work Instruction (Non-PPE)    Quality System               Packaging and Labeling                6         OPERATING PROCEDURE FOR THE APPROVAL OF                       Released
              ,                                             PRINTING INKS                                                                                                                                                       PRINTING INKS
DR-0000316    Ethicon Products,                             OPERATING PROCEDURE FOR DOCUMENT                         Procedure (Non-PPE)           Quality System               Document Mgmt and Data Control        19        OPERATING PROCEDURE FOR DOCUMENT                              Released
              ,                                             TRANSLATION                                                                                                                                                         TRANSLATION
DR-0000384    Ethicon Products,                             Operating Procedure for Cycle Counting and Physical      Work Instruction (Non-PPE)    Quality System               Production                            13        Operating Procedure for Cycle Counting and Physical           Released
              ,                                             Inventory of Raw Material                                                                                                                                           Inventory of Raw Material
FG-0000098    Ethicon Products,                             Operating Procedure for Processing Purchase Requisitions Work Instruction (Non-PPE)    Quality System               Procurement                           15        Operating Procedure for Processing Purchase                   Released
              ,                                             and Purchase Orders                                                                                                                                                 Requisitions and Purchase Orders
MS-0000282    Ethicon Products,                             OPERATING PROCEDURE FOR THE IMPLEMENTATION               Work Instruction (Non-PPE)    Quality System               Procurement                           10        OPERATING PROCEDURE FOR THE                                   Released
              ,                                             OF PURCHASED MATERIAL SPECIFICATIONS WITH                                                                                                                           IMPLEMENTATION OF PURCHASED MATERIAL
                                                            SUPPLIERS                                                                                                                                                           SPECIFICATIONS WITH SUPPLIERS
MS-0000300    Ethicon Products,                             OPERATING PROCEDURE FOR THE IMPLEMENTATION               Work Instruction (Non-PPE)    Quality System               Procurement                           9         OPERATING PROCEDURE FOR THE                                   Released
              ,                                             OF DOCUMENTS WITHIN THE ETHICON CHANGE                                                                                                                              IMPLEMENTATION OF DOCUMENTS WITHIN THE
                                                            CONTROL SYSTEM FOR THE CORPORATE PURCHASING                                                                                                                         ETHICON CHANGE CONTROL SYSTEM FOR THE
                                                            DEPARTMENT                                                                                                                                                          CORPORATE PURCHASING DEPARTMENT
MS-0000345    Ethicon Products,                             OPERATING PROCEDURE FOR THE TRANSFER OF BULK Work Instruction (Non-PPE)                Quality System               Distribution Handling and Storage     8         OPERATING PROCEDURE FOR THE TRANSFER OF                       Released
              ,                                             RAW MATERIALS FROM THE SOMERVILLE WAREHOUSE                                                                                                                         BULK RAW MATERIALS FROM THE SOMERVILLE
                                                            TO ALL DOMESTIC PLANT LOCATIONS                                                                                                                                     WAREHOUSE TO ALL DOMESTIC PLANT LOCATIONS

MS-0000681    Ethicon Products, J&amp;J Wound Management, OPERATING PROCEDURE FOR FREIGHT CARRIER                     Work Instruction (Non-PPE)   Quality System               Distribution Handling and Storage     4         OPERATING PROCEDURE FOR FREIGHT CARRIER                       Released
              ,                                           SELECTION                                                                                                                                                             SELECTION

MS201-001     Ethicon Products, J&amp;J Wound Management, Litigation Support Practices                                Procedure (Non-PPE)          Quality System               Complaints, Vigilance, Recalls        3         Litigation Support Practices                                  Released
              ,

MS207-012     Ethicon Products,                             Operating Procedure For The Control and Disposition of    Work Instruction (Non-PPE)   Quality System               Non-Conformity                        43        Operating Procedure For The Control and Disposition of        Released
              ,                                             Nonconforming Materials and Nonconformance Processing                                                                                                               Nonconforming Materials and Nonconformance
                                                                                                                                                                                                                                Processing
MS207-018   Ethicon Products,                           Company Policy for the ETHICON Instrument Calibration         Policy                       Quality System               Calibration and Measuring Equipment   1         Company Policy for the ETHICON Instrument Calibration         Released
            ,                                           Program                                                                                                                                                                 Program
MWI-0000042 Ethicon Products,                           Company Policy for the ETHICON Preventive Maintenance         Policy                       Quality System               Calibration and Measuring Equipment   1         Company Policy for the ETHICON Preventive                     Released
            ,                                           Program                                                                                                                                                                 Maintenance Program
MWI-0000043 Ethicon Products, J&amp;J Wound Management, Style Guide and Templates for ETHICON Text Documents          Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control        32 (33)   Style Guide and Templates for ETHICON Text                    Released
            Women's Health and Urology,                                                                                                                                                                                         Documents
            ,
MWI-0000044 Ethicon Products, J&amp;J Wound Management, Company Procedure Defining Document Linkage to the            Procedure (Non-PPE)          Quality System               All Quality System Processes          15 (16)   Company Procedure Defining Document Linkage to the            Released
            Women's Health and Urology,                 Quality Manual for ETHICON, North America                                                                                                                               Quality Manual for ETHICON, North America
            ,
NB-0156     Ethicon Products,                           Process Specification for Servicing Repairable Devices        Procedure (Non-PPE)          Quality System               Servicing                             6         Process Specification for Servicing Repairable Devices        Released
            ,
NS-1809     Ethicon Products,                           Company Procedure for the Redress and Relabel of              Procedure (Non-PPE)          Quality System               Packaging and Labeling                1         Company Procedure for the Redress and Relabel of      Released
            ,                                           Externally Manufactured Products                                                                                                                                        Externally Manufactured Products
OP204-011   Ethicon Products, J&amp;J Wound Management, Preparation and Approval Process for Protocols,               Procedure (Non-PPE)          Quality System               All Quality System Processes          9         Procedure for Preparation and Approval Process for    Released
            Women's Health and Urology,                 Amendments, and Administrative Changes for Clinical Trials                                                                                                              Protocols, Amendments, and Administrative Changes for
            ,                                                                                                                                                                                                                   Clinical Trials
OP204-015   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR PREPARATION, REVIEW, AND                        Procedure (Non-PPE)          Quality System               All Quality System Processes          4         na                                                    Released
            Women's Health and Urology,                 APPROVAL OF CASE REPORT FORMS FOR CLINICAL
            ,                                           TRIALS
OP210-004   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR PREPARATION, REVIEW, AND                        Procedure (Non-PPE)          Quality System               All Quality System Processes          2         na                                                            Released
            Women's Health and Urology,                 APPROVAL OF INFORMED CONSENT DOCUMENTS FOR
            ,                                           CLINICAL TRIALS
OP252-002   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR THE SITE EVALUATION VISIT FOR                   Procedure (Non-PPE)          Quality System               All Quality System Processes          7         Procedure for the Site Evaluation Visit for Clinical Trials   Released
            Women's Health and Urology,                 CLINICAL TRIALS
            ,




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OP252-002   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR THE SITE INITIATION VISIT FOR                  Procedure (Non-PPE)   Quality System               All Quality System Processes   8    Procedure for the Site Initiation Visit for Clinical Trials   Released
            Women's Health and Urology,                  CLINICAL TRIALS
            ,
OP600-005   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR THE SITE MONITORING VISIT FOR                  Procedure (Non-PPE)   Quality System               All Quality System Processes   8    Procedure for the Site Monitoring Visit for Clinical Trials   Released
            Women's Health and Urology,                  CLINICAL TRIALS
            ,
OP600-011   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR THE SITE CLOSE OUT FOR CLINICAL Procedure (Non-PPE)                  Quality System               All Quality System Processes   7    Procedure for the Site Close Out for Clinical Trials          Released
            Women's Health and Urology,                  TRIALS
            ,
OP600-011   Ethicon Products, J&amp;J Wound Management, Procedure for Preparation, Review and Approval of the        Procedure (Non-PPE)   Quality System               All Quality System Processes   3    na                                                            Released
            Women's Health and Urology,                  Investigator's Brochure for Clinical Trials
            ,
OP600-011   Ethicon-Somerville Plant-Quality Systems and OPERATING PROCEDURE FOR QUARTERLY ETHYLENE Procedure                                                                                          67
            Compliance                                   OXIDE BIOBURDEN AUDIT PROGRAM
OP600-020   Ethicon-Somerville-Quality Systems and       OPERATING PROCEDURE FOR THE QUARTERLY                       Procedure                                                                         45
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OP600-026   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR PREPARING CLINICAL STUDY                       Procedure (Non-PPE)   Quality System               All Quality System Processes   4    na                                                            Released
            Women's Health and Urology,                  REPORTS FOR CLINICAL TRIALS
            ,
OP600-062   Ethicon Products, J&amp;J Wound Management, Procedure for Suspicion of Misrepresentation and Misconduct Procedure (Non-PPE)    Quality System               All Quality System Processes   3    na                                                            Released
            Women's Health and Urology,                  for Clinical Trials
            ,
OP600-073   Ethicon Products, J&amp;J Wound Management, Procedure for Oracle Clinical System Security and Disaster   Procedure (Non-PPE)   Quality System               All Quality System Processes   5    Procedure for Oracle Clinical System Security and             Released
            Women's Health and Urology,                  Recovery for Clinical Trials                                                                                                                       Disaster Recovery for Clinical Trials
            ,
OP600-074   Ethicon Products, J&amp;J Wound Management, Clinical Development Procedure for Creation and              Procedure (Non-PPE)   Quality System               All Quality System Processes   3    Clinical Development Procedure for Creation and               Released
            Women's Health and Urology,                  Maintenance of the Global Library for Clinical Trials                                                                                              Maintenance of the Global Library for Clinical Trials
            ,
OP600-085   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR STATISTICAL INPUT INTO CLINICAL                Procedure (Non-PPE)   Quality System               All Quality System Processes   2    na                                                            Released
            Women's Health and Urology,                  INVESTIGATION PLANS/PROTOCOLS FOR CLINICAL
            ,                                            TRIALS
OP600-087   Ethicon Products, J&amp;J Wound Management, Procedure for the Creation of an Annotated Case Report       Procedure (Non-PPE)   Quality System               All Quality System Processes   5    Procedure for the Creation of an Annotated Case Report Released
            Women's Health and Urology,                  Form for Clinical Trials                                                                                                                           Form for Clinical Trials
            ,
OP600-105   Ethicon Products, J&amp;J Wound Management, Procedure for Randomization and Blinding for Clinical Trials Procedure (Non-PPE)   Quality System               All Quality System Processes   3    Procedure for Randomization and Blinding for Clinical         Released
            Women's Health and Urology,                                                                                                                                                                     Trials
            ,
OP601-005   Ethicon Products, J&amp;J Wound Management, CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                     Procedure (Non-PPE)   Quality System               All Quality System Processes   5    CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                      Released
            Women's Health and Urology,                  PROCEDURE FOR A DATA MANAGEMENT PLAN FOR                                                                                                           PROCEDURE FOR A DATA MANAGEMENT PLAN FOR
            ,                                            CLINICAL TRIALS                                                                                                                                    CLINICAL TRIALS
OP601-007   Ethicon Products, J&amp;J Wound Management, CLINICAL DEVELOPMENT PROCEDURE FOR DATA                      Procedure (Non-PPE)   Quality System               All Quality System Processes   4    CLINICAL DEVELOPMENT PROCEDURE FOR DATA                       Released
            Women's Health and Urology,                  ENTRY IN A CLINICAL DATA MANAGEMENT SYSTEM                                                                                                         ENTRY IN A CLINICAL DATA MANAGEMENT SYSTEM
            ,                                            (CDMS)                                                                                                                                             (CDMS)
OP601-009   Ethicon Products, J&amp;J Wound Management, Clinical Development Procedure for the Database Quality      Procedure (Non-PPE)   Quality System               All Quality System Processes   4    CLINICAL DEVELOPMENT PROCEDURE FOR THE                        Released
            Women's Health and Urology,                  Control Process for Clinical Trials                                                                                                                DATABASE QUALITY CONTROL PROCESS FOR
            ,                                                                                                                                                                                               CLINICAL TRIALS
OP603-036   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR THE STATISTICAL ANALYSIS PLAN                  Procedure (Non-PPE)   Quality System               All Quality System Processes   3    na                                                            Released
            Women's Health and Urology,                  FOR CLINICAL TRIALS
            ,
OP603-097   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR LOCKING AND UNLOCKING OF A                     Procedure (Non-PPE)   Quality System               All Quality System Processes   5    Procedure for Locking and Unlocking of a Database for         Released
            Women's Health and Urology,                  DATABASE FOR CLINICAL TRIALS                                                                                                                       Clinical Trials
            ,
OP603-124   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR DATA EXTRACTION FROM THE                       Procedure (Non-PPE)   Quality System               All Quality System Processes   5    Procedure for Data Extraction from the Clinical Trial         Released
            Women's Health and Urology,                  CLINICAL TRIAL DATABASE                                                                                                                            Database
            ,
OP603-180   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR REPORTING STATISTICAL RESULTS                  Procedure (Non-PPE)   Quality System               All Quality System Processes   2    na                                                            Released
            Women's Health and Urology,                  FOR CLINICAL TRIALS
            ,
OP603-334   Ethicon Products, J&amp;J Wound Management, Clinical Development and Medical Affairs Procedure for       Procedure (Non-PPE)   Quality System               All Quality System Processes   4    Clinical Development and Medical Affairs Procedure for        Released
            Women's Health and Urology,                  Creation and Testing of a Database for Clinical Trials                                                                                             Creation and Testing of a Database for Clinical Trials
            ,
OP606-047   Ethicon-Somerville-Quality Systems and       OPERATING PROCEDURE FOR THE PROCESSING OF                   Procedure                                                                         16
            Compliance                                   SPECIALTY ITEMS AT ETHICON, INC., CORNELIA,
                                                         GEORGIA




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OP607-052    Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR INTERIM AND FOLLOW-UP ANALYSES Procedure (Non-PPE)                   Quality System               All Quality System Processes          2       na                                                        Released
             Women's Health and Urology,                 FOR CLINICAL TRIALS
             ,
OP611-079    Ethicon Products,                           Company Procedure for Raw Material Testing (RMT) Training Procedure (Non-PPE)      Quality System               Training                              4       Company Procedure for Raw Material Testing (RMT)          Released
             ,                                           Requirements                                                                                                                                                  Training Requirements
OP611-104    Ethicon Products,                           Procedure for documentation for Japan PAL                 Procedure (Non-PPE)      Quality System               Document Mgmt and Data Control        2       Procedure for documentation for Japan PAL                 Released
             ,
OP611-140    Ethicon Products, J&amp;J Wound Management, Company Procedure for Management of Litigation Support    Procedure (Non-PPE)      Quality System               Complaints, Vigilance, Recalls        5       Company Procedure for Management of Litigation            Released
             ,                                           Procedures for Product Liability                                                                                                                              Support Procedures for Product Liability

OP612-017    Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR MEDICAL DATA CODING OF TERMS                 Procedure (Non-PPE)     Quality System               All Quality System Processes          4       na                                                        Released
             Women's Health and Urology,                 WITHIN A CLINICAL TRIAL TO A STANDARDIZED
             ,                                           DICTIONARY
OP612-019    Ethicon Products,                           Procedure for archiving product packaging samples          Procedure (Non-PPE)     Quality System               Packaging and Labeling                2       Procedure for archiving product packaging samples         Released
             ,
OP613-002    Ethicon Products,                           Company Procedure for US Regulatory Affairs Review of      Procedure (Non-PPE)     Quality System               Management Responsibility             2       Company Procedure for US Regulatory Affairs Review of Released
             ,                                           Promotion and Advertising Material for Medical Devices                                                                                                        Promotion and Advertising Material for Medical Devices

OP613-004    Ethicon Products,                           Company Procedure for Weekly Review of JDE Account           Procedure (Non-PPE)   Quality System               Document Mgmt and Data Control        2       Company Procedure for Weekly Review of JDE Account        Released
             ,                                           Activity                                                                                                                                                      Activity
OP650-011    Ethicon Products, J&amp;J Wound Management, COMPANY PROCEDURE: GLOSSARY OF CLINICAL                      Procedure (Non-PPE)   Quality System               All Quality System Processes          4       na                                                        Released
             Women's Health and Urology,                 DEFINITIONS
             ,
OP650-011    Ethicon-Somerville-WW Quality System        Operating Procedure for Design Failure Modes and Effects     Procedure                                                                                14
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OP653-011    Ethicon Products,                           COMPANY PROCEDURE FOR                RESPONDING TO AND Procedure (Non-PPE)         Quality System               Facilities and Maintenance            2       COMPANY PROCEDURE FOR       RESPONDING TO                 Released
             ,                                           REPORTING SECURITY INCIDENTS                                                                                                                                  AND REPORTING SECURITY INCIDENTS
OP653-011    Ethicon-Somerville-WW Quality System        Litigation Support Practices                                 Procedure                                                                                3
OP653-014    Ethicon Products, J&amp;J Wound Management, COMPANY PROCEDURE FOR THE LIMITED RELEASE OF Procedure (Non-PPE)                   Quality System               Planning                              1 (2)   COMPANY PROCEDURE FOR THE LIMITED RELEASE Released
             Women's Health and Urology,                 SPECIAL ORDER DEVICES                                                                                                                                         OF SPECIAL ORDER DEVICES
             ,
PKDWG-       Women's Health and Urology,                 Company Procedure for Servicing Ethicon, Inc. Repairable     Procedure (Non-PPE)   Quality System               Servicing                             1       Company Procedure for Servicing Ethicon, Inc.             Released
0000303      ,                                           Products                                                                                                                                                      Repairable Products
PKDWG-       Ethicon Products,                           Company Procedure for the ETHICON Instrument Calibration Procedure (Non-PPE)       Quality System               Calibration and Measuring Equipment   4       Company Procedure for the ETHICON Instrument              Released
0000304      ,                                           Program                                                                                                                                                       Calibration Program
PL-0000012   Ethicon Products,                           Company Procedure for the ETHICON Preventive                 Procedure (Non-PPE)   Quality System               Facilities and Maintenance            2       Company Procedure for the ETHICON Preventive              Released
             ,                                           Maintenance Program                                                                                                                                           Maintenance Program
PL-0000015   Ethicon Products, J&amp;J Wound Management, Company Procedure for a Sterilization Strategy/Justification Procedure (Non-PPE)   Quality System               Sterilization and Microbiology        1       Company Procedure for a Sterilization                     Released
             Women's Health and Urology,                                                                                                                                                                               Strategy/Justification
             ,
PL-0000023   Ethicon Products, J&amp;J Wound Management, Company Procedure for Demand Planning for ETHICON Inc Procedure (Non-PPE)          Quality System               Planning                              1       Company Procedure for Demand Planning for ETHICON         Released
             Women's Health and Urology,                                                                                                                                                                               Inc
             ,
PL-0000024   Ethicon Products, J&amp;J Wound Management, Company Procedure for Supply Planning Governance             Procedure (Non-PPE)   Quality System               Planning                              1       Company Procedure for Supply Planning Governance          Released
             Women's Health and Urology,                 Process for ETHICON Inc                                                                                                                                       Process for ETHICON Inc
             ,
PL-0000086   Ethicon Products, J&amp;J Wound Management, Company Procedure for Inventory Management Process for Procedure (Non-PPE)         Quality System               Planning                              1       Company Procedure for Inventory Management Process        Released
             Women's Health and Urology,                 ETHICON Inc                                                                                                                                                   for ETHICON Inc
             ,
PR-0000002   Ethicon Products,                           GSC Procedure For the Periodic Review of EXCEL Spread        Procedure (Non-PPE)   Quality System               Planning                              1       GSC Procedure For the Periodic Review of EXCEL            Released
             ,                                           Sheets and Applied Security                                                                                                                                   Spread Sheets and Applied Security
PR-0000002   Ethicon-Somerville-WW Quality System        Style Guide and Templates for ETHICON Text Documents         Procedure                                                                                30
PR-0000002   Ethicon-Somerville-WW Quality System        Style Guide and Templates for ETHICON Text Documents         Procedure                                                                                30
PR-0000006   Ethicon Products, J&amp;J Wound Management, Procedure for Work Instructions for QAU-GLP                  Procedure (Non-PPE)   Quality System               Compliance                            1       Procedure for Work Instructions for QAU-GLP               Released
             Women's Health and Urology,                 Responsibilities                                                                                                                                              Responsibilities
             ,
PR-0000009   Ethicon-Somerville-WW Quality System        Company Procedure Defining Document Linkage to the           Procedure                                                                                14
                                                         Quality Manual for ETHICON, North America
PR-0000009   Ethicon-Somerville-WW Quality System        Company Procedure Defining Document Linkage to the           Procedure                                                                                14
                                                         Quality Manual for ETHICON, North America
PR-0000112   Ethicon Products,                           Procedure on Monthly review of Invalid Login attemps to JDE. Procedure (Non-PPE)   Quality System               Document Mgmt and Data Control        1       Procedure on Monthly review of Invalid Login attemps to   Released
             ,                                                                                                                                                                                                         JDE.
PR-0000114                                               COMPANY PROCEDURE FOR CUSTOMER COMPLAINT                     Procedure (Non-PPE)                                                                      4
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PR-0000118                                               FRANCHISE PROCEDURE FOR PRODUCT COMPLAINT                    Procedure (Non-PPE)                                                                      20
                                                         MANAGEMENT

PR-0000119                                                 COMPANY PROCEDURE FOR GLOBAL CUSTOMER                    Procedure (Non-PPE)                                                                        5
                                                           COMPLAINT CATEGORY MODIFICATIONS




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PR-0000172   Ethicon Products,                            Company Procedure for User Maintenance of the              Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control    1       Company Procedure for User Maintenance of the       Released
             ,                                            LabManager LIMS System                                                                                                                                         LabManager LIMS System
PR-0000173   Ethicon Products,                            Administation of Test Method Documents Controlled within   Procedure (Non-PPE)          Quality System               Quality System                    1       Administation of Test Method Documents Controlled   Released
             ,                                            the Somerville New Jersey Performance Evaluation Group                                                                                                         within the Somerville New Jersey Performance
                                                                                                                                                                                                                         Evaluation Group
PR-0000173   Ethicon Products,                            COMPANY PROCEDURE FOR                         Procedure (Non-PPE)                       Quality System               Identification and Traceability   1       COMPANY PROCEDURE FOR                               Released
             ,                                            CREATION OF GLOBAL TRADE IDENTIFICATION                                                                                                                        CREATION OF GLOBAL TRADE IDENTIFICATION
                                                          NUMBERS (GTINS) IN THE MASTER DATA MANAGEMENT                                                                                                                  NUMBERS (GTINS) IN THE MASTER DATA
                                                          (MDM) SYSTEM                                                                                                                                                   MANAGEMENT (MDM) SYSTEM
PR-0000174   Ethicon Products,                            COMPANY PROCEDURE FOR PLANNING HOLDS          Procedure (Non-PPE)                       Quality System               Production                        1       COMPANY PROCEDURE FOR PLANNING HOLDS                Released
             ,
PR-0000174   Ethicon Products, J&amp;J Wound Management, Change Management Process in the ADAPTIV System             Procedure (Non-PPE)          Quality System               All Quality System Processes      4       na                                                  Released
             Women's Health and Urology,
             ,
PR-0000175   Ethicon Products, J&amp;J Wound Management, Managing Part Masters and Part Plants in ADAPTIV            Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control    3       na                                                  Released
             Women's Health and Urology,
             ,
PR-0000176   Ethicon Products, J&amp;J Wound Management, Managing Bills of Materials and Device Master Records in    Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control    5       na                                                  Released
             Women's Health and Urology,                 ADAPTIV
             ,
PR-0000176   Ethicon Products, J&amp;J Wound Management, Managing ERP Transactions and Flat Files in ADAPTIV         Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control    2       na                                                  Released
             Women's Health and Urology,
             ,
PR-0000177   Ethicon Products, J&amp;J Wound Management, Managing Main Part in ADAPTIV                               Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control    3       na                                                  Released
             Women's Health and Urology,
             ,
PR-0000177   Ethicon Products, J&amp;J Wound Management, Document Management Process in the ADAPTIV System           Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control    4 (5)   na                                                  Released
             Women's Health and Urology,
             ,
PR-0000178   Ethicon Products, J&amp;J Wound Management, ADAPTIV Change Analyst Process                              Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control    3       na                                                  Released
             Women's Health and Urology,
             ,
PR-0000178   Ethicon Products, J&amp;J Wound Management, MDD ADAPTIV Mass Replace BOM (Bill of Material)             Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control    1       na                                                  Released
             Women's Health and Urology,                 Component Work Instruction
             ,
PR-0000179   Ethicon Products, J&amp;J Wound Management, MDD ADAPTIV Product Configuration Change Management         Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control    2       na                                                  Released
             Women's Health and Urology,                 Procedure
             ,
PR-0000179   Ethicon Products, J&amp;J Wound Management, MDD ADAPTIV ERP (Enterprise Resource Planning)              Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control    1       na                                                  Released
             Women's Health and Urology,                 Transactions and Flat Files Work Instruction
             ,
PR-0000180   Ethicon Products, J&amp;J Wound Management, MDD ADAPTIV Part Routing Work Instruction                   Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control    1       na                                                  Released
             Women's Health and Urology,
             ,
PR-0000180   Ethicon Products, J&amp;J Wound Management, MDD ADAPTIV Work Center Work Instruction                    Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control    1       na                                                  Released
             Women's Health and Urology,
             ,
PR-0000181   Ethicon Products, J&amp;J Wound Management, MDD ADAPTIV Effectivity Management and Material             Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control    1       na                                                  Released
             Women's Health and Urology,                 Disposition Work Instruction
             ,
PR-0000181   Ethicon Products, J&amp;J Wound Management, MDD ADAPTIV DMR (Device Master Record) Parent and           Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control    1       na                                                  Released
             Women's Health and Urology,                 Child Release Level Alignment Work Instruction
             ,
PR-0000182   Ethicon Products, J&amp;J Wound Management, MDD ADAPTIV Creating a Branch BOM/DMR (Bill of              Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control    1       na                                                  Released
             Women's Health and Urology,                 Material/Device Master Record) Structure Procedure
             ,
PR-0000182   Ethicon Products, J&amp;J Wound Management, MDD ADAPTIV Cross Franchise Shared Parts Work               Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control    1       na                                                  Released
             Women's Health and Urology,                 Instruction
             ,
PR-0000183   Ethicon Products, J&amp;J Wound Management, Global Discontinue Part Process                             Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control    4       na                                                  Released
             Women's Health and Urology,
             ,
PR-0000183   Ethicon Products, J&amp;J Wound Management, Global FG Product Manufactured Creation Process             Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control    4       na                                                  Released
             Women's Health and Urology,
             ,
PR-0000184   Ethicon Products, J&amp;J Wound Management, Global FG Product External Creation Process                 Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control    3       na                                                  Released
             Women's Health and Urology,
             ,




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PR-0000184   Ethicon Products, J&amp;J Wound Management, Right Product/Right Country Process                      Procedure (Non-PPE)                 Quality System               Document Mgmt and Data Control        5         na                                                          Released
             Women's Health and Urology,
             ,
PR-0000185   Ethicon Products, J&amp;J Wound Management, Global Product Maintenance and Change Process            Procedure (Non-PPE)                 Quality System               Document Mgmt and Data Control        5         na                                                          Released
             Women's Health and Urology,
             ,
PR-0000185   Ethicon Products, J&amp;J Wound Management, Enterprise Resource Planning (ERP) Transactions and Flat Work Instruction (Non-PPE)          Quality System               Document Mgmt and Data Control        1         na                                                          Released
             Women's Health and Urology,                 Files Work Instruction
             ,
PR-0000186   Ethicon Products,                           GUIDELINES FOR TRANSFER OF INTERNATIONAL                 Procedure (Non-PPE)                 Quality System               Identification and Traceability       7         GUIDELINES FOR TRANSFER OF INTERNATIONAL                    Released
             ,                                           AFFILIATE MATERIALS                                                                                                                                                       AFFILIATE MATERIALS
PR-0000186   Ethicon Products, J&amp;J Wound Management, Company Procedure for Process Change Control for         Procedure (Non-PPE)                 Quality System               Compliance                            10        Company Procedure for Process Change Control for            Released
             Women's Health and Urology,                 Externally Manufactured Products                                                                                                                                          Externally Manufactured Products
             ,
PR-0000187   Ethicon Products,                           Procedure for batch, lot, or serial number coding and    Procedure (Non-PPE)                 Quality System               Compliance                            3         Procedure for batch, lot, or serial number coding and       Released
             ,                                           traceability of externally manufactured finished goods                                                                                                                    traceability of externally manufactured finished goods
PR-0000187   Ethicon Products,                           WORK INSTRUCTIONS FOR LABELING OF FACILITY               Procedure (Non-PPE)                 Quality System               Facilities and Maintenance            3         WORK INSTRUCTIONS FOR LABELING OF FACILITY                  Released
             ,                                           PIPING                                                                                                                                                                    PIPING
PR-0000188   Ethicon Products,                           WORK INSTRUCTIONS FOR CONTROL AND UPDATING               Procedure (Non-PPE)                 Quality System               Document Mgmt and Data Control        3         WORK INSTRUCTIONS FOR CONTROL AND                           Released
             ,                                           OF FACILITY DRAWINGS (UTILITY DISTRIBUTION PIPING)                                                                                                                        UPDATING OF FACILITY DRAWINGS (UTILITY
                                                                                                                                                                                                                                   DISTRIBUTION PIPING)
PR-0000188   Ethicon Products,                           Company Procedure for Equipment Electrical standards            Procedure (Non-PPE)          Quality System               Facilities and Maintenance            3         Company Procedure for Equipment Electrical standards        Released
             ,
PR-0000189   Women's Health and Urology,                 Company Procedure for Developing Capital Equipment              Procedure (Non-PPE)          Quality System               Servicing                             5         Company Procedure for Developing Capital Equipment          Released
             ,                                           Service Bulletins for Ethicon Repair Facilities                                                                                                                           Service Bulletins for Ethicon Repair Facilities
PR-0000190   Ethicon Products, J&amp;J Wound Management, Work Instructions for Equipment and Process Control             Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control        24 (25)   Work Instructions for Equipment and Process Control         Released
             ,                                           Procedure                                                                                                                                                                 Procedure

PR-0000190   Ethicon Products,                           Work instructions for Gynecare research &amp; development Work Instruction (Non-PPE)         Quality System               Training                              2         Work instructions for Gynecare research &amp;               Released
             ,                                           training requirements                                                                                                                                                     development training requirements
PR-0000191   Ethicon Products,                           WORK INSTRUCTIONS FOR MAXIMO AND PILGRIM                  Procedure (Non-PPE)                Quality System               Calibration and Measuring Equipment   3         WORK INSTRUCTIONS FOR MAXIMO AND PILGRIM                    Released
             ,                                           PREVENTATIVE MAINTENANCE                                                                                                                                                  PREVENTATIVE MAINTENANCE
PR-0000192   Ethicon Products,                           Company Procedure for Destruction of Materials            Procedure (Non-PPE)                Quality System               Identification and Traceability       24        Company Procedure for Destruction of Materials              Released
             ,
PR-0000192   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR MANAGEMENT OF FINISHED GOODS Procedure (Non-PPE)                               Quality System               Identification and Traceability       13        PROCEDURE FOR MANAGEMENT OF FINISHED                        Released
             Women's Health and Urology,                 MINIMUM SHIPPING AND RECEIVING SHELF LIFE                                                                                                                                 GOODS MINIMUM SHIPPING AND RECEIVING SHELF
             ,                                           PARAMETERS                                                                                                                                                                LIFE PARAMETERS
PR-0000193   Ethicon Products,                           PROJECT RELATED SHOP-FLOOR PRODUCTION ORDER Work Instruction (Non-PPE)                       Quality System               Document Mgmt and Data Control        13        PROJECT RELATED SHOP-FLOOR PRODUCTION                       Released
             ,                                           REQUESTS                                                                                                                                                                  ORDER REQUESTS
PR-0000193   Ethicon Products,                           COMPANY PROCEDURE FOR SALES &amp; OPERATIONS Procedure (Non-PPE)                             Quality System               Planning                              4         COMPANY PROCEDURE FOR SALES &amp;                           Released
             ,                                           PLANNING                                                                                                                                                                  OPERATIONS PLANNING
PR-0000194   Ethicon Products,                           WORK INSTRUCTIONS FOR SUPPLIER CERTIFICATES               Work Instruction (Non-PPE)         Quality System               Procurement                           4         WORK INSTRUCTIONS FOR SUPPLIER                              Released
             ,                                           OF INSURANCE AND LETTERS OF INDEMNITY                                                                                                                                     CERTIFICATES OF INSURANCE AND LETTERS OF
                                                                                                                                                                                                                                   INDEMNITY
PR-0000194   Ethicon Products,                             WORK INSTRUCTIONS FOR OBTAINING SECRECY                       Work Instruction (Non-PPE)   Quality System               Procurement                           4         WORK INSTRUCTIONS FOR OBTAINING SECRECY                     Released
             ,                                             AGREEMENTS OR STANDARD DEVELOPMENT                                                                                                                                      AGREEMENTS OR STANDARD DEVELOPMENT
                                                           CONTRACTS WITH SUPPLIERS                                                                                                                                                CONTRACTS WITH SUPPLIERS
PR-0000195   Ethicon Products,                             Procurement Policy for the Solicitation of Competitive Bids   Procedure (Non-PPE)          Quality System               Procurement                           11        Procurement Policy for the Solicitation of Competitive      Released
             ,                                             &amp; Contract Development                                                                                                                                              Bids &amp; Contract Development
PR-0000195   Ethicon Products,                             Work Instruction for Emergency PO                             Work Instruction (Non-PPE)   Quality System               Procurement                           2         Work Instruction for Emergency PO                           Released
             ,
PR-0000196   Ethicon Products,                             Work Instructions for Handling Product Complaints             Work Instruction (Non-PPE)   Quality System               Complaints, Vigilance, Recalls        44        Work Instructions for Handling Product Complaints           Released
             ,
PR-0000196   Ethicon Products,                             Work Instructions for DMS Users                               Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control        7         Work Instructions for DMS Users                             Released
             ,
PR-0000197   Ethicon Products,                           PROCEDURE FOR PROCESSING NEW RAW MATERIAL                       Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control        26        PROCEDURE FOR PROCESSING NEW RAW                            Released
             ,                                           CODES AND LOADING CODES TO INVENTORY                                                                                                                                      MATERIAL CODES AND LOADING CODES TO
                                                         SYSTEM(S)                                                                                                                                                                 INVENTORY SYSTEM(S)
PR-0000197   Ethicon Products,                           PROCEDURE FOR RELEASE OF NONSALEABLE                            Procedure (Non-PPE)          Quality System               Identification and Traceability       23        PROCEDURE FOR RELEASE OF NONSALEABLE                        Released
             ,                                           PRODUCTS OR MATERIALS                                                                                                                                                     PRODUCTS OR MATERIALS
PR-0000198   Ethicon Products,                           Company Procedure for the Control of Nonsaleable,               Procedure (Non-PPE)          Quality System               Identification and Traceability       9         Company Procedure for the Control of Nonsaleable,           Released
             ,                                           Developmental Products and Materials Which Are Not                                                                                                                        Developmental Products and Materials Which Are Not
                                                         Intended For Human or Animal Use                                                                                                                                          Intended For Human or Animal Use
PR-0000198   Ethicon Products,                           Procedure for the sterilization of nonsalable products or       Procedure (Non-PPE)          Quality System               Identification and Traceability       6         Procedure for the sterilization of nonsalable products or   Released
             ,                                           materials                                                                                                                                                                 materials
PR-0000199   Women's Health and Urology,                 Company Procedure for Processing Ethicon, Inc. Repairable       Procedure (Non-PPE)          Quality System               Servicing                             6         Company Procedure for Processing Ethicon, Inc.              Released
             ,                                           Products                                                                                                                                                                  Repairable Products
PR-0000199   Ethicon Products, J&amp;J Wound Management, Company Procedures for Decontamination of Product               Procedure (Non-PPE)          Quality System               Complaints, Vigilance, Recalls        18        Company Procedures for Decontamination of Product           Released
             Women's Health and Urology,                 Complaint Samples                                                                                                                                                         Complaint Samples
             ,




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PR-0000200   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR DETERMINING EXPIRY DATE PERIODS Procedure (Non-PPE)                              Quality System               Identification and Traceability     8    PROCEDURE FOR DETERMINING EXPIRY DATE                      Released
             Women's Health and Urology,                 AND STORAGE CONDITIONS                                                                                                                                               PERIODS (shelf life) and associated storage
             ,                                                                                                                                                                                                                conditions/requirements based on stability study results

PR-0000201   Ethicon Products,                           STATISTICAL TECHNIQUES PROCEDURE                                 Procedure (Non-PPE)           Quality System               Statistical Techniques              9    STATISTICAL TECHNIQUES PROCEDURE                           Released
             ,
PR-0000201   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR PACKAGE DEVELOPMENT                                Procedure (Non-PPE)           Quality System               Packaging and Labeling              11   PROCEDURE FOR PACKAGE DEVELOPMENT                          Released
             Women's Health and Urology,
             ,
PR-0000202   Ethicon Products,                           Company Procedure for CPAS Application Administration            Procedure (Non-PPE)           Quality System               Corrective and Preventive Actions   7    Company Procedure for CPAS Application Administration Released
             ,
PR-0000202   Ethicon Products,                           Work Instructions for GLP Abbreviations/Standard                 Work Instruction (Non-PPE)    Quality System               Compliance                          3    Work Instructions for GLP Abbreviations/Standard           Released
             ,                                           Terminology                                                                                                                                                          Terminology
PR-0000203   Ethicon Products,                           Work Instructions for the GLP Master Schedule                    Work Instruction (Non-PPE)    Quality System               Compliance                          3    Work Instructions for the GLP Master Schedule              Released
             ,
PR-0000203   Ethicon Products,                           Work Instructions for GLP Regulatory Compliance Inspection       Work Instruction (Non-PPE)    Quality System               Compliance                          4    Work Instructions for GLP Regulatory Compliance            Released
             ,                                           Reporting                                                                                                                                                            Inspection Reporting
PR-0000204                                               FRANCHISE PROCEDURE FOR ADVERSE EVENT                            Procedure (Non-PPE)                                                                            5
                                                         REPORTING FOR JAPAN PAL REQUIREMENTS
PR-0000212   Ethicon Products,                           Work Instructions for GLP Training Records                       Work Instruction (Non-PPE)    Quality System               Training                            2    Work Instructions for GLP Training Records                 Released
             ,
PR-0000213   Ethicon Products,                           Work Instructions for the Inspection, Classification and         Work Instruction (Non-PPE)    Quality System               Compliance                          5    Work Instructions for the Inspection, Classification and   Released
             ,                                           Monitoring of Contract Research Organizations (CRO)                                                                                                                  Monitoring of Contract Research Organizations (CRO)
PR-0000214   Ethicon Products,                           Work Instructions for the Preparation of a GLP QA Statement      Work Instruction (Non-PPE)    Quality System               Compliance                          2    Work Instructions for the Preparation of a GLP QA          Released
             ,                                                                                                                                                                                                                Statement
PR-0000222   Ethicon Products,                           Lab 2000 R&amp;D LIMS System Administration Procedure            Work Instruction (Non-PPE)    Quality System               Production                          2    Lab 2000 R&amp;D LIMS System Administration                Released
             ,                                           for Implementing New Login      Templates                                                                                                                            Procedure for Implementing New Login        Templates
PR-0000232   Ethicon Products,                           PR800-022 - Lab 2000 R&amp;D LIMS System                         Work Instruction (Non-PPE)    Quality System               Design and Development              2    PR800-022 - Lab 2000 R&amp;D LIMS System                   Released
             ,                                           Administration Procedure for Resetting User Passwords                                                                                                                Administration Procedure for Resetting User Passwords

PR-0000232   Ethicon-Somerville-WW Quality System            Company Procedure for Management of Litigation Support       Procedure                                                                                      5
                                                             Procedures for Product Liability
PR-0000250   Ethicon Products,                               PR800-023 - Lab 2000 R&amp;D LIMS System                     Work Instruction (Non-PPE)    Quality System               Design and Development              2    PR800-023 - Lab 2000 R&amp;D LIMS System                   Released
             ,                                               Administration Procedure for Implementing New Test                                                                                                               Administration Procedure for Implementing New Test
                                                             Methods                                                                                                                                                          Methods
PR-0000252   Ethicon Products,                               PR800-027 - Lab 2000 R&amp;D LIMS System                     Work Instruction (Non-PPE)    Quality System               Design and Development              2    PR800-027 - Lab 2000 R&amp;D LIMS System                   Released
             ,                                               Administration Procedure for Adding and Removing Users                                                                                                           Administration Procedure for Adding and Removing
                                                                                                                                                                                                                              Users
PR-0000252   Ethicon Products,                           Company Procedure for Materials Tracing                          Procedure (Non-PPE)           Quality System               Identification and Traceability     17   Company Procedure for Materials Tracing                    Released
             ,
PR-0000253   Ethicon Products,                           WORK INSTRUCTIONS FOR RECEIPT OF RETURNED                        Work Instruction (Non-PPE)    Quality System               Distribution Handling and Storage   3    WORK INSTRUCTIONS FOR RECEIPT OF RETURNED Released
             ,                                           RAW MATERIAL TO CORNELIA                                                                                                                                             RAW MATERIAL TO CORNELIA
PR-0000255   Ethicon Products, J&amp;J Wound Management, Process Specification for the ETHICON Change Control             Procedure (Non-PPE)           Quality System               Document Mgmt and Data Control      9    Process Specification for the ETHICON Change Control Released
             Women's Health and Urology,                 System Business Administration Process                                                                                                                               System Business Administration Process
             ,
PR-0000269   Ethicon Products, J&amp;J Wound Management, Process Specification for the Paper-Based Document               Procedure (Non-PPE)           Quality System               Document Mgmt and Data Control      5    Process Specification for the Paper-Based Document         Released
             Women's Health and Urology,                 Management Process                                                                                                                                                   Management Process
             ,
PR-0000271   Ethicon Products,                           Process Specification for the Product Release Authorization      Procedure (Non-PPE)           Quality System               Document Mgmt and Data Control      11   Process Specification for the Product Release      Released
             ,                                           (PRA) Process                                                                                                                                                        Authorization (PRA) Process
PR-0000271   Ethicon Products, J&amp;J Wound Management, ETHICON Change Control System System Administrator               Procedure (Non-PPE)           Quality System               Document Mgmt and Data Control      3    ETHICON Change Control System System Administrator Released
             ,                                           Manual                                                                                                                                                               Manual

PR-0000280   Ethicon Products,                               Process Specification for Creation and Revision of Needle    Procedure (Non-PPE)           Quality System               Document Mgmt and Data Control      5    Process Specification for Creation and Revision of     Released
             ,                                               Specifications, Needle Blanks and Needle Templates                                                                                                               Needle Specifications, Needle Blanks and Needle
                                                                                                                                                                                                                              Templates
PR-0000301   Ethicon Products,                               Process Specification for ETHICON Engineering Drawing and Procedure (Non-PPE)              Quality System               Document Mgmt and Data Control      5    Process Specification for ETHICON Engineering Drawing Released
             ,                                               Equipment Bills of Material Standards                                                                                                                            and Equipment Bills of Material Standards
PR-0000303   Ethicon Products,                               Process Specification for Creation of Finished Goods      Procedure (Non-PPE)              Quality System               Document Mgmt and Data Control      7    Process Specification for Creation of Finished Goods   Released
             ,                                               Specifications and Release of Sterile Product Produced by                                                                                                        Specifications and Release of Sterile Product Produced
                                                             External Manufacturers                                                                                                                                           by External Manufacturers
PR-0000321   Ethicon Products, Women's Health and Urology,   Trending Capital Equipment Product Complaints             Work Instruction (Non-PPE)       Quality System               Servicing                           5    Trending Capital Equipment Product Complaints          Released
             ,

PR-0000322   Ethicon Products,                               Process Specification for JDE OneWorld Backorder Release     Work Instruction (Non-PPE)    Quality System               Planning                            2    Process Specification for JDE OneWorld Backorder           Released
             ,                                                                                                                                                                                                                Release
PR-0000330   Ethicon Products,                               Process Specification for JDE OneWorld Distribution Inquiries Work Instruction (Non-PPE)   Quality System               Planning                            2    Process Specification for JDE OneWorld Distribution        Released
             ,                                                                                                                                                                                                                Inquiries
PR-0000343                                                   Franchise procedure for the addition, modification, or deletion Procedure (Non-PPE)                                                                         1
                                                             of Remetrex assignment triggers or trigger plans




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PR-0000364   Ethicon Products,                        Process Specification for JDE OneWorld Distribution Reports Work Instruction (Non-PPE)   Quality System               Planning   2   Process Specification for JDE OneWorld Distribution       Released
             ,                                                                                                                                                                             Reports
PR-0000378   Ethicon Products,                        Process Specification for JDE OneWorld Enter and Process    Work Instruction (Non-PPE)   Quality System               Planning   2   Process Specification for JDE OneWorld Enter and          Released
             ,                                        JDE COACT Transfer Order                                                                                                             Process JDE COACT Transfer Order
PR-0000379   Ethicon Products,                        Process Specification for JDE OneWorld Enter and Process    Work Instruction (Non-PPE)   Quality System               Planning   2   Process Specification for JDE OneWorld Enter and          Released
             ,                                        QA to QA Transfer Order                                                                                                              Process QA to QA Transfer Order
PR-0000380   Ethicon Products,                        Process Specification for JDE OneWorld Work Order           Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Work Order         Released
             ,                                        Cancellation                                                                                                                         Cancellation
PR-0000381   Ethicon Products,                        Process Specification for JDE OneWorld Work Order Status    Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Work Order         Released
             ,                                        Update                                                                                                                               Status Update
PR-0000382   Ethicon Products,                        Process Specification for JDE OneWorld Unpick Unpack        Work Instruction (Non-PPE)   Quality System               Planning   2   Process Specification for JDE OneWorld Unpick Unpack      Released
             ,                                        Sales Orders                                                                                                                         Sales Orders
PR-0000382   Ethicon-Somerville-WW Quality System     Procedure for Work Instructions for QAU-GLP                 Procedure                                                            1
                                                      Responsibilities
PR-0000385                                            Franchise Procedure For Post Market Surveillance            Procedure (Non-PPE)                                                  5
PR-0000393   Ethicon Products,                        Process Specification for JDE OneWorld Transfer Orders      Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Transfer Orders Released
             ,
PR-0000525   Ethicon Products,                        Process Specification for JDE OneWorld Trace/Track Lots     Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Trace/Track        Released
             ,                                                                                                                                                                             Lots
PR-0000527   Ethicon Products,                        Process Specification for JDE OneWorld Shop Floor Control   Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Shop Floor         Released
             ,                                        Reports                                                                                                                              Control Reports
PR-0000528   Ethicon Products,                        Process Specification for JDE OneWorld Shop Floor Control   Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Shop Floor         Released
             ,                                        Inquiries                                                                                                                            Control Inquiries
PR-0000529   Ethicon Products,                        Process Specification for JDE OneWorld Sales Order          Work Instruction (Non-PPE)   Quality System               Planning   2   Process Specification for JDE OneWorld Sales Order        Released
             ,                                        Processing                                                                                                                           Processing
PR-0000530   Ethicon Products,                        Process Specification for JDE OneWorld Recommit Future      Work Instruction (Non-PPE)   Quality System               Planning   2   Process Specification for JDE OneWorld Recommit           Released
             ,                                        Orders                                                                                                                               Future Orders
PR-0000542   Ethicon Products,                        Process Specification for JDE OneWorld Reclassification     Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Reclassification   Released
             ,
PR-0000558   Ethicon Products,                        Process Specification for JDE OneWorld Receipt Routing      Work Instruction (Non-PPE)   Quality System               Planning   2   Process Specification for JDE OneWorld Receipt Routing Released
             ,
PR-0000564                                            Franchise Procedure for the Global Harms List               Procedure (Non-PPE)                                                  3
PR-0000587   Ethicon Products,                        Process Specification for JDE OneWorld Purchase Order       Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Purchase Order Released
             ,                                        Receipts                                                                                                                             Receipts
PR-0000593                                            FRANCHISE PROCEDURE FOR ANVISA                              Procedure (Non-PPE)                                                  1
                                                      TECHNOVIGILANCE REPORTING REQUIREMENTS
PR-0000608   Ethicon Products,                        Process Specification for JDE OneWorld Product Data         Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Product Data       Released
             ,                                        Management Inquiries                                                                                                                 Management Inquiries
PR-0000629   Ethicon Products,                        Process Specification for JDE OneWorld Product Data         Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Product Data       Released
             ,                                        Management Reports                                                                                                                   Management Reports
PR-0000639   Ethicon Products,                        Process Specification for JDE OneWorld Processing Credit    Work Instruction (Non-PPE)   Quality System               Planning   2   Process Specification for JDE OneWorld Processing         Released
             ,                                        Orders Manually                                                                                                                      Credit Orders Manually
PR-0000639   Ethicon-Somerville-Quality Systems and   Administation of Test Method Documents Controlled within    Procedure                                                            1
             Compliance                               the Somerville New Jersey Performance Evaluation Group
PR-0000646   Ethicon Products,                        Process Specification for JDE OneWorld Process VMI          Work Instruction (Non-PPE)   Quality System               Planning   2   Process Specification for JDE OneWorld Process VMI        Released
             ,                                        Transaction from PO to Ethicon Ownership                                                                                             Transaction from PO to Ethicon Ownership
PR-0000647   Ethicon Products,                        Process Specification for JDE OneWorld Physical Inventory   Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Physical           Released
             ,                                                                                                                                                                             Inventory
PR-0000649   Ethicon-Somerville-WW Quality System     FRANCHISE PROCEDURE FOR ADOBE ACROBAT                       Procedure                                                            1
                                                      DIGITAL SIGNATURE
PR-0000649   Ethicon-Somerville-WW Quality System     FRANCHISE PROCEDURE FOR ADOBE ACROBAT                       Procedure                                                            1
                                                      DIGITAL SIGNATURE
PR-0011356   Compliance                               Management Review (SOP 1-02)                                Procedure (Non-PPE)                                                  1
PR-0011359   Ethicon Products,                        Process Specification for JDE OneWorld Parts List and       Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Parts List and     Released
             ,                                        Routing Modificaiton                                                                                                                 Routing Modificaiton
PR-0011361   Ethicon Products,                        Process Specification for JDE OneWorld Lot Status Changes   Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Lot Status         Released
             ,                                                                                                                                                                             Changes
PR-0011362   Ethicon Products,                        Process Specification for JDE OneWorld Lot Number           Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Lot Number         Released
             ,                                        Assignment and Expiration Dating                                                                                                     Assignment and Expiration Dating
PR-0011363   Ethicon Products,                        Process Specification for JDE OneWorld Kanbans              Work Instruction (Non-PPE)   Quality System               Planning   2   Process Specification for JDE OneWorld Kanbans            Released
             ,
PR-0011364   Ethicon Products,                        Process Specification for JDE OneWorld Inventory Counting   Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Inventory          Released
             ,                                        Adjustments                                                                                                                          Counting Adjustments
PR-0011365   Ethicon Products,                        Process Specification for JDE OneWorld Inventory Transfer   Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Inventory          Released
             ,                                                                                                                                                                             Transfer
PR-0011367   Ethicon Products,                        Process Specification for JDE OneWorld Inventory            Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Inventory          Released
             ,                                        Management Reports                                                                                                                   Management Reports
PR-0011371   Ethicon Products,                        Process Specification for JDE OneWorld Inventory            Work Instruction (Non-PPE)   Quality System               Planning   3   Process Specification for JDE OneWorld Inventory          Released
             ,                                        Management Inquiries                                                                                                                 Management Inquiries




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PR-0011393   Ethicon Products,                            Process Specification for JDE OneWorld Inventory Issues -      Work Instruction (Non-PPE)   Quality System               Planning                              3    Process Specification for JDE OneWorld Inventory          Released
             ,                                            Sales/Marketing, R&amp;D, QA                                                                                                                                        Issues - Sales/Marketing, R&amp;D, QA
PR-0011395   Ethicon Products,                            Process Specification for JDE OneWorld Destruction of          Work Instruction (Non-PPE)   Quality System               Planning                              3    Process Specification for JDE OneWorld Destruction of     Released
             ,                                            Inventory                                                                                                                                                           Inventory
PR-0011410   Ethicon Products,                            Process Specification for JDE OneWorld Cycle Count             Work Instruction (Non-PPE)   Quality System               Planning                              3    Process Specification for JDE OneWorld Cycle Count        Released
             ,
PR-0011411   Ethicon Products,                            Process Specification for JDE OneWorld Consignment and         Work Instruction (Non-PPE)   Quality System               Planning                              3    Process Specification for JDE OneWorld Consignment        Released
             ,                                            Mixed Order Processing                                                                                                                                              and Mixed Order Processing
PR-0011417   Ethicon Products,                            Process Specification for Onsite paper and electronic record   Procedure (Non-PPE)          Quality System               Record Management                     16   Process Specification for Onsite paper and electronic     Released
             ,                                            cleanout.                                                                                                                                                           record cleanout.
PR-0011418   Ethicon Products,                            Process Specification for Tracking Corrections in CPAS         Work Instruction (Non-PPE)   Quality System               Corrective and Preventive Actions     9    Process Specification for Tracking Corrections in CPAS    Released
             ,
PR-0011421   Ethicon Products,                            Process Specification to Create/Delete/Modify Routes in MES Work Instruction (Non-PPE)      Quality System               Production                            2    Process Specification to Create/Delete/Modify Routes in   Released
             ,                                                                                                                                                                                                                MES
PR-0011423   Ethicon Products,                            Process Specification for Creation and Maintenance of Work     Work Instruction (Non-PPE)   Quality System               Production                            2    Process Specification for Creation and Maintenance of     Released
             ,                                            Centers in MES and JDE OneWorld                                                                                                                                     Work Centers in MES and JDE OneWorld
PR-0011424   Ethicon Products,                            Process Specification for Creation and Maintenance of          Work Instruction (Non-PPE)   Quality System               Production                            1    Process Specification for Creation and Maintenance of     Released
             ,                                            Standard Operations in MES and JDE OneWorld                                                                                                                         Standard Operations in MES and JDE OneWorld
PR-0011444   Ethicon Products,                            Export, Import and Merge of                                    Work Instruction (Non-PPE)   Quality System               Production                            3    Export, Import and Merge of                               Released
             ,                                            Datasweep Objects and Configuration Files                                                                                                                           Datasweep Objects and Configuration Files
                                                          in Datasweep Advantage Manufacturing Execution System                                                                                                               in Datasweep Advantage Manufacturing Execution
                                                                                                                                                                                                                              System
PR-0011448   Ethicon Products,                            Process Specification for JDE Event Build(s)                   Work Instruction (Non-PPE)   Quality System               Planning                              1    Process Specification for JDE Event Build(s)              Released
             ,
PR-0011449   Ethicon Products,                            Process Specifications for JDE One World Finished Goods   Work Instruction (Non-PPE)        Quality System               Planning                              1    Process Specifications for JDE One World Finished         Released
             ,                                            CTR / Lean Scheduling Tool                                                                                                                                          Goods CTR / Lean Scheduling Tool
PR-0011450   Ethicon Products,                            Process Specification for JDE OneWorld Raw Material       Work Instruction (Non-PPE)        Quality System               Planning                              1    Process Specification for JDE OneWorld Raw Material       Released
             ,                                            Schedule / Lean Scheduling Tool                                                                                                                                     Schedule / Lean Scheduling Tool
PR-0011451   Ethicon Products,                            Process Specifications for JDE OneWorld Purchased Items   Work Instruction (Non-PPE)        Quality System               Procurement                           1    Process Specifications for JDE OneWorld Purchased         Released
             ,                                            Schedule                                                                                                                                                            Items Schedule
PR-0011453   Ethicon Products,                            Process Specifications for JDE OneWorld Suggested         Work Instruction (Non-PPE)        Quality System               Planning                              2    Process Specifications for JDE OneWorld Suggested         Released
             ,                                            Quantity To Schedule                                                                                                                                                Quantity To Schedule
PR110-001    Ethicon Products,                            Process Specification for JDE OneWOrld Supply Planning    Work Instruction (Non-PPE)        Quality System               Planning                              1    Process Specification for JDE OneWOrld Supply             Released
             ,                                            Inquiries                                                                                                                                                           Planning Inquiries
PR120-005    Ethicon Products,                            Process Specifications for JDE OneWorld Supply Planning   Work Instruction (Non-PPE)        Quality System               Planning                              1    Process Specifications for JDE OneWorld Supply            Released
             ,                                            Reports                                                                                                                                                             Planning Reports
PR120-011    Ethicon Products,                            Process Specifications for JDE OneWorld Rhythm and Factor Work Instruction (Non-PPE)        Quality System               Planning                              1    Process Specifications for JDE OneWorld Rhythm and        Released
             ,                                            Maintenance                                                                                                                                                         Factor Maintenance
PR150-018    Ethicon Products,                            Work Instructions related to Creating/Maintaining Routes, Work Instruction (Non-PPE)        Quality System               Planning                              2    Work Instructions related to Creating/Maintaining Routes, Released
             ,                                            Work Centers, Standard Operations, and Shop Floor                                                                                                                   Work Centers, Standard Operations, and Shop Floor
                                                          Calendar                                                                                                                                                            Calendar
PR153-005    Ethicon Products,                            PROCESS SPECIFICATION FOR                                 Work Instruction (Non-PPE)        Quality System               Identification and Traceability       1    PROCESS SPECIFICATION FOR                                 Released
             ,                                            CREATING REPORT FROM JDE SYSTEM, FOR TRACKING                                                                                                                       CREATING REPORT FROM JDE SYSTEM, FOR
                                                          IQA QUANTITY RETURNED FROM MES SYSTEM.                                                                                                                              TRACKING IQA QUANTITY RETURNED FROM MES
                                                                                                                                                                                                                              SYSTEM.
PR157-012    Ethicon Products,                            Process Specification for Thunderbird Artwork System           Work Instruction (Non-PPE)   Quality System               Packaging and Labeling                3    Process Specification for Thunderbird Artwork System      Released
             ,
PR160-001    Ethicon Products,                            Process Specification for B/R Model 9300 High Purity Solvent Work Instruction (Non-PPE)     Quality System               Calibration and Measuring Equipment   2    Process Specification for B/R Model 9300 High Purity      Released
             ,                                            Recycling System with Microprocessor                                                                                                                                Solvent Recycling System with Microprocessor
PR161-001    Ethicon Products,                            Process Specification for samples to be submittied to        Work Instruction (Non-PPE)     Quality System               Design and Development                2    Process Specification for samples to be submittied to     Released
             ,                                            Preclinical Research for Testing.                                                                                                                                   Preclinical Research for Testing.
PR161-001    Ethicon-Somerville-WW Quality System         Work Instructions for Equipment and Process Control          Procedure                                                                                         24
                                                          Procedure
PR162-021    Ethicon Products,                            Process Specifications for the Inspection, Maintenance,      Work Instruction (Non-PPE)     Quality System               Calibration and Measuring Equipment   1    Process Specifications for the Inspection, Maintenance,   Released
             ,                                            Calibration, and Use of the Corning 440 pH Meter                                                                                                                    Calibration, and Use of the Corning 440 pH Meter

PR251-010    Ethicon Products,                           Process Specification for JD Edwards One World Change           Procedure (Non-PPE)          Quality System               All Quality System Processes          5    Process Specification for JD Edwards One World           Released
             ,                                           Management                                                                                                                                                           Change Management
PR304-008    Ethicon Products,                           Work Instructions for Updating the ETHICON Records              Work Instruction (Non-PPE)   Quality System               Record Management                     5    Work Instructions for Updating the ETHICON Records       Released
             ,                                           Coordinator/Department Head Contact List                                                                                                                             Coordinator/Department Head Contact List
PR354-001    Ethicon Products,                           Work Instructions - Manually Receive PO for PFG with            Work Instruction (Non-PPE)   Quality System               Planning                              2    Work Instructions - Manually Receive PO for PFG with     Released
             ,                                           Outside Processing                                                                                                                                                   Outside Processing
PR400-002    Ethicon Products,                           Process Specification for Operating the Automatic Suture        Work Instruction (Non-PPE)   Quality System               Design and Development                1    Process Specification for Operating the Automatic Suture Released
             ,                                           Diameter Measuring Instrument (ASDMI) in Corporate                                                                                                                   Diameter Measuring Instrument (ASDMI) in Corporate
                                                         Product Characterization.                                                                                                                                            Product Characterization.
PR401-001    Ethicon Products, J&amp;J Wound Management, Operating Procedure for Instron Mechanical Testers in           Work Instruction (Non-PPE)   Quality System               Design and Development                7    Operating Procedure for Instron Mechanical Testers in    Released
             Women's Health and Urology,                 Performance Evaluation R&amp;D.                                                                                                                                      Performance Evaluation R&amp;D.
             ,
PR405-001    Ethicon Products,                           Operating Procedure for the ARES Rheometer in Corporate         Work Instruction (Non-PPE)   Quality System               Design and Development                1    Operating Procedure for the ARES Rheometer in             Released
             ,                                           Product Characterization.                                                                                                                                            Corporate Product Characterization.




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PR450-003   Ethicon Products, J&amp;J Wound Management, Operating Procedure for Heidon Surface Analyzer 14DR in       Work Instruction (Non-PPE)   Quality System               Design and Development         1    Operating Procedure for Heidon Surface Analyzer 14DR    Released
            ,                                           Corporate Product Characterization.                                                                                                                         in Corporate Product Characterization.

PR503-004   Ethicon Products, J&amp;J Wound Management, Operating Procedure for OmniSprint Optical System in          Work Instruction (Non-PPE)   Quality System               Design and Development         1    Operating Procedure for OmniSprint Optical System in    Released
            ,                                           Corporate Product Characterization.                                                                                                                         Corporate Product Characterization.

PR504-003   Ethicon Products, J&amp;J Wound Management, Operating Procedure for Nikon Microscope in Corporate         Work Instruction (Non-PPE)   Quality System               Design and Development         1    Operating Procedure for Nikon Microscope in Corporate   Released
            ,                                           Product Characterization.                                                                                                                                   Product Characterization.

PR504-004   Ethicon Products, J&amp;J Wound Management, Operating Procedure for MTS Fatigue Tester in Corporate       Work Instruction (Non-PPE)   Quality System               Design and Development         1    Operating Procedure for MTS Fatigue Tester in           Released
            ,                                           Product Characterization.                                                                                                                                   Corporate Product Characterization.

PR504-005   Ethicon Products,                           Operating Procedure for X-Ray Diffractometer in Corporate     Work Instruction (Non-PPE)   Quality System               Design and Development         1    Operating Procedure for X-Ray Diffractometer in         Released
            ,                                           Product Characterization.                                                                                                                                   Corporate Product Characterization.
PR551-005   Ethicon Products, J&amp;J Wound Management, Clinical Development Vendor Database Guideline                Procedure (Non-PPE)          Quality System               Customer Service               1    Clinical Development Vendor Database Guideline          Released
            ,

PR557-003   Ethicon-Somerville-Quality Systems and      COMPANY PROCEDURE FOR THE COMPILATION OF A                    Procedure                                                                                6
            Compliance                                  DEVICE HISTORY RECORD
PR558-006   Ethicon Products,                           Process Steps for Archiving of Regulatory Affairs Vital       Procedure (Non-PPE)          Quality System               Record Management              2    Process Steps for Archiving of Regulatory Affairs Vital Released
            ,                                           Records-Paper &amp; Electronic                                                                                                                              Records-Paper &amp; Electronic
PR563-001   Ethicon Products, J&amp;J Wound Management, Clinical Development Risk Assessment Guideline for Non-       Procedure (Non-PPE)          Quality System               Risk Management                1    Clinical Development Risk Assessment Guideline for Non- Released
            ,                                           Validated Computer Programs, Software, and Application                                                                                                      Validated Computer Programs, Software, and Application

PR563-002   Ethicon Products, J&amp;J Wound Management, Global ETHICON Investigator Initiated Study (IIS) Review      Procedure (Non-PPE)          Quality System               All Quality System Processes   2    Global ETHICON Investigator Initiated Study (IIS) Review Released
            Women's Health and Urology,                 Process Guidance Document                                                                                                                                   Process Guidance Document
            ,
PR563-003   Ethicon Products, J&amp;J Wound Management, CLINICAL DEVELOPMENT WORK INSTRUCTIONS FOR                    Work Instruction (Non-PPE)   Quality System               All Quality System Processes   2    na                                                      Released
            Women's Health and Urology,                 THE CREATION AND USE OF STANDARD CRF MODULES
            ,
PR566-006   Ethicon Products, J&amp;J Wound Management, Clinical Development and Medical Affairs Work Instructions    Procedure (Non-PPE)          Quality System               All Quality System Processes   2    Clinical Development and Medical Affairs Work           Released
            Women's Health and Urology,                 for Handling Major Protocol Deviations                                                                                                                      Instructions for Handling Major Protocol Deviations
            ,
PR566-011   Ethicon Products, J&amp;J Wound Management, WORK INSTRUCTIONS FOR THE CREATION OF                         Work Instruction (Non-PPE)   Quality System               All Quality System Processes   2    na                                                      Released
            Women's Health and Urology,                 RANDOMIZATION ENVELOPES FOR CLINICAL STUDIES
            ,
PR566-011                                               Company Procedures for Decontamination of Product             Procedure (Non-PPE)                                                                      18
                                                        Complaint Samples
PR571-001   Ethicon Products, J&amp;J Wound Management, CLINICAL DEVELOPMENT WORK INSTRUCTIONS FOR                    Work Instruction (Non-PPE)   Quality System               All Quality System Processes   2    na                                                      Released
            Women's Health and Urology,                 VALIDATING EDIT CHECKS WITHIN ORACLE CLINICAL
            ,
PR572-002   Ethicon Products, J&amp;J Wound Management, CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                      Work Instruction (Non-PPE)   Quality System               All Quality System Processes   2    na                                                      Released
            Women's Health and Urology,                 GUIDELINE ON RECEIPT OF CLINICAL DATA
            ,
PR572-002   Ethicon-Somerville-WW Quality System        STATISTICAL TECHNIQUES PROCEDURE                              Procedure                                                                                9
PR574-001   Ethicon Products, J&amp;J Wound Management, CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                      Work Instruction (Non-PPE)   Quality System               All Quality System Processes   2    na                                                      Released
            Women's Health and Urology,                 GUIDELINE ON DISTRIBUTING UNVALIDATED DATA
            ,                                           LISTINGS
PR574-001   Ethicon-Somerville-Quality Systems and      PROCEDURE FOR PACKAGE DEVELOPMENT                             Procedure                                                                                11
            Compliance
PR575-003   Ethicon Products, J&amp;J Wound Management, ACCEPTANCE CRITERIA FOR ELECTRONICALLY                        Work Instruction (Non-PPE)   Quality System               All Quality System Processes   2    na                                                      Released
            Women's Health and Urology,                 TRANSMITTED NON-CRF CLINICAL DATA GUIDELINE
            ,
PR575-003   Ethicon-Somerville-WW Quality System        Company Procedure for CPAS Application Administration         Procedure                                                                                7
PR575-003   Ethicon-Somerville-WW Quality System        Company Procedure for CPAS Application Administration         Procedure                                                                                7
PR600-004   Ethicon Products, J&amp;J Wound Management, CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                      Work Instruction (Non-PPE)   Quality System               All Quality System Processes   2    na                                                      Released
            Women's Health and Urology,                 GUIDELINE ON STUDY ASSUMPTIONS
            ,
PR600-005   Ethicon Products, J&amp;J Wound Management, CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS WORK                 Work Instruction (Non-PPE)   Quality System               All Quality System Processes   2    na                                                      Released
            Women's Health and Urology,                 INSTRUCTIONS FOR SELF-EVIDENT CORRECTIONS
            ,
PR600-006   Ethicon Products, J&amp;J Wound Management, CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                      Procedure (Non-PPE)          Quality System               All Quality System Processes   2    na                                                      Released
            Women's Health and Urology,                 GUIDELINE ON REVIEW OF CLINICAL DATA
            ,
PR600-007   Ethicon-Somerville-WW Quality System        Work Instructions for Performing GLP QA Archiving             Procedure                                                                                3
PR600-011   Ethicon Products, J&amp;J Wound Management, Clinical Development Guideline for Utilizing the Laboratory   Procedure (Non-PPE)          Quality System               All Quality System Processes   2    na                                                      Released
            Women's Health and Urology,                 Normal Range System within ORACLE Clinical
            ,




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PR602-003                                                Franchise Procedure for Medical Device Risk Management          Procedure (Non-PPE)                                                                             20 (21)
                                                         Plan
PR602-005    Ethicon Products, J&amp;J Wound Management, Clinical Development and Medical Affairs Work Instruction for Work Instruction (Non-PPE)     Quality System               All Quality System Processes          2         na                                                        Released
             Women's Health and Urology,                 the Creation of the Data Definitions Document
             ,
PR652-007    Ethicon Products,                           Process Specification for the ETHICON Pilgrim Q&amp;MIS Work Instruction (Non-PPE)           Quality System               Calibration and Measuring Equipment   1         Process Specification for the ETHICON Pilgrim             Released
             ,                                           Calibration System Setup.                                                                                                                                                 Q&amp;MIS Calibration System Setup.
PR652-008    Ethicon Products,                           Operating Prodcedure for Purchasing Consignment Raw             Work Instruction (Non-PPE)   Quality System               Procurement                           1         Operating Prodcedure for Purchasing Consignment Raw       Released
             ,                                           materials and Reconciliation of Ethicon Owned Inventory at                                                                                                                materials and Reconciliation of Ethicon Owned Inventory
                                                         the Supplier using JDEdwards.                                                                                                                                             at the Supplier using JDEdwards.
PR652-009    Ethicon Products, J&amp;J Wound Management, WORK INSTRUCTIONS FOR                                           Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control        1         WORK INSTRUCTIONS FOR                                     Released
             Women's Health and Urology,                 User Maintenance Procedure for The Thunderbird Artwork                                                                                                                    User Maintenance Procedure for The Thunderbird
             ,                                           Generation System                                                                                                                                                         Artwork Generation System
PR800-015    Ethicon Products, J&amp;J Wound Management, GRAPHICS REQUEST MANAGEMENT SYSTEM                              Work Instruction (Non-PPE)   Quality System               Packaging and Labeling                5         GRAPHICS REQUEST MANAGEMENT SYSTEM                        Released
             Women's Health and Urology,
             ,
PR800-018    Ethicon Products,                           Process Specification for retrieving Sterility Release data for Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control        1         Process Specification for retrieving Sterility Release data Released
             ,                                           viewing post-retirement.                                                                                                                                                  for viewing post-retirement.

                                                         Note: Luis Blanco approving for San Angelo Quality                                                                                                                        Note: Luis Blanco approving for San Angelo Quality
PR800-022    Ethicon Products, J&amp;J Wound Management, Processing of Changes in ECCS by Change Analyst                Work Instruction (Non-PPE)    Quality System               Document Mgmt and Data Control        1         Processing of Changes in ECCS by Change Analyst           Released
             Women's Health and Urology,
             ,
PR800-023    Ethicon Products, J&amp;J Wound Management, Ethicon Work Instruction for Fault Tree Analysis               Procedure (Non-PPE)           Quality System               Corrective and Preventive Actions     1         Ethicon Work Instruction for Fault Tree Analysis          Released
             Women's Health and Urology,
             ,
PR800-026    Ethicon Products, J&amp;J Wound Management, Process Specification for Procurement Management Review        Procedure (Non-PPE)           Quality System               Management Responsibility             1         Process Specification for Procurement Management          Released
             Women's Health and Urology,                                                                                                                                                                                           Review
             ,
PR850-002    Ethicon Products, J&amp;J Wound Management, Process Specification for Somerville Site Training Procedure   Procedure (Non-PPE)           Quality System               Training                              2         Process Specification for Somerville Site Training        Released
             Women's Health and Urology,                                                                                                                                                                                           Procedure
             ,
PS-0000001   Ethicon Products, J&amp;J Wound Management, Process Specification for Ordering and Reviewing External      Procedure (Non-PPE)           Quality System               Document Mgmt and Data Control        3         na                                                        Released
             Women's Health and Urology,                 Standards and Directives
             ,
PS-0000001   Ethicon-Somerville-WW Quality System        Process Specification for the ETHICON Change Control           Procedure                                                                                        9
                                                         System Business Administration Process
PS-0000001   Ethicon-Somerville-WW Quality System        Process Specification for the ETHICON Change Control           Procedure                                                                                        9
                                                         System Business Administration Process
PS-0000002   Ethicon Products, J&amp;J Wound Management, Process Specification for Clinical Development Contractor      Procedure (Non-PPE)           Quality System               Training                              1         Process Specification for Clinical Development            Released
             Women's Health and Urology,                 Training Records at Kirkton Campus                                                                                                                                        Contractor Training Records at Kirkton Campus
             ,
PS-0000002   Ethicon-Somerville-WW Quality System        Process Specification for the Paper-Based Document             Procedure                                                                                        5
                                                         Management Process
PS-0000002   Ethicon-Somerville-WW Quality System        Process Specification for the Paper-Based Document             Procedure                                                                                        5
                                                         Management Process
PS-0000003   Ethicon Products,                           ETHICON Process Specification for the Centralization of        Procedure (Non-PPE)           Quality System               Record Management                     1         ETHICON Process Specification for the Centralization of   Released
             ,                                           Offsite Records Storage.                                                                                                                                                  Offsite Records Storage.
PS-0000004   Ethicon Products, J&amp;J Wound Management, 2nd Level Field Action Consignee List Process                  Procedure (Non-PPE)           Quality System               Internal and Third Party Audits       1         2nd Level Field Action Consignee List Process             Released
             Women's Health and Urology,
             ,
PS-0000005   Ethicon Products,                           ASSIGNMENT OF LOT NUMBERS AND CROSS-                           Procedure (Non-PPE)           Quality System               Identification and Traceability       135 (136) ASSIGNMENT OF LOT NUMBERS AND CROSS-     Released
             ,                                           REFERENCE INFORMATION                                                                                                                                                     REFERENCE INFORMATION
PS-0000006   Ethicon Products,                           ASSIGNMENT OF LOT NUMBERS FOR MONOMERS,                        Procedure (Non-PPE)           Quality System               Identification and Traceability       13        ASSIGNMENT OF LOT NUMBERS FOR MONOMERS, Released
             ,                                           POLYMERS, COPOLYMERS AND THEIR COMPONENTS                                                                                                                                 POLYMERS, COPOLYMERS AND THEIR
                                                                                                                                                                                                                                   COMPONENTS
PS-0000007   Ethicon Products,                               PROCESS SPECIFICATION FOR COMPUTER                         Work Instruction (Non-PPE)    Quality System               Identification and Traceability       15        PROCESS SPECIFICATION FOR COMPUTER       Released
             ,                                               ABBREVIATIONS FOR PRODUCT AND COMPONENTS                                                                                                                              ABBREVIATIONS FOR PRODUCT AND COMPONENTS

PS-0000051   Ethicon Products, J&amp;J Wound Management, PROCEDURE FOR PACKAGE PERFORMANCE TESTING   Procedure (Non-PPE)                              Quality System               Packaging and Labeling                7 (8)     PROCEDURE FOR PACKAGE PERFORMANCE                         Released
             Women's Health and Urology,                                                                                                                                                                                           TESTING
             ,
PS-0000077   Ethicon Products,                           WORK INSTRUCTIONS FOR PERFORMING BATCH/LOT  Work Instruction (Non-PPE)                       Quality System               Complaints, Vigilance, Recalls        9         WORK INSTRUCTIONS FOR PERFORMING                          Released
             ,                                           RECORD REVIEW RELATED TO PRODUCT COMPLAINTS                                                                                                                               BATCH/LOT RECORD REVIEW RELATED TO
                                                                                                                                                                                                                                   PRODUCT COMPLAINTS
PS-0000079   Ethicon Products,                               Quality Control Standards Agreement between Johnson and    Procedure (Non-PPE)           Quality System               Not Specified                         5         Quality Control Standards Agreement between Johnson       Released
             ,                                               Johnson K.K. and ETHICON, Inc.                                                                                                                                        and Johnson K.K. and ETHICON, Inc.




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PS-0000080   Ethicon Products,                             Quality Agreement between Ethicon, Inc. and Omrix         Procedure (Non-PPE)     Quality System               Not Specified   4       Quality Agreement between Ethicon, Inc. and Omrix         Released
             ,                                             Biopharmaceuticals Ltd. for Pre-Clinical Phase of the                                                                                  Biopharmaceuticals Ltd. for Pre-Clinical Phase of the
                                                           Hercules Project                                                                                                                       Hercules Project
PS-0000081   Ethicon Products,                             Ethicon and Baird Industries Quality Agreement              Procedure (Non-PPE)   Quality System               Not Specified   1       Ethicon and Baird Industries Quality Agreement            Released
             ,
PS-0000083   Ethicon Products,                           Ethicon and Mangar Industries Quality Agreement               Procedure (Non-PPE)   Quality System               Not Specified   3       Ethicon and Mangar Industries Quality Agreement           Released
             ,
PS-0000085   Women's Health and Urology,                 Ethicon and Accellent Quality Agreement                       Procedure (Non-PPE)   Quality System               Not Specified   4       Ethicon and Accellent Quality Agreement                   Released
             ,
PS-0000086   Ethicon Products,                           Ethicon &amp; ConMed Corp Quality Agreement                   Procedure (Non-PPE)   Quality System               Not Specified   3       Ethicon &amp; ConMed Corp Quality Agreement               Released
             ,
PS-0000087   Ethicon Products,                           Ethicon &amp; Innovative Surgical Products, Inc. (ISP)Quality Procedure (Non-PPE)   Quality System               Not Specified   1       Ethicon &amp; Innovative Surgical Products, Inc.          Released
             ,                                           Agreement                                                                                                                                (ISP)Quality Agreement
PS-0000088   Ethicon Products,                           Ethicon and J.&amp; J. K.K . Japan Service Quality            Procedure (Non-PPE)   Quality System               Not Specified   1       Ethicon and J.&amp; J. K.K . Japan Service Quality        Released
             ,                                           Agreement                                                                                                                                Agreement
PS-0000089   Ethicon Products,                           Ethicon &amp; J-Pac, LLC Quality Agreement                    Procedure (Non-PPE)   Quality System               Not Specified   2       Ethicon &amp; J-Pac, LLC Quality Agreement                Released
             ,
PS-0000090   Ethicon Products,                           Ethicon &amp; Sharp Quality Agreement                         Procedure (Non-PPE)   Quality System               Not Specified   2       Ethicon &amp; Sharp Quality Agreement                     Released
             ,
PS-0000091   Ethicon Products,                           Ethicon &amp; Avail- Dallas Facility Quality Agreement        Procedure (Non-PPE)   Quality System               Not Specified   1       Ethicon &amp; Avail- Dallas Facility Quality Agreement    Released
             ,
PS-0000092   Ethicon Products,                           Ethicon and Avail Medical Products (San Diego &amp;           Procedure (Non-PPE)   Quality System               Not Specified   1 (2)   Ethicon and Avail Medical Products (San Diego &amp;       Released
             ,                                           Tijuana) Quality Agreement                                                                                                               Tijuana) Quality Agreement
PS-0000094   Ethicon Products,                           Ethicon and Ethicon Endo Surgery (EES) Customer Support Procedure (Non-PPE)         Quality System               Not Specified   1       Ethicon and Ethicon Endo Surgery (EES) Customer           Released
             ,                                           Center Quality Agreement                                                                                                                 Support Center Quality Agreement
PS-0000095   Ethicon Products,                           Ethicon and Ethicon Endo Surgery (EES) Albuquerque            Procedure (Non-PPE)   Quality System               Not Specified   1 (2)   Ethicon and Ethicon Endo Surgery (EES) Albuquerque        Released
             ,                                           Sterilization Facility Quality Agreement                                                                                                 Sterilization Facility Quality Agreement
PS-0000096   Ethicon Products,                           Ethicon and Steris Isomedix Various Sites Sterilization       Procedure (Non-PPE)   Quality System               Not Specified   5       Ethicon and Steris Isomedix Various Sites Sterilization   Released
             ,                                           Facilities Quality Agreement                                                                                                             Facilities Quality Agreement
PS-0000097   Women's Health and Urology,                 Ethicon, Contura and Ferrosan Quality Agreement               Procedure (Non-PPE)   Quality System               Not Specified   1       Ethicon, Contura and Ferrosan Quality Agreement           Released
             ,
PS-0000098   Women's Health and Urology,                 Ethicon, Gyrus Medical Cardiff and Gyrus ACMI Saltillo        Procedure (Non-PPE)   Quality System               Not Specified   2       Ethicon, Gyrus Medical Cardiff and Gyrus ACMI Saltillo    Released
             ,                                           Quality Agreement                                                                                                                        Quality Agreement
PS-0000099   Women's Health and Urology,                 Ethicon and HEI, INc. Quality Agreement                       Procedure (Non-PPE)   Quality System               Not Specified   1       Ethicon and HEI, INc. Quality Agreement                   Released
             ,
PS-0000100   Women's Health and Urology,                 Ethicon and HEI Inc Service Center Quality Agreement          Procedure (Non-PPE)   Quality System               Not Specified   2       Ethicon and HEI Inc Service Center Quality Agreement      Released
             ,
PS-0000101   Women's Health and Urology,                 Ethicon and J &amp; J Medical GmbH Quality Agreement          Procedure (Non-PPE)   Quality System               Not Specified   1       Ethicon and J &amp; J Medical GmbH Quality Agreement Released
             ,
PS-0000102   Women's Health and Urology,                 Ethicon and J &amp; J Medical Canada Quality Agreement        Procedure (Non-PPE)   Quality System               Not Specified   1       Ethicon and J &amp; J Medical Canada Quality              Released
             ,                                                                                                                                                                                    Agreement
PS-0000103   Women's Health and Urology,                 Ethicon and J &amp; J Medical South Africa Quality            Procedure (Non-PPE)   Quality System               Not Specified   1       Ethicon and J &amp; J Medical South Africa Quality        Released
             ,                                           Agreement                                                                                                                                Agreement
PS-0000104   Women's Health and Urology,                 Ethicon and J &amp; J PROF Middle East Quality Agreement Procedure (Non-PPE)        Quality System               Not Specified   1       Ethicon and J &amp; J PROF Middle East Quality            Released
             ,                                                                                                                                                                                    Agreement
PS-0000105   Women's Health and Urology,                 Ethicon and Medifix PTY LTD Quality Agreement                 Procedure (Non-PPE)   Quality System               Not Specified   1       Ethicon and Medifix PTY LTD Quality Agreement             Released
             ,
PS-0000106   Women's Health and Urology,                 Ethicon and MedTech Group Inc. Quality Agreement              Procedure (Non-PPE)   Quality System               Not Specified   2       Ethicon and MedTech Group Inc. Quality Agreement          Released
             ,
PS-0000107   Women's Health and Urology,                 Ethicon and Sterigenics Anse, France Sterilization Facility   Procedure (Non-PPE)   Quality System               Not Specified   2       Ethicon and Sterigenics Anse, France Sterilization        Released
             ,                                           Quality Agreement                                                                                                                        Facility Quality Agreement
PS-0000108   Women's Health and Urology,                 Ethicon and Phillips Plastics Corp. Quality Agreement         Procedure (Non-PPE)   Quality System               Not Specified   2       Ethicon and Phillips Plastics Corp. Quality Agreement     Released
             ,
PS-0000109   Women's Health and Urology,                 Ethicon &amp; GIMMI GmbH Quality Agreement                    Procedure (Non-PPE)   Quality System               Not Specified   2       Ethicon &amp; GIMMI GmbH Quality Agreement                Released
             ,
PS-0000110   Ethicon Products,                           Quality Agreement between Acclarent and Ethicon Inc.          Procedure (Non-PPE)   Quality System               Not Specified   1       Quality Agreement between Acclarent and Ethicon Inc.      Released
             ,
PS-0000111   Ethicon Products,                           Quality Agreement between Mentor WW LLC &amp; Ethicon Procedure (Non-PPE)           Quality System               Not Specified   3       Quality Agreement between Mentor WW LLC &amp;             Released
             ,                                           Inc                                                                                                                                      Ethicon Inc
PS-0000112   Ethicon Products, J&amp;J Wound Management, Quality Agreement between Ethicon and Noramco.                Procedure (Non-PPE)   Quality System               Not Specified   1       Quality Agreement between Ethicon and Noramco.            Released
             ,

PS-0000113   Women's Health and Urology,                 Ethicon and Contura International A/S Quality Agreement     Procedure (Non-PPE)     Quality System               Not Specified   1       Ethicon and Contura International A/S Quality Agreement Released
             ,
PS-0000114   Ethicon Products,                           Keller Medical Quality Agreement for the Keller Funnel.     Procedure (Non-PPE)     Quality System               Not Specified   1       Keller Medical Quality Agreement for the Keller Funnel.   Released
             ,
PS-0000117   Ethicon Products, J&amp;J Wound Management, Quality Agreement for Nelson Labs                           Procedure (Non-PPE)     Quality System               Not Specified   1       Quality Agreement for Nelson Labs                         Released
             Women's Health and Urology,
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PS-0000117   Ethicon-Somerville-WW Quality System           Process Specification for Onsite paper and electronic record   Procedure                                                                                     16
                                                            cleanout.
PS-0000117   Ethicon-Somerville-WW Quality System           Process Specification for Onsite paper and electronic record   Procedure                                                                                     16
                                                            cleanout.
PS-0000131   Ethicon Products,                              ATEK Medical (Costa Rica)                                      Procedure (Non-PPE)          Quality System               Not Specified                       3 (4)   ATEK Medical (Costa Rica)                               Released
             ,
PS-0000164   Ethicon Products,                           STERIGENICS Quality Agreement                                     Procedure (Non-PPE)          Quality System               Not Specified                       1 (2)   STERIGENICS Quality Agreement                           Released
             ,
PS-0000167   Women's Health and Urology,                 New quality agreement between Ethicon and Xion GmbH               Procedure (Non-PPE)          Quality System               Not Specified                       1       New quality agreement between Ethicon and Xion GmbH Released
             ,
PS-0000169   Ethicon Products, J&amp;J Wound Management, Quality Agreement Between Ethicon Inc and Johnson and             Procedure (Non-PPE)          Quality System               Not Specified                       2       Quality Agreement Between Ethicon Inc and Johnson       Released
             Women's Health and Urology,                 Johnson Medical Korea.                                                                                                                                                  and Johnson Medical Korea.
             ,
PS-0000193   Ethicon Products,                           Quality Agreement between Ethicon and Angiotech                   Procedure (Non-PPE)          Quality System               Not Specified                       3       Quality Agreement between Ethicon and Angiotech         Released
             ,
PS-0000209   Women's Health and Urology,                 Quality Agreement between Ethicon Inc. and Plexus.                Procedure (Non-PPE)          Quality System               Not Specified                       1       Quality Agreement between Ethicon Inc. and Plexus.      Released
             ,
PS-0000210   Ethicon Products, J&amp;J Wound Management, Quality Agreement Between Ethicon, Inc. a Johnson and             Procedure (Non-PPE)          Quality System               Document Mgmt and Data Control      2       na                                                      Released
             Women's Health and Urology,                 Johnson Company, And Johnson and Johnson Medical
             ,                                           (Shanghai) Ltd
PS-0000211   Ethicon Products,                           Quality Agreement Between Ethicon.INC a Johnson and               Procedure (Non-PPE)          Quality System               Not Specified                       1       Quality Agreement Between Ethicon.INC a Johnson and     Released
             ,                                           Johnson Company and Johnson and Johnson (Hong Kong)                                                                                                                     Johnson Company and Johnson and Johnson (Hong
                                                         Limited.                                                                                                                                                                Kong) Limited.
PS-0000212   Ethicon Products,                           Quality Agreement Ethicon and JJMedical Canada - CMDR             Procedure (Non-PPE)          Quality System               Not Specified                       1       Quality Agreement Ethicon and JJMedical Canada -        Released
             ,                                                                                                                                                                                                                   CMDR
PS-0000489                                               Clinical Development Risk Assessment Guideline for Non-           Procedure (Non-PPE)                                                                           1
                                                         Validated Computer Programs, Software, and Application
PS-0001047   Ethicon-Somerville-WW Quality System        Process Specification for Somerville Site Training Procedure      Procedure                                                                                     2

PS-0001047   Ethicon-Somerville-WW Quality-Post Market      Process Specification for Somerville Site Training Procedure   Procedure                                                                                     2
             Surveillance
PS-0001086   Ethicon-Somerville-WW Quality System           Process Specification for Ordering and Reviewing External      Procedure                                                                                     2
                                                            Standards and Directives
PS-0001086   Ethicon-Somerville-WW Quality System           Process Specification for Ordering and Reviewing External      Procedure                                                                                     2
                                                            Standards and Directives
PS-0001207   Ethicon-Somerville-WW Quality System           ETHICON Process Specification for the Centralization of        Procedure                                                                                     1
                                                            Offsite Records Storage.
PS-0001207   Ethicon-Somerville-WW Quality System           ETHICON Process Specification for the Centralization of        Procedure                                                                                     1
                                                            Offsite Records Storage.
PS254-019    Ethicon-Somerville-Quality Systems and         Process Safety Mangement Incident Investigation                Procedure                                                                                     8
             Compliance
PS607-002    Ethicon-Somerville-Quality Systems and         PROCEDURE FOR PACKAGE PERFORMANCE TESTING                      Procedure                                                                                     7
             Compliance
PT-0012105   Ethicon-Somerville-Quality Systems and      Permanent Transfer of Records Located at ETHICON, Inc.            Protocol                                                                                      3
             Compliance                                  Raleigh, NC for Permanent Custodial Ownership
PT-0012105   Ethicon-Somerville-WW Quality-NPI/LCM       Permanent Transfer of Records Located at ETHICON, Inc.            Protocol                                                                                      3
                                                         Raleigh, NC for Permanent Custodial Ownership
QA-0000010   Ethicon Products, J&amp;J Wound Management, Pilgrim Audit Survey Training Materials                           Work Instruction (Non-PPE)   Quality System               Training                            1       Pilgrim Audit Survey Training Materials                 Released
             ,

QA-0000011   Ethicon Products,                           User Manual for the Corrective Preventive Action System           Work Instruction (Non-PPE)   Quality System               Corrective and Preventive Actions   1       User Manual for the Corrective Preventive Action System Released
             ,                                           (CPAS)                                                                                                                                                                  (CPAS)
QA-0000012   Ethicon Products, J&amp;J Wound Management, User Manual for the Product Recall Application v4                 Work Instruction (Non-PPE)   Quality System               Risk Management                     1       User Manual for the Product Recall Application v4       Released
             ,

QA-0000013   Ethicon Products,                           Print Operator User Manual for Thunderbird Artwork                Work Instruction (Non-PPE)   Quality System               Packaging and Labeling              4       Print Operator User Manual for Thunderbird Artwork      Released
             ,                                           Generation System                                                                                                                                                       Generation System
QA-0000014   Ethicon Products,                           Print Supervisor Manual for Thunderbird Artwork Generation        Work Instruction (Non-PPE)   Quality System               Packaging and Labeling              1       Print Supervisor Manual for Thunderbird Artwork         Released
             ,                                           System                                                                                                                                                                  Generation System
QA-0000015   Ethicon Products,                           Product Graphics User Manual the Thunderbird Artwork              Work Instruction (Non-PPE)   Quality System               Packaging and Labeling              2       Product Graphics User Manual the Thunderbird Artwork    Released
             ,                                           Generation System                                                                                                                                                       Generation System
QA-0000016   Ethicon Products,                           QA Operator User Manual for Thunderbird Artwork                   Work Instruction (Non-PPE)   Quality System               Packaging and Labeling              3       QA Operator User Manual for Thunderbird Artwork         Released
             ,                                           Generation System                                                                                                                                                       Generation System
QA-0000017   Ethicon Products,                           Viewer Manual for the Thunderbird Artwork Generation              Work Instruction (Non-PPE)   Quality System               Packaging and Labeling              2       Viewer Manual for the Thunderbird Artwork Generation    Released
             ,                                           System                                                                                                                                                                  System
QA-0000020   Ethicon Products,                           Business Administrator Manual for the Corrective and              Work Instruction (Non-PPE)   Quality System               Corrective and Preventive Actions   4       Business Administrator Manual for the Corrective and    Released
             ,                                           Preventive Action System                                                                                                                                                Preventive Action System
QA-0000021   Ethicon Products, J&amp;J Wound Management, User Manual for System Administrator Exception Report             Work Instruction (Non-PPE)   Quality System               Document Mgmt and Data Control      1       User Manual for System Administrator Exception Report   Released
             Women's Health and Urology,                 Handling for QuID 2                                                                                                                                                     Handling for QuID 2
             ,




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QA-0000022   Ethicon Products, J&amp;J Wound Management, Users Manual for Measurement of Alanine Dosimeters with      Work Instruction (Non-PPE)   Quality System               Sterilization and Microbiology   2         Users Manual for Measurement of Alanine Dosimeters    Released
             Women's Health and Urology,                 the                                                                                                                                                               with the
             ,                                           BRUKER BIOSPIN e-scanTM EPR (Electron Paramagnetic                                                                                                                BRUKER BIOSPIN e-scanTM EPR (Electron
                                                         Resonance) Spectrometer                                                                                                                                           Paramagnetic Resonance) Spectrometer
QA-0000024   Ethicon Products, J&amp;J Wound Management, Users Manual for Calibration of the BRUKER BIOSPIN e-        Work Instruction (Non-PPE)   Quality System               Sterilization and Microbiology   2         Users Manual for Calibration of the BRUKER BIOSPIN e- Released
             Women's Health and Urology,                 scanTM Alanine Dosimetry System                                                                                                                                   scanTM Alanine Dosimetry System
             ,
QA-0000026   Ethicon Products,                           Work Instruction for Ethicon ABC Classification &amp;        Work Instruction (Non-PPE)   Quality System               Procurement                      4         na                                                      Released
             ,                                           Strategic Flag
QA-0000028   Ethicon Products,                           Segment Flag Renewal                                         Work Instruction (Non-PPE)   Quality System               Procurement                      5         na                                                      Released
             ,
100042078    Ethicon-Somerville-Regulatory Affairs       Qualification Protocol for Heightened Inspection of Bone Wax Protocol                                                                                   1

100042079    Ethicon-Somerville-Regulatory Affairs          Protocol to Evaluate Foil Packaging Change of US Bone Wax Protocol                                                                                   1
                                                            Product Codes
100044026    Ethicon-Norderstedt-Regulatory Affairs and     Smvl QA IQC Inspection Protocol BV130-5 Bihler OQ         Protocol                                                                                   1
             Compliance
100047216    Ethicon-Somerville-Regulatory Affairs          Protocol to establish manual ECNT requirements for BV175   Protocol                                                                                  1

100060502    Ethicon-Somerville-Regulatory Affairs       Smvl QA IQC Inspection Protocol BV130-5 Bihler PQ               Protocol                                                                                1
100065102    Ethicon-Somerville-Regulatory Affairs       Build Protocol for Bone Wax manufactured at Sharp and           Protocol                                                                                1
                                                         Inspected at Somerville RMQA
100081072    Ethicon-Somerville-Regulatory Affairs       eDHF Transition to ADAPTIV Protocol - Mentor                    Protocol                                                                                1
100083984    Ethicon-Somerville-Regulatory Affairs       Protocol for Site to Site Reproducibility Assessment of In-Vivo Protocol                                                                                1
                                                         Testing in Pre-Clinical Lab, Germany
100085519    Ethicon Products, J&amp;J Wound Management, OPERATING PROCEDURE FOR 510 (k) PREMARKET                       Procedure (Non-PPE)       Quality System               Design and Development           4         OPERATING PROCEDURE FOR 510 (k) PREMARKET               Released
             Women's Health and Urology,                 NOTIFICATION                                                                                                                                                      NOTIFICATION
             ,
100086696    Ethicon Products, J&amp;J Wound Management, OPERATING PROCEDURE FOR PREMARKET APPROVAL Procedure (Non-PPE)                            Quality System               Design and Development           3         OPERATING PROCEDURE FOR PREMARKET                       Released
             Women's Health and Urology,                 APPLICATION PROCEDURE FOR MEDICAL DEVICES                                                                                                                         APPROVAL APPLICATION PROCEDURE FOR
             ,                                                                                                                                                                                                             MEDICAL DEVICES
DDWG-        Ethicon Products, J&amp;J Wound Management, Procedure for the Preparation of Technical Files and Design Procedure (Non-PPE)           Quality System               Design and Development           19 (20)   na                                                      Released
0000101      Women's Health and Urology,                 Dossiers
             ,
OP608-007                                                OPERATING PROCEDURE FOR 510 (k) PREMARKET                       Procedure (Non-PPE)                                                                     4
                                                         NOTIFICATION
OP608-011    Not Specified                               Procedure for the Preparation of Technical Files and Design Procedure (Non-PPE)                                                                         19 (20)
                                                         Dossiers
OP608-016    Complaints, Vigilance, Recalls              Procedure for A Global Regulatory Strategy                      Procedure (Non-PPE)                                                                     15
PR-0000215   Ethicon Products,                           Work Instructions for Export of U.S. FDA Approved and Non Procedure (Non-PPE)             Quality System               Compliance                       2         Work Instructions for Export of U.S. FDA Approved and   Released
             ,                                           Approved Medical Devices                                                                                                                                          Non Approved Medical Devices
PR-0000222   Complaints, Vigilance, Recalls              Procedure for documentation for Japan PAL                       Procedure (Non-PPE)                                                                     2
PR-0000277   Complaints, Vigilance, Recalls              Franchise Procedure for Evaluation of Clinical Data for CE-     Procedure (Non-PPE)                                                                     5
                                                         Marking
PR-0000527   Ethicon-Norderstedt-Regulatory Affairs and  Company Procedure for Product End of Life Management            Procedure                                                                               1
             Compliance
PR-0000592   Complaints, Vigilance, Recalls              Franchise Procedure for a Global Regulatory Strategy            Procedure (Non-PPE)                                                                     3
PR-0000592                                               Franchise Procedure for a Global Regulatory Strategy            Procedure (Non-PPE)                                                                     3
PR-0011357   Complaints, Vigilance, Recalls              Eskalation bei Qualitäts- und regulatorischen Problemen         Procedure (Non-PPE)                                                                     1
                                                         (SOP 1-03)
PR-0011358   Complaints, Vigilance, Recalls              Durchführung sicherheitsrelevanter korrektiver Massnahmen Procedure (Non-PPE)                                                                           1
                                                         im Markt / FSCA (SOP 3-02)
PR-0011368                                               Regulatory Impact Assessment Process in the ADAPTIV             Procedure (Non-PPE)                                                                     1
                                                         System
PR555-007    Ethicon-Norderstedt-Regulatory Affairs and  Guidelines for Applying Reliability methods during Product      Procedure                                                                               1
             Compliance                                  Development
PR563-002    Ethicon-Norderstedt-Regulatory Affairs and  Company Procedure for the Control of Nonsaleable,               Procedure                                                                               9
             Compliance                                  Developmental Products and Materials Which Are Not
                                                         Intended For Human or Animal Use
PR572-001    Ethicon-Norderstedt-Regulatory Affairs and  DESCRIPTIVE STATISTICS FOR ATTRIBUTE SAMPLING                   Procedure                                                                               9
             Compliance                                  PLANS
PR800-002    Ethicon-Norderstedt-Regulatory Affairs and  Company Procedure for Test Method Validation                    Procedure                                                                               12
             Compliance
PS-0000538   Ethicon Products,                           Bone Wax Regulatory Supplement R                                PPE Record                Regulatory Supplement        na                               2         Bone Wax Regulatory Supplement R                        Released
             ,
PS-0000559   Ethicon Products,                           ENDOKNOT PDSII Regulatory Supplement_AF                         PPE Record                Regulatory Supplement        na                               1         ENDOKNOT PDSII Regulatory Supplement_AF                 Released
             ,
PS-0000559   Ethicon Products,                           ENDOKNOT VICRYL Regulatory Supplement AD                        PPE Record                Regulatory Supplement        na                               1         ENDOKNOT VICRYL Regulatory Supplement AD                Released
             ,




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PS-0000572   Ethicon Products,                            ENDOLOOP PDS II Regulatory Supplement AG                  PPE Record   Regulatory Supplement        na   2   ENDOLOOP PDS II Regulatory Supplement AG              Released
             ,
PS-0000572   Ethicon Products,                            ENDOLOOP VICRYL Regulatory Supplement AE                  PPE Record   Regulatory Supplement        na   1   ENDOLOOP VICRYL Regulatory Supplement AE              Released
             ,
PS-0000607   Ethicon Products,                            ENDOPOUCH Specimen Retrieval Bag Regulatory               PPE Record   Regulatory Supplement        na   1   ENDOPOUCH Specimen Retrieval Bag Regulatory           Released
             ,                                            Supplement AI                                                                                                Supplement AI
PS-0000607   Ethicon Products,                            E-PACK Regulatory Supplement J                            PPE Record   Regulatory Supplement        na   3   E-PACK Regulatory Supplement J                        Released
             ,
PS-0000620   Ethicon Products,                            ETHIBOND Regulatory Supplement F                          PPE Record   Regulatory Supplement        na   3   ETHIBOND Regulatory Supplement F                      Released
             ,
PS-0000620   Ethicon Products,                            ETHILON Regulatory Supplement E                           PPE Record   Regulatory Supplement        na   3   ETHILON Regulatory Supplement E                       Released
             ,
PS-0000652   Ethicon Products,                            ETHIPACK Stainless Steel _ Non-Sterile Regulatory         PPE Record   Regulatory Supplement        na   2   ETHIPACK Stainless Steel _ Non-Sterile Regulatory     Released
             ,                                            Supplement U                                                                                                 Supplement U
PS-0000662   Ethicon Products,                            INTERCEED_TC-7_ Absorbable Adhesion Barrier Regulatory    PPE Record   Regulatory Supplement        na   2   INTERCEED_TC-7_ Absorbable Adhesion Barrier           Released
             ,                                            Supplement AL                                                                                                Regulatory Supplement AL
PS-0000668   Ethicon Products,                            J-VAC Closed Wound Drainage System Regulatory             PPE Record   Regulatory Supplement        na   1   J-VAC Closed Wound Drainage System Regulatory         Released
             ,                                            Supplement AK-1 J-VAC Reservoirs                                                                             Supplement AK-1 J-VAC Reservoirs
PS-0000672   Ethicon Products,                            J-VAC Closed Wound Drainage System Regulatory             PPE Record   Regulatory Supplement        na   2   J-VAC Closed Wound Drainage System Regulatory         Released
             ,                                            Supplement AK-2 J-VAC Bulb Reservoirs                                                                        Supplement AK-2 J-VAC Bulb Reservoirs
PS-0000672   Ethicon Products,                            J-VAC Closed Wound Drainage System Regulatory             PPE Record   Regulatory Supplement        na   2   J-VAC Closed Wound Drainage System Regulatory         Released
             ,                                            Supplement AK-3 J-VAC Drain Adapters                                                                         Supplement AK-3 J-VAC Drain Adapters
PS-0000673   Ethicon Products,                            J-VAC Closed Wound Drainage System Regulatory             PPE Record   Regulatory Supplement        na   2   J-VAC Closed Wound Drainage System Regulatory         Released
             ,                                            Supplement AK-4, Blake Silicone Drains, Round Blake                                                          Supplement AK-4, Blake Silicone Drains, Round Blake
                                                          Hubless Silicone Drains                                                                                      Hubless Silicone Drains
PS-0000673   Ethicon Products,                            LAPRATY Suture Clip Regulatory Supplement AC              PPE Record   Regulatory Supplement        na   1   LAPRATY Suture Clip Regulatory Supplement AC          Released
             ,
PS-0000697   Ethicon Products,                            MERSILENE Regulatory Supplement N                         PPE Record   Regulatory Supplement        na   3   MERSILENE Regulatory Supplement N                     Released
             ,
PS-0000712   Ethicon Products,                            MERSILENE Tape Regulatory Supplement Q                    PPE Record   Regulatory Supplement        na   1   MERSILENE Tape Regulatory Supplement Q                Released
             ,
PS-0000823   Ethicon Products,                            MONOCRYL Regulatory Supplement H                          PPE Record   Regulatory Supplement        na   3   MONOCRYL Regulatory Supplement H                      Released
             ,
PS-0000899   Ethicon Products,                            NUROLON Regulatory Supplement I                           PPE Record   Regulatory Supplement        na   3   NUROLON Regulatory Supplement I                       Released
             ,
PS-0000929   Ethicon Products,                            PDS Regulatory Supplement B                               PPE Record   Regulatory Supplement        na   3   PDS Regulatory Supplement B                           Released
             ,
PS-0000929   Ethicon-Norderstedt-Regulatory Affairs and   Ethicon Work Instruction for Fault Tree Analysis          Procedure                                      1
             Compliance
PS-0000954   Ethicon Products,                            PROLENE Mesh Regulatory Supplement M-1, PROLENE           PPE Record   Regulatory Supplement        na   3   PROLENE Mesh Regulatory Supplement M-1, PROLENE Released
             ,                                            Mesh and Soft PROLENE Mesh                                                                                   Mesh and Soft PROLENE Mesh
PS-0001034   Ethicon Products,                            PROLENE Mesh Regulatory Supplement M-2, PROLENE           PPE Record   Regulatory Supplement        na   3   PROLENE Mesh Regulatory Supplement M-2, PROLENE Released
             ,                                            Hernia System                                                                                                Hernia System
PS-0001034   Ethicon Products,                            PROLENE Mesh Regulatory Supplement M-3, 3DP               PPE Record   Regulatory Supplement        na   3   PROLENE Mesh Regulatory Supplement M-3, 3DP     Released
             ,
PS-0001047   Ethicon Products,                            PROLENE Regulatory Supplement C                           PPE Record   Regulatory Supplement        na   3   PROLENE Regulatory Supplement C                       Released
             ,
PS-0001053   Ethicon Products,                            PRONOVA Regulatory Supplement G                           PPE Record   Regulatory Supplement        na   2   PRONOVA Regulatory Supplement G                       Released
             ,
PS-0001053   Ethicon Products,                            PROXI-STRIP Regulatory Supplement S                       PPE Record   Regulatory Supplement        na   2   PROXI-STRIP Regulatory Supplement S                   Released
             ,
PS-0001086   Ethicon Products,                            Siliconized Silk Regulatory Supplement T                  PPE Record   Regulatory Supplement        na   1   Siliconized Silk Regulatory Supplement T              Released
             ,
PS-0001174   Ethicon Products,                            Silk Regulatory Supplement D                              PPE Record   Regulatory Supplement        na   3   Silk Regulatory Supplement D                          Released
             ,
PS-0001174   Ethicon Products,                            Surgical Steel _Sterile_ Regulatory Supplement K          PPE Record   Regulatory Supplement        na   2   Surgical Steel _Sterile_ Regulatory Supplement K      Released
             ,
PS-0001207   Ethicon Products,                            Temporary Cardiac Pacing Wire_TcPW_ Regulatory            PPE Record   Regulatory Supplement        na   1   Temporary Cardiac Pacing Wire_TcPW_ Regulatory        Released
             ,                                            Supplement O                                                                                                 Supplement O
PS-0001209   Ethicon Products,                            VICRYL Mesh Regulatory Supplement L                       PPE Record   Regulatory Supplement        na   2   VICRYL Mesh Regulatory Supplement L                   Released
             ,
PS606-001    Ethicon Products,                            VICRYL Regulatory Supplement A                            PPE Record   Regulatory Supplement        na   3   VICRYL Regulatory Supplement A                        Released
             ,
PS606-002    Ethicon Products,                            X-TRACT Tissue Morcellator Hand Piece Regulatory          PPE Record   Regulatory Supplement        na   1   X-TRACT Tissue Morcellator Hand Piece Regulatory      Released
             ,                                            Supplement AA                                                                                                Supplement AA
PS606-020    Ethicon Products,                            X-TRACT Laporascopic MDU_Morcellator_Regulatory           PPE Record   Regulatory Supplement        na   1   X-TRACT Laporascopic MDU_Morcellator_Regulatory       Released
             ,                                            Supplement Z                                                                                                 Supplement Z
PS607-001    Ethicon Products,                            Blake Silicone Drain Japan Supplement AX (Seihin Hyojun   PPE Record   Regulatory Supplement        na   1   Blake Silicone Drain Japan Supplement AX (Seihin      Released
             ,                                            Sho)                                                                                                         Hyojun Sho)




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PS607-002    Ethicon Products,                              Dermabond Topical Skin Adhesive Supplement AW                  PPE Record   Regulatory Supplement        na   5   Dermabond Topical Skin Adhesive Supplement AW     Released
             ,
PS607-020    Ethicon Products,                              BLAKE Cardio Connector Regulatory Supplement AZ                PPE Record   Regulatory Supplement        na   1   BLAKE Cardio Connector Regulatory Supplement AZ   Released
             ,
QA-0000003   Women's Health and Urology,                    Regulatory Supplement for GYNEMESH_ Supplement BA              PPE Record   Regulatory Supplement        na   1   Regulatory Supplement for GYNEMESH_ Supplement    Released
             ,                                                                                                                                                                BA
QA-0000005   Women's Health and Urology,                    Regulatory Supplement for GYNECARE Laparoscopic          PPE Record         Regulatory Supplement        na   1   Regulatory Supplement for GYNECARE Laparoscopic   Released
             ,                                              Morcellator Supplement AA1                                                                                        Morcellator Supplement AA1
QA-0000008   Ethicon Products,                              Regulatory Supplement for VICRYL Plus Suture, Supplement PPE Record         Regulatory Supplement        na   1   Regulatory Supplement for VICRYL Plus Suture,     Released
             ,                                              AY                                                                                                                Supplement AY
100050754    Ethicon-Somerville-Research and Development-   Extrusion PQ Protocol                                    Protocol                                             1
             EPD Needle Technology
100055337    Ethicon-Somerville-Research and Development-   Protocol for Performance Qualification (PQ) of Internal        Protocol                                       1
             Clinical Development and Medical Affairs       Surgical Sealant Chemical Processes used for
100055337    Ethicon-Somerville-Research and Development-   Protocol for Performance Qualification (PQ) of Internal        Protocol                                       1
             EP                                             Surgical Sealant Chemical Processes used for
100056060    Ethicon-Somerville-Research and Development-   Design Validation Protocol (Surgeons)                          Protocol                                       1
             EPD Needle Technology
100056637    Ethicon-Somerville-Research and Development-   Protocol for 6 mil EVERPOINT Attachment Development            Protocol                                       2
             Sterilization Sciences and Technology
100056637    Ethicon-Somerville-Research and Development-   Dummy protocol for 6 mil EVERPOINT Development                 Protocol                                       1
             Sterilization Sciences and Technology
100056713    Ethicon-Somerville-Research and Development-   OQ Protocol for Oversized 8-0 PROLENE Extrusion on             Protocol                                       1
             EPD Needle Technology                          Extrusion Line #6
100057020    Ethicon-Somerville-Research and Development-   Design Verfication Testing Protocol                            Protocol                                       1
             EPD Needle Technology
100057180    Ethicon-Somerville-Research and Development-   Ethylene oxide and ethylene chlorohydrin testing of PDS Plus Protocol                                         1
             EP                                             products
100057211    Ethicon-Somerville-Research and Development-   Protocol for 6 mil EVERPOINT Attachment Development          Protocol                                         1
             Sterilization Sciences and Technology
100057215    Ethicon-Somerville-Research and Development-   Protocol for 6 mil EVERPOINT Attachment Development            Protocol                                       1
             Sterilization Sciences and Technology
100058776    Ethicon-Somerville-Research and Development-   Design Verification and Design Validation Sample Build         Protocol                                       1
             EPD Needle Technology                          Protocol
100058888    Ethicon-Somerville-Research and Development-   Protocol for PDS/MONOCRYL Bulk Spooling In Vivo                Protocol                                       1
             EPD Needle Technology                          Confirmation Study
100059417    Ethicon-Somerville-Research and Development-   Development Protocol for RVR Plus Sterilized in San Angelo     Protocol                                       1
             EP
100059559    Ethicon-Somerville-Research and Development-   eDHF Transition to ADAPTIV Protocol                            Protocol                                       1
             Clinical Development and Medical Affairs
100060631    Ethicon-Somerville-Research and Development-   Process Verification Protocol - Vicryl Plus Line Extension -   Protocol                                       1
             EPD Needle Technology                          Split Flow
100060633    Ethicon-Somerville-Research and Development-   Process Verification Protocol - Vicryl Plus Line Extension -   Protocol                                       1
             EP                                             San Angelo Codes
100061315    Ethicon-Somerville-Research and Development-   Dummy Protocol                                                 Protocol                                       1
             JJ Wound Management
100061933    Ethicon-Somerville-Research and Development-   Injection Molding Confirmation for Omnex Housings following Protocol                                          1
             Clinical Development and Medical Affairs       Material Change
100061933    Ethicon-Somerville-Research and Development-   Injection Molding Confirmation for Omnex Housings following Protocol                                          1
             EP                                             Material Change
100062474    Ethicon-Somerville-Research and Development-   Design Validation Protocol (Nurses, Labeling and Graphics) Protocol                                           1
             EPD Needle Technology
100065866    Ethicon-Somerville-Research and Development-   Development Protocol for RVR Plus Sterilized in Scotland       Protocol                                       1
             EP
100066657    Ethicon-Somerville-Research and Development-   Transportation Test Protocol for Vicryl Plus Line Extension    Protocol                                       1
             EP
100067443    Ethicon-Somerville-Research and Development-   Design Verification Testing Protocol - STRATAFIX PDS Plus      Protocol                                       2
             EP
100067443    Ethicon-Somerville-Research and Development-   Design Verification Testing Protocol - STRATAFIX PDS Plus      Protocol                                       1
             EP
100068271    Ethicon-Somerville-Research and Development-   Vicryl Plus Line Extension - Build Protocol                    Protocol                                       1
             EP
100069791    Ethicon-Somerville-Research and Development-   Magtrol M-Test CSV Appendix I Test Script                      Protocol                                       1
             Sterilization Sciences and Technology
100069804    Ethicon-Somerville-Research and Development-   Magtrol M-Test CSV Protocol                                    Protocol                                       1
             Sterilization Sciences and Technology
100070611    Ethicon-Somerville-Research and Development-   gvy7ti                                                         Protocol                                       1
             Gynecare
100071520    Ethicon-Somerville-Research and Development-   Build Protocol for Transportation Test Samples - Vicryl Plus   Protocol                                       1
             EP                                             Line Extension




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100072375     Ethicon-Somerville-Research and Development-   Operational Qualification Protocol for Vacuum Canning           Protocol                                                             1
              Clinical Development and Medical Affairs       Process for Dolfin Pre-Form Material
100072375     Ethicon-Somerville-Research and Development-   Operational Qualification Protocol for Vacuum Canning           Protocol                                                             1
              EP                                             Process for Dolfin Pre-Form Material
100072376     Ethicon-Somerville-Research and Development-   Process Verification for US Mini Graphics Printing on Tyvek     Protocol                                                             1
              Clinical Development and Medical Affairs
100072376     Ethicon-Somerville-Research and Development-   Process Verification for US Mini Graphics Printing on Tyvek     Protocol                                                             1
              EP
100073741     Ethicon-Somerville-Research and Development-   DATA COLLECTION PROTOCOL FOR NEEDLE                             Protocol                                                             1
              Sterilization Sciences and Technology          PENETRATION PERFORMANCE
100074778     Ethicon-Somerville-Research and Development-   RVR Paired Study - Triclosan Concentration Lower Limit          Protocol                                                             1
              EP                                             Study
100075635     Ethicon-Somerville-Research and Development-   Transportation Test Protocol for Vicryl Plus Line Extension -   Protocol                                                             1
              EP                                             Product in SOT
100076426     Ethicon-Somerville-Research and Development-   Injection Molding Confirmation for Omnex Lever following        Protocol                                                             1
              Clinical Development and Medical Affairs       Material Change
100076426     Ethicon-Somerville-Research and Development-   Injection Molding Confirmation for Omnex Lever following        Protocol                                                             1
              EP                                             Material Change
100078953     Ethicon-Somerville-Research and Development-   eDHF Transition to ADAPTIV Protocol                             Protocol                                                             1
              Clinical Development and Medical Affairs
100080268     Ethicon-Somerville-Research and Development-   Pilot study - RVR Plus sutures against Escherichia coli         Protocol                                                             1
              EP
100080694     Ethicon-Somerville-Research and Development-   Protocol for RVR ΓÇôSample stability protocol for ECOG910 Protocol                                                                   1
              JJ Wound Management                            Near Infrared (NIR) standard samples stored
100083457     Ethicon-Somerville-Research and Development-   Design Validation Protocol (Nurses, Labeling and Graphics) Protocol                                                                  1
              EPD Needle Technology                          (TEST 2)
100083526     Design and Development                         Procedure for Establishment Registration and Medical Device Procedure (Non-PPE)                                                      1
                                                             Listing
100083831   Ethicon-Somerville-Research and Development-     Size 7-0 and 8-0 Development                                Protocol                                                                 1
            Gynecare
100083890   Ethicon-Somerville-Research and Development- Downstream Processing of Yarns Produced in the Cornelia             Protocol                                                             1
            EPD Needle Technology                        56Dn Extrusion-run of High/Low IV/Acid PG910
100084424   Ethicon-Somerville-Research and Development- BV175-7 Needlemaking Development Protocols                          Protocol                                                             1
            Sterilization Sciences and Technology
100086582   Ethicon-Somerville-Research and Development- Franchise Procedure for New Product Design Usability                Procedure                                                            1
            Clinical Development and Medical Affairs
100086901   Ethicon-Somerville-Research and Development- Protocol for BSI Design Control Corrective Action                   Protocol                                                             2
            Clinical Development and Medical Affairs
100086901   Ethicon-Somerville-Research and Development- Protocol for BSI Design Control Corrective Action                   Protocol                                                             1
            Clinical Development and Medical Affairs
100087476   Ethicon-Somerville-Research and Development- RVR2012-006: The effects of particle size, thermal and              Protocol                                                             1
            JJ Wound Management                          vacuum drying of ECOG910 Oligomer
100087886   Ethicon-Somerville-Research and Development- BV175-7 Needle Blank RMQA Protocol                                  Protocol                                                             1
            Microbiology
100088200   Ethicon-Somerville-Research and Development- CC175-6 Needlemaking Development Protocols                          Protocol                                                             1
            Sterilization Sciences and Technology
100088878   Ethicon-Somerville-Research and Development- Development Protocol for RVR Plus in Zipper I                       Protocol                                                             1
            EPD Needle Technology
100089753   Ethicon-Somerville-Research and Development- CC175-6 Needlemaking PQ Protocols                                   Protocol                                                             1
            Package Design
100090779   Ethicon-Somerville-Research and Development- RVR2012-010: The Effect of Ambient Vacuum Drying of                 Protocol                                                             1
            JJ Wound Management                          ECOG910 on Process and Product
100091072   Ethicon-Somerville-Research and Development- Bihler Needlemaking PQ Protocol                                     Protocol                                                             1
            Package Design
100091093   Ethicon-Somerville-Research and Development- Bihler 6mil BV130-5 PQ Supplemental Protocol                        Protocol                                                             1
            Sterilization Sciences and Technology
100091423   Ethicon-Somerville-Research and Development- CC175-6 Needle Blank RMQA Protocol                                  Protocol                                                             1
            Package Design
100094716   Ethicon-Somerville-Research and Development- Protocol for RVR ΓÇôSample stability protocol for ECOG910           Protocol                                                             1
            JJ Wound Management                          Near Infrared (NIR) standard samples stored
100095739   Ethicon-Somerville-Research and Development- Design Validation Protocol                                          Protocol                                                             1
            EP
MS158-001   Ethicon Products, J&amp;J Wound Management, Operating Procedure for Design Failure Modes and Effects             Procedure (Non-PPE)   Quality System               Risk Management   14   Operating Procedure for Design Failure Modes and   Released
            Women's Health and Urology,                  Analysis                                                                                                                                      Effects Analysis
            ,
MWI-0000143 Ethicon-Somerville-Research and Development- MANUFACTURING WORK INSTRUCTION FOR                                  Procedure                                                            1
            EP                                           SEMPERFLO* PAIN MANAGEMENT SYSTEM KIT
                                                         COMPONENTS LABELING
OP650-011                                                Operating Procedure for Design Failure Modes and Effects            Procedure (Non-PPE)                                                  14
                                                         Analysis




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PR-0000173   Ethicon-Somerville-Research and Development-     Procedure for Preparation and Approval Process for              Procedure                                                                          8
             Clinical Development and Medical Affairs         Protocols, Amendments, and Administrative Changes for
                                                              Clinical Trials
PR-0000174   Ethicon-Somerville-Research and Development-     Procedure for Preparation, Review, and Approval of Case         Procedure                                                                          3
             EP                                               Report Forms for Clinical Trials
PR-0000175   Ethicon-Somerville-Research and Development-     Procedure for Preparation, Review, and Approval of Informed     Procedure                                                                          1
             Clinical Development and Medical Affairs         Consent Documents for Clinical Trials
PR-0000176   Ethicon-Somerville-Research and Development-     Procedure for the Site Evaluation Visit for Clinical Trials     Procedure                                                                          6
             EP
PR-0000177   Ethicon-Somerville-Research and Development-     Procedure for the Site Initiation Visit for Clinical Trials     Procedure                                                                          7
             EP
PR-0000178   Ethicon-Somerville-Research and Development-     Procedure for the Site Monitoring Visit for Clinical Trials     Procedure                                                                          7
             EP
PR-0000179   Ethicon-Somerville-Research and Development-     Procedure for the Site Close Out for Clinical Trials            Procedure                                                                          6
             Clinical Development and Medical Affairs
PR-0000183   Ethicon-Somerville-Research and Development-     Procedure for Preparing Clinical Study Reports for Clinical       Procedure                                                                        3
             Clinical Development and Medical Affairs         Trials
PR-0000190   Ethicon-Somerville-Research and Development-     Procedure for Oracle Clinical System Security and Disaster        Procedure                                                                        4
             EP                                               Recovery for Clinical Trials
PR-0000191   Ethicon-Somerville-Research and Development-     Clinical Development and Medical Affairs Procedure for            Procedure                                                                        2
             EP                                               Creation and Maintenance of the Global Library for Clinical
                                                              Trials
PR-0000192   Ethicon-Somerville-Research and Development-     Procedure for Statistical Input into Clinical Investigation Plans Procedure                                                                        1
             Clinical Development and Medical Affairs         / Protocols for Clinical Trials
PR-0000193   Ethicon-Somerville-Research and Development-     Procedure for the Creation of an Annotated Case Report            Procedure                                                                        4
             EP                                               Form for Clinical Trials
PR-0000194   Ethicon-Somerville-Research and Development-     Procedure for Randomization and Blinding for Clinical Trials Procedure                                                                             2
             Clinical Development and Medical Affairs
PR-0000195   Ethicon-Somerville-Research and Development-     CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                        Procedure                                                                          4
             EP                                               PROCEDURE FOR A DATA MANAGEMENT PLAN FOR
                                                              CLINICAL TRIALS
PR-0000196   Ethicon-Somerville-Research and Development-     CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                        Procedure                                                                          3
             Clinical Development and Medical Affairs         PROCEDURE FOR DATA ENTRY FOR CLINICAL TRIALS IN
                                                              AN ORACLE CLINICAL DATABASE
PR-0000197   Ethicon-Somerville-Research and Development-     CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                        Procedure                                                                          3
             EP                                               PROCEDURE FOR THE DATABASE QUALITY CONTROL
                                                              PROCESS FOR CLINICAL TRIALS
PR-0000198   Ethicon-Somerville-Research and Development-     Procedure for the Statistical Analysis Plan for Clinical Trials Procedure                                                                          2
             EP
PR-0000199   Ethicon-Somerville-Research and Development- Procedure for Locking and Unlocking of a Database for               Procedure                                                                          4
             EP                                           Clinical Trials
PR-0000200   Ethicon-Somerville-Research and Development- Procedure for Data Extraction from the Oracle Clinical              Procedure                                                                          4
             EP                                           Database Used for Clinical Trials
PR-0000201   Ethicon-Somerville-Research and Development- Procedure for Reporting Statistical Results for Clinical Trials     Procedure                                                                          1
             Clinical Development and Medical Affairs
PR-0000202   Ethicon-Somerville-Research and Development- Clinical Development and Medical Affairs Procedure for              Procedure                                                                          3
             EP                                           Creation and Testing of a Database for Clinical Trials
PR-0000217   Ethicon Products, J&amp;J Wound Management, Work Instructions for the eDHF Users Manual                          Work Instruction (Non-PPE)   Quality System               Design and Development   4   Work Instructions for the eDHF Users Manual                Released
             ,

PR-0000218   Ethicon Products, J&amp;J Wound Management, Work Instructiois for the Electronic Design History File             Work Instruction (Non-PPE)   Quality System               Design and Development   5   Work Instructiois for the Electronic Design History File   Released
             ,                                           Business Administrators User Manual                                                                                                                         Business Administrators User Manual

PR-0000220   Ethicon Products, J&amp;J Wound Management, PR800-015 Work-Instructions for eDHF System                          Work Instruction (Non-PPE)   Quality System               Design and Development   2   PR800-015 Work-Instructions for eDHF System                Released
             ,                                           Administrators                                                                                                                                              Administrators

PR-0000250   Ethicon Products, J&amp;J Wound Management, WORK INSTRUCTIONS FOR eDHF BUSINESS                                  Work Instruction (Non-PPE)   Quality System               Design and Development   4   WORK INSTRUCTIONS FOR eDHF BUSINESS                        Released
             ,                                           ADMINISTRATORS PROCEDURES                                                                                                                                   ADMINISTRATORS PROCEDURES

PR-0000252   Ethicon-Somerville-Research and Development-     Procedure for Data Coding of Adverse Events, concomitant        Procedure                                                                          3
             EP                                               medications & Medical Histories for Clinical Trials.
PR-0000257   Ethicon-Somerville-Research and Development-     Procedure for creating, verifying, & monitoring accuracy of     Procedure                                                                          1
             EP                                               reimbursement information provided to customers and other
                                                              external stakeholders by Health, Economics, &
                                                              Reimbursement.
PR-0000258   Ethicon-Somerville-Research and Development-     Procedure for removing and correcting reimbursement             Procedure                                                                          1
             EP                                               information provided to customers and other external
                                                              stakeholders by Health, Economics, & Reimbursement.
PR-0000271   Ethicon-Somerville-Research and Development-     Company Procedure: Glossary of Clinical Definitions             Procedure                                                                          3
             Clinical Development and Medical Affairs




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PR-0000299   Ethicon-Somerville-Research and Development-   Procedure for CMDA (US) Records Management Using                Procedure                                                                         OBS
             Clinical Development and Medical Affairs       Global Records & Electronic Archive Tracking System
                                                            (GREATS)
PR-0000299   Ethicon-Somerville-Research and Development-   Procedure for CMDA (US) Records Management Using                Procedure                                                                         1
             EP                                             Global Records & Electronic Archive Tracking System
                                                            (GREATS)
PR-0000565   Ethicon-Somerville-Research and Development-   Procedure for Stability Study Setup, Sample Retrieval,          Procedure                                                                         1
             EPD Needle Technology                          Handling, Testing, and Data Management of Stability
                                                            Studies QA-1-043
PR-0000608   Ethicon-Somerville-Research and Development-   ETHICON COMPANY PROCEDURE FOR                                   Procedure                                                                         1
             EPD Needle Technology                          INTERPRETATION OF NEW PRODUCT DEVELOPMENT
                                                            DRAWINGS
PR-0000612   Ethicon-Somerville-Research and Development-   Shipping Procedure for the Transportation of OMNEX              Procedure                                                                         1
             Clinical Development and Medical Affairs       Formulation to Subcontractors (San Lorenzo) PM-6-1737
PR-0000612   Ethicon-Somerville-Research and Development-   Shipping Procedure for the Transportation of OMNEX              Procedure                                                                         1
             EP                                             Formulation to Subcontractors (San Lorenzo) PM-6-1737
PR800-012    Ethicon-Somerville-Research and Development-   Company Procedure For Design Changes to Existing                Procedure                                                                         19
             Clinical Development and Medical Affairs       Products
PS-0000005   Ethicon-Somerville-Research and Development-   Process Specification for Creation and Revision of Needle       Procedure                                                                         5
             Sterilization Sciences and Technology          Specifications, Needle Blanks and Needle Templates
PS-0000490   Ethicon-Somerville-Research and Development-   US Records Management Guideline for Clinical Development        Procedure                                                                         2
             Clinical Development and Medical Affairs       and Medical Affairs
PS-0000490   Ethicon-Somerville-Research and Development-   US Records Management Guideline for Clinical Development        Procedure                                                                         OBS
             Clinical Development and Medical Affairs       and Medical Affairs
PS-0000515   Ethicon-Somerville-Research and Development-   Clinical Development and Medical Affairs Work Instructions      Procedure                                                                         1
             Clinical Development and Medical Affairs       for Handling Major Protocol Deviations
PS-0000538   Ethicon-Somerville-Research and Development-   Clinical Development and Medical Affairs Guideline on           Procedure                                                                         1
             Clinical Development and Medical Affairs       Review of Clinical Data
PS-0000607   Ethicon-Somerville-Research and Development-   Clinical Development and Medical Affairs Guideline for          Procedure                                                                         1
             Clinical Development and Medical Affairs       Utilizing the Laboratory Normal Range System within
                                                            ORACLE Clinical
PS-0000987   Ethicon-Somerville-Research and Development-   PROCESS SPECIFICATION FOR EDUCATIONAL GRANTS                    Procedure                                                                         1
             EP
PS-0001021   Ethicon-Somerville-Research and Development-   Initial SOP for RMIR's (Response to Medical Information         Procedure                                                                         1
             EP                                             Requests).
PS-0001023   Ethicon-Somerville-Research and Development-   Initial SOP for SMR's (Standard Medical Responses)              Procedure                                                                         1
             EP
QA-0000029   Ethicon-Somerville-Research and Development-   Pronova Design Requirements Matrix                              Product Development Requirements   Design Requirements Matrix                     1     DRM created for Pronova suture.                          Released
             EP
QA-0000030   Ethicon-Somerville-Research and Development-   Design Requirements Matrix Prolene with Silicone Beads and Product Development Requirements        Design Requirements Matrix                     1     New Design Requirements Matrix Prolene with Silicone     Released
             EP                                             Aluminum Collars                                                                                                                                        Beads and Aluminum Collars
QA-0000031   Ethicon-Somerville-Research and Development-   Design Requirements Matrix for Prolene with Ethilock Clips Product Development Requirements        Design Requirements Matrix                     1     New Design Requirements Matrix for Prolene with          Released
             EP                                                                                                                                                                                                     Ethilock Clips
QA-0000032   Ethicon-Somerville-Research and Development-   Design Requirements Matrix for Ethiloop                         Product Development Requirements   Design Requirements Matrix                     1     New Design Requirements Matrix for Ethiloop              Released
             EP
QA-0000033   Ethicon-Somerville-Research and Development-   ETHILON BLUE DRM                                                Product Development Requirements   Design Requirements Matrix                     1     DRM included under the scope of a design change to    Released
             EP                                                                                                                                                                                                     bring FG721-001 (US) and SP-0007 (FR) into alignment.

QA-0000034   Ethicon-Somerville-Research and Development-   Assembly Drawings for SemperFlo Pain Managment System           Drawing                            Device                                         B     Assembly Drawings for SemperFlo Pain Managment           Released
             EP                                             Microcatheter - Curved and Straight                                                                                                                     System Microcatheter - Curved and Straight
QA-0000035   Ethicon-Somerville-Research and Development-   Design Requirements Matrix for PROCEED* Surgical Mesh.          Product Development Requirements   Design Requirements Matrix                     12    Design Requirements Matrix for PROCEED* Surgical         Released
             EP                                                                                                                                                                                                     Mesh.
QA-0000036   Ethicon-Somerville-Research and Development-   DRM for GyneMesh XL                                             Product Development Requirements   Design Requirements Matrix                     5     DRM for GyneMesh XL                                      Released
             EP
QA-0000038   Ethicon-Somerville-Research and Development-   ETHICON SECURESTRAP DESIGN REQUIREMENTS                         Product Development Requirements   Design Requirements Matrix                     5     ETHICON SECURESTRAP DESIGN REQUIREMENTS                    Released
             EP                                             MATRIX                                                                                                                                                  MATRIX
QA-0000039   Ethicon-Somerville-Research and Development-   Design Requirements Matrix for the DERMABOND                    Product Development Requirements   Design Requirements Matrix                     4     Design Requirements Matrix for the DERMABOND               Released
             EP                                             ADVANCED Topical Skin Adhesive Product                                                                                                                  ADVANCED Topical Skin Adhesive Product
QA-0000052   Ethicon-Somerville-Research and Development-   Release Specification for DERMABOND ProTape_QC-5-               Specification                      Finished Goods Specification   Wound Closure   6     Release Specification for DERMABOND ProTape_QC-5- Released
             EP                                             131 QC-5-135                                                                                                                                            131 QC-5-135
QA-0000059   Ethicon-Somerville-Research and Development-   Material Specification for Toshiba Tungsten-Rhenium Wire        Specification                      Material Specification         Raw Material    7     Material Specification for Toshiba Tungsten-Rhenium        Released
             EP                                             (H36-ES)                                                                                                                                                Wire (H36-ES)
QA-0000063   Ethicon-Somerville-Research and Development-   Material Specification for DERMABOND ADVANCED                   Specification                      Material Specification         Component       3     Material Specification for DERMABOND ADVANCED              Released
             EP                                             Formulation (OC017)                                                                                                                                     Formulation (OC017)
QA-0000064   Ethicon-Somerville-Research and Development-   Material Specification for Age Hardenable Stainless Steel for   Specification                      Material Specification         Raw Material    34    Material Specification for Age Hardenable Stainless Steel Released
             EP                                             Channel Needles, Type 455                                                                                                                               for Channel Needles, Type 455
QA-0000066   Ethicon-Somerville-Research and Development-   Material Specification for ETHALLOY-II, ETHALLOY-II-FS          Specification                      Material Specification         Raw Material    26    Material Specification for ETHALLOY-II, ETHALLOY-II-FS Released
             EP                                             and ETHALLOY-II-PS Wire                                                                                                                                 and ETHALLOY-II-PS Wire
QA-0000067   Ethicon-Somerville-Research and Development-   Material Specification for Stainless Steel Needle Wire for      Specification                      Material Specification         Raw Material    15    Material Specification for Stainless Steel Needle Wire for Released
             EP                                             Channel and Drilled Needles Type 420 (ETHICON*)                                                                                                         Channel and Drilled Needles Type 420 (ETHICON*)




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QA-0000068   Ethicon-Somerville-Research and Development-   BV130-5, 6 mil, Needle Blank                                 Drawing                Needle                                                              A       BV130-5, 6 mil, Needle Blank                                  Released
             EP
QA-0000073   Ethicon-Somerville-Research and Development-   OPERATING PROCEDURE FOR THE SET UP AND                       PPE Work Instruction   Equipment Instruction             Equipment Instruction             1       OPERATING PROCEDURE FOR THE SET UP AND                        Released
             EP                                             PREVENTIVE MAINTENANCE OF TINIUS OLSEN (T/O)                                                                                                                    PREVENTIVE MAINTENANCE OF TINIUS OLSEN (T/O)
                                                            STIFFNESS TESTERS                                                                                                                                               STIFFNESS TESTERS
QA-0000074  Ethicon-Somerville-Research and Development-    Statement of Requirements for Ethicon Bend Tester (EBT)      Specification          Software Specification            Automated Process                 1       Statement of Requirements for Ethicon Bend Tester             Released
            EP                                                                                                                                                                                                              (EBT)
QA-0000078 Ethicon-Somerville-Research and Development      FRANCHISE PROCEDURE FOR DESIGN CHANGES TO                    Procedure (Non-PPE)    Quality System                    Design and Development            3       FRANCHISE PROCEDURE FOR DESIGN CHANGES                        Released
            WW                                              EXISTING PRODUCTS                                                                                                                                               TO EXISTING PRODUCTS
QA-0000082 Ethicon-Somerville-Research and Development      FRANCHISE POLICY FOR ETHICON'S DESIGN CONTROL                Policy                 Quality System                    Design and Development            1       FRANCHISE POLICY FOR ETHICON'S DESIGN                         Released
            WW                                              OF NEW PRODUCT DEVELOPMENT                                                                                                                                      CONTROL OF NEW PRODUCT DEVELOPMENT
QA-0000084 Ethicon-Somerville-Research and Development      Franchise Procedure for Design Control of Non-               Procedure (Non-PPE)    Quality System                    Design and Development            8 (9)   Franchise Procedure for Design Control of Non-                Released
            WW                                              Electromechanical New Product Development                                                                                                                       Electromechanical New Product Development
QA-0000085 Ethicon-Somerville-Research and Development      Franchise Procedure for Design Control of New                Procedure (Non-PPE)    Quality System                    Design and Development            4 (5)   Franchise Procedure for Design Control of New                 Released
            WW                                              Electromechanical Product Development                                                                                                                           Electromechanical Product Development
QA-0000087 Ethicon-Somerville-Research and Development      Franchise Electromechanical Traceability Process             Procedure (Non-PPE)    Quality System                    Identification and Traceability   1       Franchise Electromechanical Traceability Process              Released
            WW                                              Specification                                                                                                                                                   Specification
RMR-0000010 Ethicon-Somerville-Research and Development     Franchise Procedure for Controlling Substances of Concern    Procedure (Non-PPE)    Environmental Health and Safety   Environmental Health and Safety   2       Franchise Procedure for Controlling Substances of             Released
            WW                                                                                                                                                                                                              Concern
RMR-0000011 Ethicon-Somerville-Research and Development-    CLINICAL DEVELOPMENT SITE BUDGETS AND                   Procedure (Non-PPE)         Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        CONTRACTS
RMR-0000014 Ethicon-Somerville-Research and Development-    VALIDATING EDIT CHECKS USING ELECTRONIC DATA            Procedure (Non-PPE)         Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        CAPTURE
RMR-0000015 Ethicon-Somerville-Research and Development-    USER ACCEPTANCE TESTING (UAT) USING                     Procedure (Non-PPE)         Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        ELECTRONIC DATA CAPTURE (EDC)
RMR-0000017 Ethicon-Somerville-Research and Development-    STUDY HOLD, INTERIM ANALYSIS AND STUDY CLOSURE Procedure (Non-PPE)                  Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        USING ELECTRONIC DATA CAPTURE (EDC)
RMR-0000019 Ethicon-Somerville-Research and Development-    SITE READINESS WHEN USING ELECTRONIC DATA               Procedure (Non-PPE)         Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        CAPTURE (EDC)
RMR-0000020 Ethicon-Somerville-Research and Development-    REPORTING WITHIN ELECTRONIC DATA CAPTURE (EDC) Procedure (Non-PPE)                  Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        STUDIES
RMR-0000021 Ethicon-Somerville-Research and Development-    GUIDELINE FOR UTILIZING THE LAB ADMINISTRATION          Procedure (Non-PPE)         Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        MODULE IN MEDIDATA RAVE
RMR-0000023 Ethicon-Somerville-Research and Development-    CHANGE CONTROL PROCESSES FOR ELECTRONIC                 Procedure (Non-PPE)         Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        DATA CAPTURE (EDC)
RMR-0000025 Ethicon-Somerville-Research and Development-    CREATION AND APPROVAL OF AN ELECTRONIC CRF              Procedure (Non-PPE)         Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        FOR USE IN ELECTRONIC DATA CAPTURE
RMR-0000028 Ethicon-Somerville-Research and Development-    PROCEDURE FOR MEDIDATA RAVE SYSTEM SECURITY Procedure (Non-PPE)                     Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        AND DISASTER RECOVERY
RMR-0000029 Ethicon-Somerville-Research and Development-    ESTABLISHMENT AND OPERATION OF DATA                     Procedure (Non-PPE)         Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        MONITORING COMMITTEES OR DATA SAFETY
                                                            MONITORING BOARD
RMR-0000039 Ethicon-Somerville-Research and Development-    ROUTINE ADVERSE EVENT REVIEW FOR POTENTIAL              Procedure (Non-PPE)         Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        SAFETY SIGNALS/TRENDS ON INVESTIGATIONAL
                                                            CLINICAL TRIALS
RMR-0000040 Ethicon-Somerville-Research and Development-    PROCEDURE FOR REQUESTS TO RETRIEVE BOXES                Procedure (Non-PPE)         Quality System                    All Quality System Processes      1       na                                                            Released
            Clinical Development and Medical Affairs        FROM EXTERNAL ARCHIVE (KIRKTON CAMPUS)
RMR-0000041 Ethicon-Somerville-Research and Development-    Medical Affairs Policy for Transferring Electronic Data Policy                      Health Care Compliance            Health Care Compliance            1       Medical Affairs Policy for Transferring Electronic Data       Released
            Clinical Development and Medical Affairs
RMR-0000042 Ethicon-Somerville-Research and Development-    POLICY ON PROVIDING COMPUTER HARDWARE AND                    Policy                 Health Care Compliance            Health Care Compliance            1       POLICY ON PROVIDING COMPUTER HARDWARE                         Released
            Clinical Development and Medical Affairs        SOFTWARE FOR CLINICAL DEVELOPMENT RESEARCH                                                                                                                      AND SOFTWARE FOR CLINICAL DEVELOPMENT
                                                            PROJECTS                                                                                                                                                        RESEARCH PROJECTS
RMR-0000043 Ethicon-Somerville-Research and Development-    Procedure for Preparation, Approval, Maintenance, and        Procedure (Non-PPE)    Quality System                    Design and Development            4       Procedure for Preparation, Approval, Maintenance, and         Released
            Clinical Development and Medical Affairs        Control of Procedures for Clinical Trials                                                                                                                       Control of Procedures for Clinical Trials
RMR-0000044 Ethicon-Somerville-Research and Development-    Preparation and Approval Process for Protocols,              Procedure (Non-PPE)    Quality System                    All Quality System Processes      9       Procedure for Preparation and Approval Process for            Released
            Clinical Development and Medical Affairs        Amendments, and Administrative Changes for Clinical Trials                                                                                                      Protocols, Amendments, and Administrative Changes for
                                                                                                                                                                                                                            Clinical Trials
RMR-0000047 Ethicon-Somerville-Research and Development-    PROCEDURE FOR PREPARATION, REVIEW, AND                       Procedure (Non-PPE)    Quality System                    All Quality System Processes      4       na                                                            Released
            Clinical Development and Medical Affairs        APPROVAL OF CASE REPORT FORMS FOR CLINICAL
                                                            TRIALS
RMR-0000049 Ethicon-Somerville-Research and Development-    PROCEDURE FOR PREPARATION, REVIEW, AND                       Procedure (Non-PPE)    Quality System                    All Quality System Processes      2       na                                                            Released
            Clinical Development and Medical Affairs        APPROVAL OF INFORMED CONSENT DOCUMENTS FOR
                                                            CLINICAL TRIALS
RMR-0000050 Ethicon-Somerville-Research and Development-    PROCEDURE FOR THE SITE EVALUATION VISIT FOR                  Procedure (Non-PPE)    Quality System                    All Quality System Processes      7       Procedure for the Site Evaluation Visit for Clinical Trials   Released
            Clinical Development and Medical Affairs        CLINICAL TRIALS
RMR-0000051 Ethicon-Somerville-Research and Development-    PROCEDURE FOR THE SITE INITIATION VISIT FOR                  Procedure (Non-PPE)    Quality System                    All Quality System Processes      8       Procedure for the Site Initiation Visit for Clinical Trials   Released
            Clinical Development and Medical Affairs        CLINICAL TRIALS
RMR-0000052 Ethicon-Somerville-Research and Development-    PROCEDURE FOR THE SITE MONITORING VISIT FOR                  Procedure (Non-PPE)    Quality System                    All Quality System Processes      8       Procedure for the Site Monitoring Visit for Clinical Trials   Released
            Clinical Development and Medical Affairs        CLINICAL TRIALS




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RMR-0000053 Ethicon-Somerville-Research and Development-    PROCEDURE FOR THE SITE CLOSE OUT FOR CLINICAL Procedure (Non-PPE)                       Quality System               All Quality System Processes   7       Procedure for the Site Close Out for Clinical Trials         Released
            Clinical Development and Medical Affairs        TRIALS
RMR-0000054 Ethicon-Somerville-Research and Development-    Procedure for Preparation, Review and Approval of the             Procedure (Non-PPE)   Quality System               All Quality System Processes   3       na                                                           Released
            Clinical Development and Medical Affairs        Investigator's Brochure for Clinical Trials
RMR-0000056 Ethicon-Somerville-Research and Development-    Procedure for Maintaining a Trial Master File for Clinical Trials Procedure (Non-PPE)   Quality System               Design and Development         6 (7)   Procedure for Maintaining a Trial Master File for Clinical   Released
            Clinical Development and Medical Affairs                                                                                                                                                                    Trials
RMR-0000057 Ethicon-Somerville-Research and Development-    Procedure for Maintaining an Investigator Trial File for Clinical Procedure (Non-PPE)   Quality System               Design and Development         2 (3)   Procedure for Maintaining an Investigator Trial File for     Released
            Clinical Development and Medical Affairs        Trials                                                                                                                                                      Clinical Trials
RMR-0000058 Ethicon-Somerville-Research and Development-    PROCEDURE FOR PREPARING CLINICAL STUDY                            Procedure (Non-PPE)   Quality System               All Quality System Processes   4       na                                                           Released
            Clinical Development and Medical Affairs        REPORTS FOR CLINICAL TRIALS
RMR-0000059 Ethicon-Somerville-Research and Development-    Procedure for the Use of a Contract Research Organization         Procedure (Non-PPE)   Quality System               Design and Development         3       Procedure for the Use of a Contract Research                 Released
            Clinical Development and Medical Affairs        for Clinical Trials                                                                                                                                         Organization for Clinical Trials
RMR-0000060 Ethicon-Somerville-Research and Development-    CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                          Procedure (Non-PPE)   Quality System               Design and Development         2       CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                     Released
            Clinical Development and Medical Affairs        PROCEDURE FOR SUPPLY AND ACCOUNTABILITY OF                                                                                                                  PROCEDURE FOR SUPPLY AND ACCOUNTABILITY
                                                            STUDY ARTICLES FOR CLINICAL TRIALS                                                                                                                          OF STUDY ARTICLES FOR CLINICAL TRIALS
RMR-0000062 Ethicon-Somerville-Research and Development-    Procedure for Suspicion of Misrepresentation and Misconduct Procedure (Non-PPE)         Quality System               All Quality System Processes   3       na                                                           Released
            Clinical Development and Medical Affairs        for Clinical Trials
RMR-0000063 Ethicon-Somerville-Research and Development-    Procedure for Adverse Event Collection and Reporting for a Procedure (Non-PPE)          Quality System               Design and Development         2       Procedure for Adverse Event Collection and Reporting for Released
            Clinical Development and Medical Affairs        Pharmaceutical Clinical Trial                                                                                                                               a Pharmaceutical Clinical Trial
RMR-0000064 Ethicon-Somerville-Research and Development-    Procedure for Adverse Event Collection and Reporting for          Procedure (Non-PPE)   Quality System               Design and Development         2       Procedure for Adverse Event Collection and Reporting for Released
            Clinical Development and Medical Affairs        U.S. Medical Device Clinical Trials                                                                                                                         U.S. Medical Device Clinical Trials
RMR-0000065 Ethicon-Somerville-Research and Development-    Procedure for Adverse Event Collection and Reporting for EU Procedure (Non-PPE)         Not Specified                Not Specified                  2       Procedure for Adverse Event Collection and Reporting for Released
            Clinical Development and Medical Affairs        Medical Device Clinical Trials                                                                                                                              EU Medical Device Clinical Trials
RMR-0000066 Ethicon-Somerville-Research and Development-    Procedure for Oracle Clinical System Security and Disaster        Procedure (Non-PPE)   Quality System               All Quality System Processes   5       Procedure for Oracle Clinical System Security and        Released
            Clinical Development and Medical Affairs        Recovery for Clinical Trials                                                                                                                                Disaster Recovery for Clinical Trials
RMR-0000067 Ethicon-Somerville-Research and Development-    Clinical Development Procedure for Creation and                   Procedure (Non-PPE)   Quality System               All Quality System Processes   3       Clinical Development Procedure for Creation and          Released
            Clinical Development and Medical Affairs        Maintenance of the Global Library for Clinical Trials                                                                                                       Maintenance of the Global Library for Clinical Trials
RMR-0000069 Ethicon-Somerville-Research and Development-    PROCEDURE FOR STATISTICAL INPUT INTO CLINICAL                     Procedure (Non-PPE)   Quality System               All Quality System Processes   2       na                                                       Released
            Clinical Development and Medical Affairs        INVESTIGATION PLANS/PROTOCOLS FOR CLINICAL
                                                            TRIALS
RMR-0000070 Ethicon-Somerville-Research and Development-    Procedure for the Creation of an Annotated Case Report            Procedure (Non-PPE)   Quality System               All Quality System Processes   5       Procedure for the Creation of an Annotated Case Report       Released
            Clinical Development and Medical Affairs        Form for Clinical Trials                                                                                                                                    Form for Clinical Trials
RMR-0000071 Ethicon-Somerville-Research and Development-    Procedure for Randomization and Blinding for Clinical Trials Procedure (Non-PPE)        Quality System               All Quality System Processes   3       Procedure for Randomization and Blinding for Clinical        Released
            Clinical Development and Medical Affairs                                                                                                                                                                    Trials
RMR-0000072 Ethicon-Somerville-Research and Development-    CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                       Procedure (Non-PPE)      Quality System               All Quality System Processes   5       CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                     Released
            Clinical Development and Medical Affairs        PROCEDURE FOR A DATA MANAGEMENT PLAN FOR                                                                                                                    PROCEDURE FOR A DATA MANAGEMENT PLAN FOR
                                                            CLINICAL TRIALS                                                                                                                                             CLINICAL TRIALS
RMR-0000073 Ethicon-Somerville-Research and Development-    CLINICAL DEVELOPMENT PROCEDURE FOR DATA                        Procedure (Non-PPE)      Quality System               All Quality System Processes   4       CLINICAL DEVELOPMENT PROCEDURE FOR DATA                      Released
            Clinical Development and Medical Affairs        ENTRY IN A CLINICAL DATA MANAGEMENT SYSTEM                                                                                                                  ENTRY IN A CLINICAL DATA MANAGEMENT SYSTEM
                                                            (CDMS)                                                                                                                                                      (CDMS)
RMR-0000076 Ethicon-Somerville-Research and Development-    Clinical Development Procedure for the Database Quality        Procedure (Non-PPE)      Quality System               All Quality System Processes   4       CLINICAL DEVELOPMENT PROCEDURE FOR THE                       Released
            Clinical Development and Medical Affairs        Control Process for Clinical Trials                                                                                                                         DATABASE QUALITY CONTROL PROCESS FOR
                                                                                                                                                                                                                        CLINICAL TRIALS
RMR-0000077 Ethicon-Somerville-Research and Development-    PROCEDURE FOR THE STATISTICAL ANALYSIS PLAN                    Procedure (Non-PPE)      Quality System               All Quality System Processes   3       na                                                           Released
            Clinical Development and Medical Affairs        FOR CLINICAL TRIALS
RMR-0000078 Ethicon-Somerville-Research and Development-    PROCEDURE FOR LOCKING AND UNLOCKING OF A                       Procedure (Non-PPE)      Quality System               All Quality System Processes   5       Procedure for Locking and Unlocking of a Database for        Released
            Clinical Development and Medical Affairs        DATABASE FOR CLINICAL TRIALS                                                                                                                                Clinical Trials
RMR-0000081 Ethicon-Somerville-Research and Development-    PROCEDURE FOR DATA EXTRACTION FROM THE                         Procedure (Non-PPE)      Quality System               All Quality System Processes   5       Procedure for Data Extraction from the Clinical Trial        Released
            Clinical Development and Medical Affairs        CLINICAL TRIAL DATABASE                                                                                                                                     Database
RMR-0000082 Ethicon-Somerville-Research and Development-    PROCEDURE FOR REPORTING STATISTICAL RESULTS                    Procedure (Non-PPE)      Quality System               All Quality System Processes   2       na                                                           Released
            Clinical Development and Medical Affairs        FOR CLINICAL TRIALS
RMR-0000083 Ethicon-Somerville-Research and Development-    Clinical Development and Medical Affairs Procedure for         Procedure (Non-PPE)      Quality System               All Quality System Processes   4       Clinical Development and Medical Affairs Procedure for       Released
            Clinical Development and Medical Affairs        Creation and Testing of a Database for Clinical Trials                                                                                                      Creation and Testing of a Database for Clinical Trials
RMR-0000085 Ethicon-Somerville-Research and Development-    PROCEDURE FOR INTERIM AND FOLLOW-UP ANALYSES                   Procedure (Non-PPE)      Quality System               All Quality System Processes   2       na                                                           Released
            Clinical Development and Medical Affairs        FOR CLINICAL TRIALS
RMR-0000087 Ethicon-Somerville-Research and Development-    Procedure for Registration, Assessment and Disclosure of       Procedure (Non-PPE)      Quality System               Design and Development         2       Procedure for Registration, Assessment and Disclosure        Released
            Clinical Development and Medical Affairs        Clinical Trials                                                                                                                                             of Clinical Trials
RMR-0000104 Ethicon-Somerville-Research and Development-    PROCEDURE FOR MEDICAL DATA CODING OF TERMS                     Procedure (Non-PPE)      Quality System               All Quality System Processes   4       na                                                           Released
            Clinical Development and Medical Affairs        WITHIN A CLINICAL TRIAL TO A STANDARDIZED
                                                            DICTIONARY
RMR-0000105 Ethicon-Somerville-Research and Development-    COMPANY PROCEDURE: GLOSSARY OF CLINICAL                        Procedure (Non-PPE)      Quality System               All Quality System Processes   4       na                                                           Released
            Clinical Development and Medical Affairs        DEFINITIONS
RS-0000003 Ethicon-Somerville-Research and Development-     Clinical Development Vendor Database Guideline                 Procedure (Non-PPE)      Quality System               Customer Service               1       Clinical Development Vendor Database Guideline               Released
            Clinical Development and Medical Affairs
RS-0000004 Ethicon-Somerville-Research and Development-     Clinical Development and Medical Affairs Product Complaint Procedure (Non-PPE)          Quality System               Design and Development         4       Clinical Development and Medical Affairs Product        Released
            Clinical Development and Medical Affairs        and Adverse Event (AE) Reporting Process for Post-Approval                                                                                                  Complaint and Adverse Event (AE) Reporting Process for
                                                            Medical Device Clinical Trials                                                                                                                              Post-Approval Medical Device Clinical Trials
RS-0000005   Ethicon-Somerville-Research and Development-   Clinical Development Risk Assessment Guideline for Non-    Procedure (Non-PPE)          Quality System               Risk Management                1       Clinical Development Risk Assessment Guideline for Non- Released
             Clinical Development and Medical Affairs       Validated Computer Programs, Software, and Application                                                                                                      Validated Computer Programs, Software, and Application




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RS-0000006   Ethicon-Somerville-Research and Development-   Global ETHICON Investigator Initiated Study (IIS) Review Procedure (Non-PPE)                     Quality System               All Quality System Processes     2       Global ETHICON Investigator Initiated Study (IIS) Review Released
             Clinical Development and Medical Affairs       Process Guidance Document                                                                                                                                              Process Guidance Document
RS-0000007   Ethicon-Somerville-Research and Development-   CLINICAL DEVELOPMENT WORK INSTRUCTIONS FOR               Work Instruction (Non-PPE)              Quality System               All Quality System Processes     2       na                                                       Released
             Clinical Development and Medical Affairs       THE CREATION AND USE OF STANDARD CRF MODULES

RS-0000008   Ethicon-Somerville-Research and Development-   Clinical Development and Medical Affairs Work Instructions    Procedure (Non-PPE)                Quality System               All Quality System Processes     2       Clinical Development and Medical Affairs Work           Released
             Clinical Development and Medical Affairs       for Handling Major Protocol Deviations                                                                                                                                 Instructions for Handling Major Protocol Deviations
RS-0000009   Ethicon-Somerville-Research and Development-   WORK INSTRUCTIONS FOR THE CREATION OF                         Work Instruction (Non-PPE)         Quality System               All Quality System Processes     2       na                                                      Released
             Clinical Development and Medical Affairs       RANDOMIZATION ENVELOPES FOR CLINICAL STUDIES

RS-0000010   Ethicon-Somerville-Research and Development-   CLINICAL DEVELOPMENT WORK INSTRUCTIONS FOR    Work Instruction (Non-PPE)                         Quality System               All Quality System Processes     2       na                                                      Released
             Clinical Development and Medical Affairs       VALIDATING EDIT CHECKS WITHIN ORACLE CLINICAL
RS-0000011   Ethicon-Somerville-Research and Development-   CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS WORK Work Instruction (Non-PPE)                         Quality System               Validation                       3       CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS  Released
             Clinical Development and Medical Affairs       INSTRUCTIONS FOR SAS PROGRAM TESTING                                                                                                                                   WORK INSTRUCTIONS FOR SAS PROGRAM TESTING

RS-0000012   Ethicon-Somerville-Research and Development-   CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                      Work Instruction (Non-PPE)         Quality System               All Quality System Processes     2       na                                                      Released
             Clinical Development and Medical Affairs       GUIDELINE ON RECEIPT OF CLINICAL DATA
RS-0000014   Ethicon-Somerville-Research and Development-   CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                      Work Instruction (Non-PPE)         Quality System               All Quality System Processes     2       na                                                      Released
             Clinical Development and Medical Affairs       GUIDELINE ON DISTRIBUTING UNVALIDATED DATA
                                                            LISTINGS
RS-0000015   Ethicon-Somerville-Research and Development-   ACCEPTANCE CRITERIA FOR ELECTRONICALLY                        Work Instruction (Non-PPE)         Quality System               All Quality System Processes     2       na                                                      Released
             Clinical Development and Medical Affairs       TRANSMITTED NON-CRF CLINICAL DATA GUIDELINE
RS-0000016   Ethicon-Somerville-Research and Development-   CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                      Work Instruction (Non-PPE)         Quality System               All Quality System Processes     2       na                                                      Released
             Clinical Development and Medical Affairs       GUIDELINE ON STUDY ASSUMPTIONS
RS-0000017   Ethicon-Somerville-Research and Development-   CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS WORK                 Work Instruction (Non-PPE)         Quality System               All Quality System Processes     2       na                                                      Released
             Clinical Development and Medical Affairs       INSTRUCTIONS FOR SELF-EVIDENT CORRECTIONS

RS-0000018   Ethicon-Somerville-Research and Development-   CLINICAL DEVELOPMENT AND MEDICAL AFFAIRS                      Procedure (Non-PPE)                Quality System               All Quality System Processes     2       na                                                      Released
             Clinical Development and Medical Affairs       GUIDELINE ON REVIEW OF CLINICAL DATA
RS-0000019   Ethicon-Somerville-Research and Development-   Process Specification for Clinical Development Employee       Work Instruction (Non-PPE)         Quality System               Design and Development           2       Process Specification for Clinical Development Employee Released
             Clinical Development and Medical Affairs       Training Records - Kirkton Campus                                                                                                                                      Training Records - Kirkton Campus
RS-0000020   Ethicon-Somerville-Research and Development-   PROCESS SPECIFICATION FOR REVIEW OF                           Procedure (Non-PPE)                Quality System               Design and Development           1       PROCESS SPECIFICATION FOR REVIEW OF                     Released
             Clinical Development and Medical Affairs       DISCLOSABLE FINANCIAL INTERESTS OF                                                                                                                                     DISCLOSABLE FINANCIAL INTERESTS OF
                                                            INVESTIGATORS IN US CLINICAL TRIALS                                                                                                                                    INVESTIGATORS IN US CLINICAL TRIALS
RS-0000021   Ethicon-Somerville-Research and Development-   Clinical Development Guideline for Utilizing the Laboratory   Procedure (Non-PPE)                Quality System               All Quality System Processes     2       na                                                      Released
             Clinical Development and Medical Affairs       Normal Range System within ORACLE Clinical
RS-0000022   Ethicon-Somerville-Research and Development-   Clinical Development and Medical Affairs Work Instruction for Work Instruction (Non-PPE)         Quality System               All Quality System Processes     2       na                                                      Released
             Clinical Development and Medical Affairs       the Creation of the Data Definitions Document
RS-0000024   Ethicon-Somerville-Research and Development-   PROCESS SPECIFICATION FOR MAINTAINING A TRIAL                 Procedure (Non-PPE)                Quality System               Design and Development           1 (2)   PROCESS SPECIFICATION FOR MAINTAINING A                 Released
             Clinical Development and Medical Affairs       MASTER FILE FOR CLINICAL TRIALS IN EU                                                                                                                                  TRIAL MASTER FILE FOR CLINICAL TRIALS IN EU
RS-0000025   Ethicon-Somerville-Research and Development-   PROCESS SPECIFICATION FOR MAINTAINING A TRIAL                 Procedure (Non-PPE)                Quality System               Design and Development           2 (3)   PROCESS SPECIFICATION FOR MAINTAINING A                 Released
             Clinical Development and Medical Affairs       MASTER FILE FOR CLINICAL TRIALS In US                                                                                                                                  TRIAL MASTER FILE FOR CLINICAL TRIALS In US
RS-0000026   Ethicon-Somerville-Research and Development-   Process Specification For The Translation Of Clinical Study   Procedure (Non-PPE)                Quality System               Design and Development           1       Process Specification For The Translation Of Clinical   Released
             Clinical Development and Medical Affairs       Documentation                                                                                                                                                          Study Documentation
RS-0000027   Ethicon-Somerville-Research and Development-   Independent Ethics Committee / Institutional Review Board     Procedure (Non-PPE)                Quality System               Design and Development           1       Independent Ethics Committee / Institutional Review     Released
             Clinical Development and Medical Affairs       Selection and Review for Clinical Trials                                                                                                                               Board Selection and Review for Clinical Trials
RS-0000028   Ethicon-Somerville-Research and Development-   Process Specification for Clinical Development Contractor     Procedure (Non-PPE)                Quality System               Training                         1       Process Specification for Clinical Development          Released
             Clinical Development and Medical Affairs       Training Records at Kirkton Campus                                                                                                                                     Contractor Training Records at Kirkton Campus
RS-0000029   Ethicon-Somerville-Research and Development-   EVERPOINT Design Requirements Matrix                          Product Development Requirements   Design Requirements Matrix                                    12      EVERPOINT Design Requirements Matrix                    Released
             EPD Needle Technology
RS-0000030   Ethicon-Somerville-Research and Development-   Stainless Steel Drilled Needles from Ethicon Norderstedt      Specification                      Material Specification       Component                        13      Stainless Steel Drilled Needles from Ethicon Norderstedt Released
             EPD Needle Technology
RS-0000031   Ethicon-Somerville-Research and Development-   BV130-5, 6.5mm, 6-mil, H=0.0027",BV130-5                      Drawing                            Needle                                                        B       6.5mm                                                   6-mil
             EPD Needle Technology
RS-0000032   Ethicon-Somerville-Research and Development-   Radius 12 mil, R .217                                         Drawing                            Needle                                                        A       Radius 12 mil, R .217                                   Released
             EPD Needle Technology
RS-0000033   Ethicon-Somerville-Research and Development-   OPERATING PROCEDURE FOR PENETRATION                           PPE Work Instruction               Inspection Instruction       Needle Production                75      OPERATING PROCEDURE FOR PENETRATION                     Released
             EPD Needle Technology                          PERFORMANCE TESTING OF SURGICAL NEEDLES                                                                                                                                PERFORMANCE TESTING OF SURGICAL NEEDLES
                                                            (ECNT TESTING)                                                                                                                                                         (ECNT, ETHICON CURVED NEEDLE TESTER,
                                                                                                                                                                                                                                   TESTING)
RS-0000034   Ethicon-Somerville-Research and Development-   Franchise Procedure for the Global Needle Quality Standards Procedure (Non-PPE)                  Quality System               Production                       4       na                                                      Released
             EPD Needle Technology                          Committee (GNQSC)
RS-0000036   Ethicon-Somerville-Research and Development-   Needle Strength and Ductility Requirements                  PPE Work Instruction                 Inspection Instruction       Needle Production                71      Needle Strength and Ductility Requirements              Released
             EPD Needle Technology
RS-0000037   Ethicon-Somerville-Research and Development-   TEST METHOD FOR ETHICON CURVED NEEDLE TESTER Test Method                                         Physical                                                      52      TEST METHOD FOR ETHICON CURVED NEEDLE                   Released
             EPD Needle Technology                                                                                                                                                                                                 TESTER
RS-0000038   Ethicon-Somerville-Research and Development-   Operating Procedure for Autoclave.                            Work Instruction (Non-PPE)         Quality System               Sterilization and Microbiology   5       Operating Procedure for Autoclave.                      Released
             Microbiology
RS-0000039   Ethicon-Somerville-Research and Development-   Work Instructions and Microbiological Test Requirements for   Procedure (Non-PPE)                Quality System               Sterilization and Microbiology   75      Work Instructions and Microbiological Test Requirements Released
             Microbiology                                   the Dosimetric Auditing Program                                                                                                                                        for the Dosimetric Auditing Program




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RS-0000040   Ethicon-Somerville-Research and Development-   Franchise Procedure for External Manufacturers Producing       PPE Work Instruction       Manufacturing Instruction         Sterilization and Microbiology    7 (8)     na                                                       Released
             Microbiology                                   Product Labeled STERILE""
RS-0000042   Ethicon-Somerville-Research and Development-   Steel, Nylon, Silk Folder Drawing (RMC F0516).                 Drawing                    Packaging                                                           A         Drawing for Steel, Nylon, Silk Folder RMC F0516          Released
             Package Design
RS-0000044   Ethicon-Somerville-Research and Development-   Stratafix PDS + 12 count deep draw tray                        Drawing                    Packaging                                                           B         Tray for Stratafix PDS Plus                              Released
             Package Design
RS-0000046   Ethicon-Somerville-Research and Development-   Stratafix PDS + sleeve                                         Drawing                    Packaging                                                           A         Sleeve for Stratafix PDS + tray                          Released
             Package Design
RS-0000047   Ethicon-Somerville-Research and Development-   Guardian Suture Tray Paper Lid                                 Drawing                    Packaging                                                           A         Paper Lid for Guardian Suture Tray                       Released
             Package Design
RS-0000048   Ethicon-Somerville-Research and Development-   Guardian Tray                                                  Drawing                    Packaging                                                           A         Plastic Tray for Barbed Suture                           Released
             Package Design
RS-0000049   Ethicon-Somerville-Research and Development-   Horizontal 12 count Deep Draw Suture Tray                      Specification              Material Specification            Packaging                         1 (2)     Horizontal Tray to hold 12 count deep draw foil          Released
             Package Design
TM-0000177   Ethicon-Somerville-Research and Development-   Horizontal 12 Count Deep Draw Sleeve                           Specification              Material Specification            Packaging                         1         Sleeve for horizontal 12 count Deep Draw Tray            Released
             Package Design
TM403-010    Ethicon-Somerville-Research and Development-   Peelable Foil Tyvek Header Pouches-Printed                     Specification              Material Specification            Packaging                         5         Peelable Foil Tyvek Header Pouches-Printed               Released
             Package Design                                                                                                                                                                                                         {See Supporting Documentation SD-0020825 in ECCS}

TM406-080   Ethicon-Somerville-Research and Development-    Material Specification for Paperboard Folding Cartons, Trays   Specification              Material Specification            Packaging                         38        Material Specification for Paperboard Folding Cartons,   Released
            Package Design                                  and Sleeves                                                                                                                                                             Trays and Sleeves
TRM-0000022 Ethicon-Somerville-Research and Development-    Drawing Folded Boxes 135 X 60 X 12mm                           Drawing                    Packaging                                                           B         Drawing Folded Boxes 135 X 60 X 12mm                     Released
            Package Design
UM-0000005 Ethicon-Somerville-Research and Development-     Drawing Folded Boxes 140X90X12 mm (PKDWG-0000304).             Drawing                    Packaging                                                           B         Drawing Folded Boxes 140X90X12 mm (PKDWG-            Released
            Package Design                                                                                                                                                                                                          0000304).
UM-0000048 Ethicon-Somerville-Research and Development-     Harmonized Test Method for Seal Strength Measurement of        Test Method                Packaging                                                           6         Harmonized Test Method for Seal Strength Measurement Released
            Package Design                                  Flexible Packaging Materials                                                                                                                                            of Flexible Packaging Materials
UM-0000052 Ethicon-Somerville-Research and Development-     VISUAL INSPECTION OF RAW, IN-PROCESS AND                       Test Method                Physical                                                            27 (28)   VISUAL INSPECTION OF RAW, IN-PROCESS AND             Released
            Package Design                                  FINISHED GOODS MATERIALS. English                                                                                                                                       FINISHED GOODS MATERIALS. English
UM-0000053 Ethicon-Somerville-Research and Development-     OPERATING PROCEDURE FOR QUARTERLY ETHYLENE                     Procedure (Non-PPE)        Quality System                    Sterilization and Microbiology    68 (69)   OPERATING PROCEDURE FOR QUARTERLY                    Released
            Sterilization Sciences and Technology           OXIDE BIOBURDEN AUDIT PROGRAM                                                                                                                                           ETHYLENE OXIDE BIOBURDEN AUDIT PROGRAM
UM-0000054 Ethicon-Somerville-Research and Development-     OPERATING PROCEDURE FOR QUARTERLY                              Procedure (Non-PPE)        Quality System                    Sterilization and Microbiology    46 (47)   OPERATING PROCEDURE FOR THE QUARTERLY                Released
            Sterilization Sciences and Technology           PARTICULATE COUNT AUDIT IN CONTROLLED                                                                                                                                   PARTICULATE COUNT AUDIT CONDUCTED INSIDE
                                                            MANUFACTURING AREA &amp; MICRO                                                                                                                                          THE CONTROLLED MANUFACTURING
                                                                                                                                                                                                                                    ENVIRONMENT (ENVIRONMENT CONTROL LEVEL #2)
                                                                                                                                                                                                                                    AND MICROBIOLOGY DEPARTMENT
UM-0000055   Ethicon-Somerville-Research and Development-   OPERATING PROCEDURE FOR VIABLE AIRBORNE AND                    PPE Work Instruction       Manufacturing Instruction         Sterilization|Environmental       63        OPERATING PROCEDURE FOR VIABLE AIRBORNE              Released
             Sterilization Sciences and Technology          SURFACE MONITORING CONDUCTED IN THE CME                                                                                                                                 AND SURFACE MONITORING CONDUCTED INSIDE
                                                                                                                                                                                                                                    THE CONTROLLED MANUFACTURING
                                                                                                                                                                                                                                    ENVIRONMENT (ENVIRONMENTAL CONTROL LEVEL
                                                                                                                                                                                                                                    #2)
UM-0000056   Ethicon-Somerville-Research and Development-   Franchise Procedure for Dry Heat Sterilization                 Procedure (Non-PPE)        Quality System                    Sterilization and Microbiology    8         na                                                   Released
             Sterilization Sciences and Technology
UM-0000068   Ethicon-Somerville-Research and Development-   Franchise Procedure for ENVIRONMENTAL CONTROL                  Procedure (Non-PPE)        Environmental Health and Safety   Environmental Health and Safety   4         Franchise Procedure for ENVIRONMENTAL CONTROL            Released
             Sterilization Sciences and Technology
UM-0000136   Ethicon-Somerville-Research and Development-   Franchise Procedure for Moist Heat Sterilization               Procedure (Non-PPE)        Quality System                    Sterilization and Microbiology    3         na                                                       Released
             Sterilization Sciences and Technology
UM-0000144   Ethicon-Somerville-Research and Development-   Franchise Procedure for Ethylene Oxide (EO) Sterilization      PPE Work Instruction       Manufacturing Instruction         Sterilization and Microbiology    7         Franchise Procedure for Ethylene Oxide (EO)              Released
             Sterilization Sciences and Technology                                                                                                                                                                                  Sterilization
UM-0000145   Ethicon-Somerville-Research and Development-   Franchise Procedure for Controlled Manufacturing               Procedure (Non-PPE)        Quality System                    Facilities and Maintenance        5         na                                                       Released
             Sterilization Sciences and Technology          Environments
100024871    Ethicon Products,                              Ethiloop Risk Management Report                                Risk Management Document   Risk Management Report                                              1         Ethiloop Risk Management Report                          Released
             ,
100036128    Women's Health and Urology,                    ArtisYn RMR                                                    Risk Management Document   Risk Management Report                                              2         Risk Management Report ArtisYn Y-Shaped Mesh             Released
             ,
100048385    Ethicon Products,                              Risk Management Report for Dermabond Prineo                    Risk Management Document   Risk Management Report                                              1         Risk Management Report for Dermabond Prineo              Released
             ,
PS-0000213   Ethicon Products,                              RMR-0000010, Risk Management Report for Pronova - PVDF Risk Management Document           Risk Management Report                                              6         RMR-0000010, Risk Management Report for Pronova -        Released
             ,                                              - Sutures                                                                                                                                                               PVDF - Sutures
PS-0000214   Ethicon Products,                              Risk Management Report for MONOCRYL* Plus Antibacterial Risk Management Document          Risk Management Report                                              9         Risk Management Report for MONOCRYL* Plus                Released
             ,                                              Sutures                                                                                                                                                                 Antibacterial Sutures
PS-0000215   Ethicon Products,                              Risk Management Report for European CR Monocryl         Risk Management Document          Risk Management Report                                              4 (OBS)   Risk Management Report for European CR Monocryl          Released
             ,                                              manufactured in San Angelo, TX.                                                                                                                                         manufactured in San Angelo, TX.
PS-0000216   Ethicon Products,                              Risk Management Report for the GYNECARE PROFIX          Risk Management Document          Risk Management Report                                              1         Risk Management Report for the GYNECARE PROFIX           Released
             ,                                              Fastener System                                                                                                                                                         Fastener System
PS-0000221   Ethicon Products,                              Risk Management Report (RMR) for the TVT Laser Cut Mesh Risk Management Document          Risk Management Report                                              3         Risk Management Report (RMR) for the TVT Laser Cut       Released
             ,                                              (LCM) Project                                                                                                                                                           Mesh (LCM) Project
PS-0000282   Ethicon Products,                              Risk Management Report for PROCEED* Surgical Mesh       Risk Management Document          Risk Management Report                                              4         Risk Management Report for PROCEED* Surgical Mesh        Released
             ,




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PS-0000289   Ethicon Products,             Converting VICRYL LIGATURE Product into Zipper               Risk Management Document   Risk Management Report       3       Converting VICRYL LIGATURE Product into Zipper          Released
             ,                             Organized Tray.                                                                                                              Organized Tray.
PS-0000308   Ethicon Products,             RMR for TVT SECUR                                            Risk Management Document   Risk Management Report       2       RMR for TVT SECUR                                       Released
             ,
PS-0000314   Women's Health and Urology,   RMR for the Morcellex (MX0100)                               Risk Management Document   Risk Management Report       4       RMR for the Morcellex (MX0100)                          Released
             ,
PS-0000315   Women's Health and Urology,   Legacy RM Report for INTERCEED (TC7)                         Risk Management Document   Risk Management Report       4       Legacy RM Report for INTERCEED (TC7)                    Released
             ,
PS-0000345   Ethicon Products,             Risk Management Report for PDS Plus Antibacterial Sutures. Risk Management Document     Risk Management Report       8       Risk Management Report for PDS Plus Antibacterial      Released
             ,                                                                                                                                                          Sutures.
PS-0000346   Women's Health and Urology,   Risk Management Report (RMR) for the GYNECARE            Risk Management Document       Risk Management Report       2       Risk Management Report (RMR) for the GYNECARE          Released
             ,                             PROSIMA Pelvic Floor Repair Kit - Project MINT                                                                               PROSIMA Pelvic Floor Repair Kit - Project MINT
PS-0000389   Ethicon Products,             Risk Management Report for Coated VICRYL* Plus           Risk Management Document       Risk Management Report       3 (4)   Risk Management Report for Coated VICRYL* Plus         Released
             ,                             Antibacterial (Polyglactin 910) Sutures                                                                                      Antibacterial (Polyglactin 910) Sutures
PS-0000401   Ethicon Products,             Risk Management Report for ETHIBOND/ETHIBOND EXCEL Risk Management Document             Risk Management Report       3       Risk Management Report for ETHIBOND/ETHIBOND           Released
             ,                             Coated Polyester Sutures                                                                                                     EXCEL Coated Polyester Sutures
PS-0000425   Ethicon Products,             Risk Management Report for Mersilene Polyester Sutures   Risk Management Document       Risk Management Report       1 (2)   Risk Management Report for Mersilene Polyester Sutures Released
             ,                             and Tape                                                                                                                     and Tape
PS-0000435   Women's Health and Urology,   Risk Management Report for PROLIFT+M Pelvic Floor Repair Risk Management Document       Risk Management Report       5       Risk Management Report for PROLIFT+M Pelvic Floor      Released
             ,                             Systems                                                                                                                      Repair Systems
PS-0000436   Women's Health and Urology,   RISK MANAGEMENT REPORT                                   Risk Management Document       Risk Management Report       5       RISK MANAGEMENT REPORT                                 Released
             ,                             THERMACHOICE III                                                                                                             THERMACHOICE III
PS-0000437   Women's Health and Urology,   RISK MANAGEMENT REPORT(LEGACY)                           Risk Management Document       Risk Management Report       2       RISK MANAGEMENT REPORT(LEGACY)                         Released
             ,                             FOR TVT AND TVT-O                                                                                                            FOR TVT AND TVT-O
PS-0000438   Women's Health and Urology,   Morcellation Motor Drive Unit                            Risk Management Document       Risk Management Report       1       Morcellation Motor Drive Unit                          Released
             ,                             Compatible with X-TRACT and MORCELLEX disposable                                                                             Compatible with X-TRACT and MORCELLEX disposable
                                           morcellators                                                                                                                 morcellators
PS-0000439   Ethicon Products,             Risk Management Report for NUVANCE* FACIAL               Risk Management Document       Risk Management Report       2       Risk Management Report for NUVANCE* FACIAL             Released
             ,                             REJUVENATION SYSTEM                                                                                                          REJUVENATION SYSTEM
PS-0000440   Ethicon Products,             Risk Management Report for Bone Wax                      Risk Management Document       Risk Management Report       3       Risk Management Report for Bone Wax                    Released
             ,
PS-0000486   Ethicon Products,             Legacy risk management report for Blue Ethilon               Risk Management Document   Risk Management Report       2       Legacy risk management report for Blue Ethilon          Released
             ,
PS-0000486   Women's Health and Urology,   Legacy risk management report for Gynemesh*PS                Risk Management Document   Risk Management Report       1       Legacy risk management report for Gynemesh*PS           Released
             ,
PS-0000487   Women's Health and Urology,   Legacy Risk Management Report for Gynecare PROLIFT;          Risk Management Document   Risk Management Report       1       Legacy Risk Management Report for Gynecare              Released
             ,                             Pelvic Floor Repair System                                                                                                   PROLIFT; Pelvic Floor Repair System
PS-0000488   Ethicon Products,             Legacy risk management report for Prolene 3D Patch           Risk Management Document   Risk Management Report       1       Legacy risk management report for Prolene 3D Patch      Released
             ,
PS-0000488   Ethicon Products,             Legacy risk management report for Prolene Hernia System      Risk Management Document   Risk Management Report       1       Legacy risk management report for Prolene Hernia        Released
             ,                                                                                                                                                          System
PS-0000489   Ethicon Products,             Legacy Risk management report for Prolene mesh               Risk Management Document   Risk Management Report       1       Legacy Risk management report for Prolene mesh          Released
             ,
PS-0000489   Ethicon Products,             Legacy risk management report for X-tract Morcellator        Risk Management Document   Risk Management Report       1       Legacy risk management report for X-tract Morcellator   Released
             ,
PS-0000492   Ethicon Products,             Legacy risk management report for Vicryl Mesh                Risk Management Document   Risk Management Report       1       Legacy risk management report for Vicryl Mesh           Released
             ,
PS-0000492   Ethicon Products,             Risk Management Report for the Blake / J-VAC Closed Drain Risk Management Document      Risk Management Report       2       Risk Management Report for the Blake / J-VAC Closed     Released
             ,                             systems.                                                                                                                     Drain systems.
PS-0000513   Ethicon Products,             Legacy risk management report for Proxi-Strip Skin Closure Risk Management Document     Risk Management Report       1       Legacy risk management report for Proxi-Strip Skin      Released
             ,                                                                                                                                                          Closure
PS-0000513   Ethicon Products,             Legacy risk management report for Surgical Polypropylene     Risk Management Document   Risk Management Report       1       Legacy risk management report for Surgical              Released
             ,                             Buttons                                                                                                                      Polypropylene Buttons
PS-0000515   Ethicon Products,             Legacy risk management report for PDS II Sutures.            Risk Management Document   Risk Management Report       3 (4)   Legacy risk management report for PDS II Sutures.       Released
             ,
PS-0000515   Ethicon Products,             Legacy risk management report for Prolene Suture             Risk Management Document   Risk Management Report       2       Legacy risk management report for Prolene Suture        Released
             ,
PS-0000516   Ethicon Products,             Legacy risk management report for Retention Suture Bridge.   Risk Management Document   Risk Management Report       1       Legacy risk management report for Retention Suture      Released
             ,                                                                                                                                                          Bridge.
PS-0000516   Ethicon Products,             Legacy risk management report for Surgical Stainless Steel   Risk Management Document   Risk Management Report       2       Legacy risk management report for Surgical Stainless    Released
             ,                             Suture.                                                                                                                      Steel Suture.
PS-0000517   Ethicon Products,             Risk Management Report for Silk Suture                       Risk Management Document   Risk Management Report       3       Risk Management Report for Silk Suture                  Released
             ,
PS-0000517   Women's Health and Urology,   Legacy risk management report for Gynecare Versascope        Risk Management Document   Risk Management Report       1       Legacy risk management report for Gynecare              Released
             ,                             Sheath and Outflow Cannula                                                                                                   Versascope Sheath and Outflow Cannula
PS-0000519   Ethicon Products,             Legacy risk management report for Nurolon Nylon Sutures      Risk Management Document   Risk Management Report       1       Legacy risk management report for Nurolon Nylon         Released
             ,                                                                                                                                                          Sutures
PS-0000519   Ethicon Products,             Risk Assesment for Umbilical Tape and Radiopaque             Risk Management Document   Risk Management Report       2       Risk Assesment for Umbilical Tape and Radiopaque        Released
             ,                             Umbilical Tape.                                                                                                              Umbilical Tape.




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                                                                     Case 2:12-md-02327 Document 594-1 Filed 05/13/13 Page 33 of 33 PageID #: 6925
                                                                                                                                     Pelvic Mesh Adaptiv Export




PS-0000520   Ethicon Products,             Legacy risk management report for Monocryl Suture           Risk Management Document      Risk Management Report                                             1 (2)   Legacy risk management report for Monocryl Suture     Released
             ,
PS-0000520   Ethicon Products,             Risk management report for Ethilon Nylon Suture             Risk Management Document      Risk Management Report                                             4       Risk management report for Ethilon Nylon Suture       Released
             ,
PS-0000521   Ethicon Products,             Legacy risk mamagement report for Ethicon TFE Polymer       Risk Management Document      Risk Management Report                                             1       Legacy risk mamagement report for Ethicon TFE Polymer Released
             ,                             Pledgets.                                                                                                                                                            Pledgets.
PS-0000521   Ethicon Products,             Risk management report for Vicryl Sutures.                  Risk Management Document      Risk Management Report                                             2       Risk management report for Vicryl Sutures.            Released
             ,
PS-0000522   Women's Health and Urology,   Legacy risk management report for Versascope Instruments. Risk Management Document        Risk Management Report                                             1       Legacy risk management report for Versascope          Released
             ,                                                                                                                                                                                                  Instruments.
PS-0000522   Women's Health and Urology,   Risk Managemet Report for Gynecare TVT EXACT                Risk Management Document      Risk Management Report                                             4       Risk Managemet Report for Gynecare TVT EXACT          Released
             ,
PS-0000523   Women's Health and Urology,   RISK MANAGEMENT REPORT                                      Risk Management Document      Risk Management Report                                             3       RISK MANAGEMENT REPORT                                Released
             ,                             FOR                                                                                                                                                                  FOR
                                           GYNECARE TVT ABBREVO                                                                                                                                                 GYNECARE TVT ABBREVO
PS-0000523   Ethicon Products,             SECURESTRAP Fixation Device Product Family                  Risk Management Document      Risk Management Report                                             5       SECURESTRAP Fixation Device Product Family            Released
             ,
PS-0000524   Ethicon Products,             EVERPOINT RMR                                               Risk Management Document      Risk Management Report                                             7       EVERPOINT RMR                                         Released
             ,
PS-0000524   Ethicon Products,             Risk Management Report for Temporary Cardiac Pacing Wire Risk Management Document         Risk Management Report                                             1       Risk Management Report for Temporary Cardiac Pacing Released
             ,                             (TPW) product family.                                                                                                                                                Wire (TPW) product family.
PS-0000538   Ethicon Products,             To create a new Risk Management Report for MERSILENET Risk Management Document            Risk Management Report                                             1       To create a new Risk Management Report for          Released
             ,                             Suture MERSUTURE Suture to meet the requirements per                                                                                                                 MERSILENET Suture MERSUTURE Suture to meet the
                                           PR602-003 Rev.19                                                                                                                                                     requirements per PR602-003 Rev.19
PR-0011372                                 Reklamationsmanagement bei Medizinprodukten (SOP 3-01) Procedure (Non-PPE)                                                                                   1

PR-0011373                                 Mitarbeiterschulung (SOP 1-04)                               Procedure (Non-PPE)                                                                             1
PR-0011374                                 Prüfung und Freigabe von Werbe- und Schulungsmaterialien Procedure (Non-PPE)                                                                                 1
                                           (SOP 2-01)
PR-0011375                                 Einrichtung und Freigabe neuer Produkte / Artikelnummern     Procedure (Non-PPE)                                                                             1
                                           (Handelsware) (SOP 2-02)
PR566-005                                  FRANCHISE WORK INSTRUCTIONS FOR MEDICAL                      Procedure (Non-PPE)                                                                             25
                                           DEVICE VIGILANCE SYSTEM
100074123    Ethicon Products,             Operating Procedure for Inspection, Maintenance, Calibration Work Instruction (Non-PPE)   Quality System               Calibration and Measuring Equipment   3       Operating Procedure for Inspection, Maintenance,      Released
             ,                             and Use of the Hewlett-Packard 5890 Gas Chromatograph                                                                                                                Calibration and Use of the Hewlett-Packard 5890 Gas
                                           with HP Chemstation                                                                                                                                                  Chromatograph with HP Chemstation




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